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                  EXHIBIT B
        (FILED UNDER SEAL)
Case 2:10-cv-03165-RGK-SS Document 224-1 Filed 09/22/15 Page 19 of 48 Page ID
                                  #:5859




                  EXHIBIT C
        (FILED UNDER SEAL)
Case 2:10-cv-03165-RGK-SS Document 224-1 Filed 09/22/15 Page 20 of 48 Page ID
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                  EXHIBIT D
        (FILED UNDER SEAL)
Case 2:10-cv-03165-RGK-SS Document 224-1 Filed 09/22/15 Page 21 of 48 Page ID
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                  EXHIBIT E
        (FILED UNDER SEAL)
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                  EXHIBIT F
                                                                                                         UNCLASSIFIED THERAPEUTIC AGENTS                      92:00
   BecauseCase     2:10-cv-03165-RGK-SS
           of the prevalence                                  Document
                             of a-receptors on the prostate capsule, prostate 224-1
                                                                               tamsulosinFiled
                                                                                          may be09/22/15         Page5523
                                                                                                 decreased in patients       ofof48
                                                                                                                          years         Page
                                                                                                                                   age and  older,ID
                                                                                                                                                   the
adenoma, and bladder trigone and the relative absence of these receptors #:5863manufacturer makes no specific recommendations for dosage adjustment in
on the bladder body, c~-adrenergic blocking agents decrease urinary outflow such patients.
resistance in men.                                                              The manufacturer states that tamsulosin should ]~ot be used concomitantly
                                                                            with other c~-adrenergic blocking agents.
                                                                                   [] Dosage in Renal and Hepatic Impairment
                                                                                       Although protein binding of tamsulosin may be altered in patieuts with
[] Benign Prostatic Hyperplasia                                                    mild to moderate (i.e., Creatinine clearance of 30-70 mL/minute per 1.73 m~-)
     Tamsulosin is used to reduce urinary obstruction and relieve associated       or severe (i.e., creatinine cleaiance of 10 to less than 30 mL/minute pei- 1.73 m~)
manifestations in hypertensive or normotensive patients with symptomatic           renal impairment and in patients with moderate hepatic impairment resulting in
benign prostatic hyperplasia (BPH, benign prostatic hypertrophy). Tamsulosin       changeg of overall plasma concentrations of tbe drug, alterations in intrinsic
relieves mild to moderate obstructive manifestations (e.g., hesitancy, terminal    clearance and concentrations of unbound tamsulosin do not appear to be
dribbling of urine, interrupted or weak stream, impaired size and force of         substantial. Therefore, tbe manufacturer states that dosage adjustment in sucb
stream, sensation of incomplete bladder emptying or straining) and improves        patients is not necessary. However, tamsulosin has not been studied in patients
urinary flow rates in a substantial proportion of patients and may be a useful     with end-stage (i.e., creatinine clearance of less than 10 mL/minute per 1.73
alternative to surgery, particularly in those who are awaiting or are unwilling    m~) renal disease.
to undergo surgical correction of the hyperplasia (e.g., via transurethral resec-        SumMon® (see Users Guide). For additional information on this
tion of the prostate [TURP]) or who are not candidates for such surgery.           drug until a more detailed monograph is developed and published, the
Therapy with cz~-adrenergic blocking agents appears tO be less effective in        manufacturer’s labeling should be consulted. It is essential that the labeling
relieving irritative (e.g., noctufia, daytime frequency, urgency, dysuria) than    be consulted for detailed information on the usual cautions, precautions,
obstructive symptomatology, although tamsulosin also has been shown to be          and contraindications.
effective in relieving in’itative symptoms. In addition, therapy with ~-adrener-
gic blocking agents generally can be expected to produce less subjective and
objective improvement than prostatectomy, and periodic monitoring (e.g.,
performance of digital rectal examinations, serum creatinine detenrfinations,
serum prostate specific antigen [PSA] assays) is indicated in these patients Tamsulosin
to detect and manage other potential complications of or conditions associated
with BPH (e.g., obstructive uropathy, prostatic carcinoma).                           Oral
                                                                                         Gapsules                                       Flornax~, Boehringer
     Results of several controlled studies indicate that tamsulosin is more                                                             lngelheim
effective than placebo and limited data suggest that the drug is at least as
effective as other a~-adrenergic blocking agents (e.g., doxazosin, prazosin,
terazosin) in the management of BPH. While symptomatic improvement has Selected Revisions JanuaO, 2000, © Copyright, June 199& American SocieO, oJ Health-System
                                                                                      Pha~Tnacists. blc.
been maintained for up to at least 60 weeks of tamsulosin therapy in some
patients, the long-term effects of c~-adrenergic blocking agents on the need
for surgery and on the frequency of developing BPH-associated complications
such as acute urinary obstruction remain to be established. Although tamsulosin
appears to be associated with a decreased incidence of adverse cardiovascular
effects including hypotension, dizziness, and syncope, patients should be
warned of the possibility of tamsulosin-induced postural dizziness and mea-
sures to take if it develops (e.g., sitting, lying down). During initiation of
tmnsulosin therapy, patients should be cautioned to avoid situations where
injury could result if syncope occurs. If syncope occurs, the patient should
be placed in a recumbent position and treated supportively as necessary.
     Allergic-type reactions, including skin rash, pruritus, urticaria, and- angi-
oedem~i of the tongue, lips, and face, have been reported in some patients
with positive rechallenge of tamsulosin therapy.
     The possibility of carcinoma of the prostate and other conditions associated
With manifestations that mhnic those of BPH should be excluded in any
patient for whom tamsulosin therapy for presmned BPH is being considered.
     The manufacturer states that tamsulosin should not be used in the manage-
ment of hypertension.
     For additional information on the use of o~-blockers in the management [] Chemistry
of BPH, see Use~: Benign Prostatic Hyperplasia, in Prazosin 24:08.
                                                                                          Thalidomide, a synthetic ghitamic acid derivative, is an immunomodulatory
                                                                                      agent. The drug is structurally similar to, but pharmacologically different
                                                                                      from, glutethimide. Thalidomide contains a phthalimide ring and a glutarimide
                                                                                      ring; the glutadmide ring is similar to that contained in ghitethimide and may
[] Administration                                                                     be responsible for the sedative and hypnotic effects of thalidomide. Because
                                                                                      the gintarimide ring has a single asymmetric carbon (chiral center), thalidomide
     Tamsulosin is administered orally. Because food ]nay decrease peak plasma may exist as either an optically active, levorotatory or dextrorotatory enanti-
concentrations of tamsulosin and lengthen the time to achi¢vement~ of peak omer. The enantiomers rapidly interconvert in vivo and in vitro; it is unknown
plasma concentrations and decrease oral bioavailability of the drug, the manu- whether the enantiomers have distinct pharmacologic properties. Thalidomide
facturer recommends that tamsulosin be taken ~0 minutes after a meal it is is commercially available as a 1:1 racemic mixture of the 2 enantiomers with
rccommcnded t.at thc drug be taken,~o~ .... ,~e~ ~,~m~ .... ,~eal each. day. Patients a net optical rotation of zero.
should be advised that the capsules must b~ swallowed intact and not be                   Thalidomide occurs as a white to off-white, nearly odorless, crystalline
opened, chewed, or crushed.                                                           powder. The drug has a solubility of 45-60 ~g/mL in water at 25°C. Thalido-
[] Dosage                                                                             mide enantiomers are 3~5 times more soluble than the racemic drug. While
     The manufacturer states that safety and efficacy of tamsulosin in children the aqueous solubility of racemic thalidomide has been reported to be 50
younger than 18 years of age have not been established, and clinical experience gg/mL,          the aqueous solubility of the separate enantiomers has been reported
in these patients is not available.                                                   to be~ 250 gg/mL.

Benign Prostatic Hyperplasia                                                          [] Stability
     For the management of benign prostatic hyperplasia :(BPH), the ~s~al                  Commercially available thalidomide capsules should be stored at t5-30°C
initial adult dosage of tamsulosin is 0.4 mg once daily. About 2~ weeks and protected from light.
may be needed to adequately assess the response at this dosage. To achieve                 In vitro in whole blood, serum, or plasma, thalidomide undergoes chiral
the desired improvement in symptoms and/or urinary flow rates, subsequent             inversion and spontaneous hydrolysis. All 4 amide bonds of the drug are
dosage may be increased to 0.8 mg daily as needed. If tamsulosin is discon- susceptible to hydrolytic cleavage at pH exceeding 6. Inversion of the enanti-
tinued for several days at either dosage (i.e., 0.4 or 0.8 mg daily), therapy omers occurs at a greater rate in vitro in blood at 37°C than in vivo. The
 with the drug should be reinstituted at the lower daily dosage. Although the rate of inversion and hydrolysis of thalidomide is pH dependent and increases
elimination’ half-life may be slightly prolonged and intrinsic clearance of with pH over the range of 7-7.5.
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                                                     " 92:{}0
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                                                                                    substantially greater weight gain than.those receiving placebo; however, only
                                                                                    the patients with HIV and tuberculosis experienced decreased plasma TNF-
                                                                                    c~ and decreased plasma HIVol RNA levels while receiving thalidomide, and
[]. Mechanism of Action
                                                                                    these patients experienced a higher mean weight gain than those with HIV
     Thalidomide is an immunomodulat0ry agent with anti-inflammatory acfiv7         infection alone. Data from some studies in patients with HIV infection indicate
ity. The drug also has anti-angiogenic effects and sedative and hypnotic effects.   that thalidomide inhibited TNF-o~ activation of latent HIV-1 in monecytes
     The mechanism(s) of action of the immunomodulatoE¢ and imti-inflamma-          and reduced replication of the virus; however, some evidence indicates that
tgry effects of thalidomide are complex and have no~ b~en fully determined;         thalidomide increases plasma TNF-~ and soluble TNF-c~ type 11 receptor
these effects appear to result in part from modulation of tumol7: negrosis factor   levels in patients with HIV infection, and may increase HIV replication. In
alpha (TNF-CO levels, costimulatory or adjuyanL effect,on T-cglls resulOng
                                                                                    a placebo-controlled study in HIV-infected patients, thalidomide therapy (200
in increased T-cel! proliferat.ion and increased production of interleukin:2 and    mg daily for 4: weeks) apparently had no inhibitory effect on HIV replication
interferon-T, and/or modulation of leukogyte migration and chemotaxis.              and no effect on plasma TNF-ct levels, but did increase plasma levels of
     The immunomodulatory and anti-inflammatory effects of tha!idomide dif-         soluble IL-2 receptor, soluble CDS- antigen, and 1I,-12..In, addition, in vitro
fer from those of.other immuno~uppress~ve agents, including..corticosteroids,       studies using purified T7cetls from these patients indicated that exposure to
cyclosporin (e.g., cy~losporine) or. macr0lide (e.g., tacr01img.s) .immun0suP-      thalidomide resulted in a costimulatory effect resulting in increased production
pressants, pentoxifylline, immunosuppres~ive purineanalogs (e.g. azathiq:           of IL-2 and interferon-’,/. : .... .
prine) and purine metabolism inhibitors (e.g., mycophenolic ~agid), and also             There is evidence that thalidomide induces down-modulation of selected
differ from those of nonsteroidal anti-inflammatory agents. ThalidoiToide does      cell surface adhesion molecules involved in leukocyte migration~ and the drug’s
not appear to interfere with important host antimicrobial mechanisms; the           immunomodulatory mechanism of action may result in part from modulation
drug. has no substantial inhibitory effect O~l lymphocyte proliferation, doe.s      of cellular interactions involving direct physical contact: (i.e., adhesion and
not impair delayed,type hypersensitivity reacti0ns~ and does not impairgram~-       detachment) of leukocytes with endothelial, cells. Limited data indicate that
loma formation.                                                                     thalidomide may modulate TNF-(z induction of endothelial cell. adhesion mole-
     Thalidomide has no direct antibacterial activity against Mycobacterium
                                                                                    cules; this: effect may interfere with leukocyte adhesion to endothelium, and
leprae. In addition, results of an in vitro study using Enterocytozoon bieneusi,    prevent the initiation of leukocytic extravasation into inflammatory loci. Also,
Encephalitozoon intestinalis, and E. cuniculi indicate that thal)~’do~d~ h~s np     once. adhesion of leukocytes to vascular endothelium occurs, thalidomide may
direct activity against microsporidia. ..............                               interfere with their detachment, and impede transmigration of leukocytes into
                                                                                    extravascular tissue. Although thalidomide may up- or down-modulate different
[] Immunomodu!atory Effects .....                                                   adhesion receptors, and its effects on various types of leukocytes is variable,
      Use of thalidomide in the management of erythema nod0su-m leprosum
                                                                                    treatment with thalidomide induces a proInpt reduction-in the number of
(ENL) reactions in leprosy patients and for the treatment of various in!lamina’
                                                                                    neutrophils and CD4+ T-cells in the lesions of patients with ENL Leukocyte
tory and!or dermatologic disorders is based on the drug’s immunomodulatory
                                                                                    infiltration and cytokine (especially TNF-c0 responses, are present in focal
effects. Thalidomide’s immunomodulatory effects may result from modulation
                                                                                    inflammatory lesions characterized by post-capillary vasculitis (e.g., ENL
of TNF-c~ 1.~vels, costimulatory or adjuvant effect .on T-cglls resulting ~n        lesions and mucocutaneous.aphthae), and these immunopathologic conditions
increased T-cell proliferation and increased production of interleukin-2 and
                                                                                    are those most clearly responsive to []alidomide. Such antivasculitic effects
interferon-y, and/or modulation of leukocyte extravascular migration mecha-
                                                                                    also may be enhanced by thalidomide’s modulation of TNE-a synthesis or
nisms. However, in vitro studies and preliminary clinical studies indicate that     release. However, the exact mechanism of action for the drug’s clinical immu-
the immunomodulatory effects of thalidomide vary considerably under differ-
                                                                                    nomodulatory activity is unclear, and further study: is required to elucidate
ent conditions, and some evidence indicates that effects of the drug may be
                                                                                    the drug’s mechanism of action.                                   ¯
Species specific.. ~:~. .... ~ . : ....... - ......
     The difficulty in characterizing thalidomide’s mechanisrn~ of a(tion !~a~      [] Effects on A. ngi0genesis
been attributed in part to numerous in vivo metabolites that result from the             Thalidomide inhibits angiogenesis, and it has been ~uggested that the
combination of optical enantiomerism, hydrolysis, and hydroxylation of the          teratogen{c effects of thalidomide on fetal limbs may be r~!ated to inhibitioi?
drug. In studies of enantiomerically stable thalidomide analogs (with an ~z-        of blood v~ssel growth !n the developing fetal limb bud, Thalidomide’s anti-
methyl group attached to the chiral carbon), levorotatory analogs demonstrated      angiogenic, effects have .been .demonstrated in several animal angiogenesis
more immunomodulatory, sedative, and teratogenic activity, and more inhibi-         models; however there is evidence that the drug’s anti-angiogenic effects
tion of TNF-~ release, than dextrorotatory analogs. Although apparent enanti-       may be species specific and: possibly may be related to a species-specifl.q
omer-specific effects of thalidomide have been reported from in vitro and in        metabolite and/or metabblic activation. Thalidomide reduced the areo of yascu~
vivo studies, data from such studies are limited by rapid racemization and          larization in a rabbit corneal model of induced neovascularization The drug
the pharmacokinetics of the drug in the system being studied, and should be         also inhibited angiogenesis in a rat aorta model and in human aortic endotl~elial
interpreted with caution. Spontaneous hydrolysis of thalidomide yields products     cells when human Or rabbit microsomes,.were present, but not when ~at
that do not appear to have immunomodulatory activity;:~hg::e;~[~,nt..Q~ hepatic     micro§omes were present.          .
metabolism of the drug appears to .be limi~edl and sorfie~xpertS S~ate’ that             The mechanism of thalidomide’s anti-ang~ogenic effects is Unknown.. It
insufficient evidence exists to support speculation that formation of active        has .been suggested that inhibition of cy~okine synthesis (especially that of
 metabolites is required for thalidomide’s effects.                                 TNF-a) may contribute to thalidomide’s anti-angiogenic effect; however, there
      The irnmunomodulatory effects of thalidomide may be related to suppres-       is some evidence from animal models that thalidomide’s effect on angiogenesis
sion of excessive TNF-~x production; however, there also is some evidence           is independent of the drug’s effect on TNF-a and possibly may resnlt from
 that thalidomide is capable of enhancing TNF-o~ synthesiS. The drug selectively    a direct inhibitory effect on some component of angiogenesis. ¯
 inhibits the production of TNF-~x by.’cultured human monocytes (possibly by
inhibiting production and/or enhancing the degradation of TNF-a messenger           [] Sedative and Hypnotic Effects
 RNA) without influencing either general protein synthesis or the expression            Thalidomide has CNS depressant effects and causes"sedati~n.:Tlie di~
 of other monocyte-derived cytokines (e.g., IL-1, IL:6, GM-CSF)..Administra-        has a prompt sedative effect, and does not cause a hangover. The glutafimide
 tion of thalidomide has been reported to decrease circulating TNF-~x levels        ring contained in thalidomide anoears to be responsible ~c,r tho ~’¢at;,,e and
 in patients with erythema nodosum leprosum (ENL).                                  hypnotic effects of the drug; the ring is structurally similar to ring moieties
      Wasting syndrome and the associated systemic symptoms (~.g,, anorexial        contained in some Other sedative and hypnotic drugs (e.g., glute[]imide)~
fever) also may be mediated by excessive TNF-a production~ and there is             Thalidomide may activate a sleep center in the forebrain, a medhanism ’of
 limited evidence that thalidomide may reduce plasma TNF-c~ concentrations          action unlike that of barbiturates. Thalidomide has lktle acute CNS toxicity,
 and ameliorate wasting in patients with HIV infection and/or tuberculosis.         and does not cause incoordination or respiratory depression even at larg~
 However, the role of TNF-ct in HiV int’ection is unclear because evidence          doses¯ (See Acute Toxicity.) While thalidomide initially was investigated fgr
 of TNF-c~ production in patients with HIV infection is inconsistent and includes   use as a sedative and hypnotic in the late 1950s, the drug is no longer
 reports of undetected, increased, or unchanged production of the cytokine.         promoted for use as a sedative and hypnotic because of its. tgratggenic risk"
 Also, serum and plasma TNF-c~ levels fluctuate because of the cyt0kine’s           (See Uses: Overview.)
 short half-life, and may not accurately reflect the actual extent of TNF-~x
 production and/or the degree of TNF-o~-related toxicities. Such discrepkncies
 in apparent TNF-ot levels may resntt from the different assfiys used, or from
                                                                                      ~ The pharmacokinetics of thalidomide have been Studied in healthy adults~
tion. In addition, cytokines may be prodnced and act locally in tissue, and         adults with leprosy, adults with human immuimdeficiency virus (HIV) infee:
it is possible that circulating levels of TNF-ct do not reflect tissue activity.    tion, and geriatric men with prostate cancer. While there is some evidence
     The effect of thalidomide on TNF-c~ levels, HIV replication, and HIV           []at bioavailability of oral thalidomide (i.e., peak plasma Concentrations, are~
disease manifestations such as wasting is unclem: In One limited controlled         under the plasma concentration-time curve [AUC]) may be greater iu
study of patients with wasting syndrome associated with HIV-1 infection             patients []an in healthy individuals, results of a single-dose study indicate that
(with or without tuberculosis) those receiwng" thalldomlde" " experienced a         the pharmacokinetics of thalidomide in HIV-infected individuals are similat~t0
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those in healthy individuals. Age-related changes in the pharmacokinetics of       tivity, except for slight enhancement of radioactivity in kidneys, liver, biliary
thalidomide have not been observed in healthy individuals, leprosy patients        tissue, white (but not grey) matter of the CNS, and peripheral nerve trunks.
20-69 years of age, or prostate cancer patients 55~80 years of age. The            In rabbits, thalidomide concentrations in CSF are about 50% of concurrent
pharmacokinetics of thalidomide have not been studied to date in individuals       plasma concentrations of the drug. It is not known if thalidomide is present
younger than 18 years of age.. While limited data indicate that the pharmacoki-    in sperm Or seminal fluid.
netics of thalidomide are similar in males and females, specific comparative           Thalidomide crosses th~ placer~ta in humans and in animals. Malformations
studies have not been performed to determine whether there are any gender-         of human fetuses exposed tO thalidomide during the first trimester of pregnancy
or race-related differences in the pharmacokinetics of the drug. The pharmaco-     exhibit striking organ specificity. Petal skeletal deformities involving the loss
kinetics of thalidomide in patients with renal or hepatic impairment have not      of part or all of one or more bones aremost common, but fetal deformitids
been determined.                                                                   rnay occur in almost any organ of the body and defects of ifiterual organs
    Based on studies in healthy adults and HIV-infected patients, the pharmaco-    accompany some skeletal deformities (~.g., amelia, phoc0metia). Seemingly
kinetics of thalidomide can best be described by a single-compartment model        isolated neurodevelopmental regions (e.g., the eyes, ears, and possibly some
with first-order absorption and elimination. Results of studies in healthy adults  brain stein neurons innervating facial muscles) are affected in Ca~es of thalido-
indicate that accumulation of thalidomide does not occur, and pharmacokinetic      mide embryopathy, but other neurodevelopmental defects rarely occur, and
parameters are similar following single or multiple doses of the drug.             the skin and the lymphatic organs are notably not affected by fetal exposure
[] Absorption                                                                      to thalidomide. (See Teratogenic Effects Under Pregnancy, Fertility, and Lacta-
                                                                                   tion: Pregnancy, in Cautions.)
    The absolute bioavailability of thalidomide ~dministered as the
ciatly available racemic mixture of the .drug has not been determined to date,          The apparent volume of distribution of thalidomide has been reported to
in part because racemic thalidomide has poor aqueous solubility. The limited       be  69.9-82.7    L in HIV-infected adults.
aqueous solubility of racemic thalidomide does not appear to bq due to a               The manufacturer states that the extent of plasma ¯protein binding of
lipophilic structure, since the drug has a relative distribution between lipid thalidomide is unknown. Results of an in vitro study indicate that the levorota-
and aqueous phases of ~bout 2:1. However, the 4 carboxyl groups of the tory or dextrorotatory enantiomers of thalidomide are 55 or 66%, respectively,
racemic form of the drug appear to interact through hydrogen bonding to bound to plasma proteins.
result in relative aqueous insolubility. In contrast, the pure levorotatory, or [] .Elimination
dextrorotatory enantiomers of thalidomide are 3-5 times more soluble than
the racemic drug and are more readily absorbed.                                         The mean elimination half-life of thalidomide following a single 200-rag
     Following oral administration of racemic thalidomide, the drug is slowly oral dose ranges from 3-6.7 hours, and the elimination half-life appears to
absorbed from the GI tract, and some interindividual variation in absorption be similar following multiple doses of the drug. In a study in healthy adults
has been reported. When thalidomide is administered in increasing doses in who received a single 50-, 200-, or 400-rag oral dose of the drug, the mean
healthy individuals, the extent Of absorption (as measured by the AUC} in-         elimination half-life of thalidomide was 5.5, 5.5, or 7.3 hours, respectively.
creases proportionally with increasing dose; however, peak plasma eoncentra- - The mean elimination half-life of thalidomide was 6.9 hours in adults with
tions of the drug increase in a less than proportional manner and the time to leprosy who received a single 400-rag o~al dose and 4.6=6.5 hours in HIV-
peak plasma concentrations is delayed, indicating that thalid0mide’s poor infected adults who received a single 100- to 300-rag dose.
aqueous solubility affects the rate of oral absorption.                                 While the exact metabolic fate of thalidomide in humans is not known,
     Mean peak plasma concentrations of thalidomide generally are attained numerous metabolites may be formed as a result of optical enantiomerism
2.5-6 hours after an oral dose. In a study in healthy men 21--43 years of age and hydrolysis and hydroxylation of the drug. Commercially a~ailable thalido-
who received a single 200-rag dose of thalidomide given as tablets (not mide is a 1:1 racemic mixture of the dextrorotatory and levorotatory enantiom=
commercially available in the US), mean peak plasma concentrations of I. 15 ers of the drug, and chiral inversion and spontaneous hydrolysis of the enanti-
gg/mL were attained at a mean of 4.4 hours. In healthy women 21-45 years omers occurs in vivo or in vitro. The half-life for racemization of an enantiomer
of age who received a single 200-mg dose of thalidomide given as 50- or in whole blood is about 2.25 hours. In vivo, chiral inversion appears to Occur
100-rag capsules (100-rag capsules not cQmmercially available in th~ US), principally in the circulation and in albumin-rich extravascular sites. Chiral
mean p~ak plasma concentrations of 2.3-3.2 gg/mL were attained withifl about inversion and hydrolysis of thalidomide appareutly occur by several differ-
6 hours. In healthy adults who received a ~ingle 50-, 200-, or 400-mg oral ent mechanisms.
dose of thalidomide as 50-mg capsules, mean peak plasma concentrations of               Thalidomide does not induce or inhibit its own metabolism; when the
0.62, 1.76, or 2.82 gg/mL, respectively, were attained at 2.9, 3.5, or 4.3 hours, drug ,,#as administered to healthy women at a dosage of 200 mg once daily
respectively, after the dose.                                                      for 18 days, similar pharmacokinetics were observed on the first and last day
     In adults with leprosy who received a single 400-mg oral dose of thalido- of dosage. Hepatic metabolism of thalidomide is limited, and only the parent
mide as 50-mg capsules, peak plasma concentrations of 3.44 I.tg/mL were compound appears to be metabolized by cytochrome P-450 (CYP) iso.enzymes.
attained 5.7 hours after the dose.                                                      The principal metabolic pathway of thalidomide appears to be nonenzy-
     In adults with HIV infection (without active oppo~-tunistic infections or matic spontaneous hydrolysis. All-4 amide bonds in thalidomide are susceptible
concomitant disease that potentially could alter drug absorption) who received to hydrolytic cleavage and, under physiologic conditions,’ ring opening occurs
a single 100- or 300-rag dose of thalidomide as capsules, mean peak plasma first in the phthalimide moiety. Spontaneous hydrolysis to form more than
concentrations of the drug were 1.2 or 3.5 I.tghnL, {espectively, and were 10 metabolites occurs rapidly in vitro, with a mean half-life (dependent on
attained at a mean of 3.4 hours after either dose. In another study jn asymptom- incubation tei~ipe~atute and pH) of 2-5 hours for both optical isomers. There
atic HIV-infected adults who received single 100- or 200zmg doses of thb is evidence that thalidomide metabolites formed by spontaneous hydrolysis
drug, peak plasma concentrations averaged 1.2 or 1.9 gg/lnL, respectively,         in vitro have no immunomodulatory activity; however, further study is required
and were attained at 2.5 or 3.3 hours, respectively.                                to characterize the pharmacologic activity, if any, of metabolites formed in
     In men 55-80 years of age with prostate cancer who received a single vivo.
200- or 800-mg oral dose of thalidomide as 50-mg capsules, median peak                  Hydroxylation can occur at 4 sites in thalidomide (i.e., 2 sites in each of the
plasma concentrations were 1.97 or 4.42 btg/mL, respectively, and were attained phthalimide and glutarimide moieties). Metabolism and some pharmacologic
at a median of 3.32 or 4.42 ho~rs, respectively, after the dose. When these effects of thalidomide may be species specific. Hydroxylated metabolites have
patients received multiple doses of thalidomide, mean peak plasma concentra- been identified in species sensitive to the teratogenic effects of thalidomide
tions at steady state were 1.8 gg/mL in those receiving 200 mg once daily
and 7.57 gg/mL in those receiving 800 mg daily.                                     (e.g., rabbit), and there is evidence that rat (a species not sensitive to teratogenic
     Food may delay but does not appear to substantially affect the extent of       effects of the drug) microsomes am not able m produce a metaholite that is
absorption of thalidomide. Administration of thalidomide with a high-fat meal toxic to lymphocytes in other species. Intermediary forms (i.e., arene oxides
increased the time to peak plasma concentration to approximately 6 hours,           or epoxides) proposed to be responsible for the teratogenic effects of the drug
but resulted in less than a i0% change in either the AUC or peak plasma have not been demonstrated, hydroxylated metabolites resulting from epoxide
concentration of the drug.                                                          activation have not been confirmed in human samples, and in vitro human
                                                                                    microsomal preparations do not appear to catalyze the formation of hydroxyl-
 [] Distribution                                                                    ated metabolites.
     Information on distribution of thalidomide in humans is not available.             The exact route of elimination of thalidomide in humans is unknown.
 Although phatanacologic and adverse effects of thalidomide appear to be organ Thalidomide is not appreciably excreted via the kidneys in humans. Although
 specific, such effects do not cot,espond well with pbarmacokinetic distribution total body clearance of the drug is about 170-207 mL/minute, unmetabolized
 data obtained in animals. While results of some animal studies indicate that thalidomide has a renal clearance of 1.15-1.38 mL/minute and less than 0.7%
 high concentrations of thalidomide are found in the GI tract, liver, and kidneys, of the drug is excreted in urine as unchanged drug. Thalidomide is thought to
 and lower coucentrations are found in muscle, brain, and adipose tissue, other be hydrolyzed to numerous metabolites; however, in individuals who received a
 distribution studies in animals have failed to detect substantial accumulation single oral dose of the drug, only 0.02% of the dose was eliminated in urine
 of the drug in any particular organ. When radiolabeled thalidomide was as 4-hydmxy thalidomide 12-24 hours after administration. At 48 hours after
 administered to animals in one study, there was an even distribution of radioac- a single oral dose, thalidomide is not detectable in urine.
                                                                                                           AHFS DRUG INFORMATION® 2001                          3657
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                      UNCLASSIFIED THERAPEUTIC AGENTS     92:00
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                                                                                  [] Erythema Nodosura Leprosmn
                                                                                      Thalidomide is used for acute treatment of cutaneous manifestations of
[] Overview                                                                       moderate to severe erythema nodosum leprosum (ENL) reactions (lepra type
     Thalidomide is labeled by the US Food and Drug Administration (FDA) 2 reactions) in leprosy patients, and also is used for maintenance therapy for
for acute treatment of cutaneous manifestations of moderate to severe erythema prevention and suppression of cutaneous manifestations of ENL recurrence.
                                                                                  Thalidomide has been used in conjunction with cOrticosteroid therapy for ihe
nodosum leprosum (ENL) in leprosy patients and for maintenance therapy            acute treatment of ENL reactions that include moderate to severe neuritis, in
for prevention and suppression of cutaneous manifestations of ENL recurrence. addition to cutaneous manifestations; however, ~halidomide should not be used
The drug has been designated an orphan drug by the US Food and Drag alone as monotherapy for treatment of ENL reactions complicated by neuritis.
Administration (FDA) for the treatment of ENL and treatment and maintenance In these situations, thalidomide generally is initiated in conjunction with
of reactional lepromamus leprosy. Thalidomidealso has been designated an systemic corticosteroid therapy and the corticosteroid is slowly withdrawn if
orphan drug by the FDA for treatment of wasting, syndrome associated with         neuritis resolves.
human immunodeficiency vtrus (H1V) infection]’; prevention and treatment              ENL is a recurrent, iramunologicaily mediated syndrome that occurs pritici-
of severe recurrent aphthous stomatitis in severely, terminally immunocom- pally in patients with multibacillm3, leprosy. While ENL reactions have been
promised patients].; prevention and treatment of graft-versus-host disease in     reported to occur in 10-50% of lepromatous leprosy patients and 25-30% of
patients receiving bone marrow transplantation’t; treatment .of multiple my- borderline lepromatous patients, these reactions are being reported less fre-
elomat; treatment of clinical manifestations of mydobacterial infection caused quently in patients receiving the currently recommended multidrug aufileprosy
by Mycobacterium tuberculosis and nontuberculous mycobacteria~; treatment regimens that include clofazimine than in those who received dapsone monoth-
of Crohn’s disease’S; and treatment of primary brain mmors-L In addition, erapy. ENL usually occurs after initiation of anti-infective therapy for leprosy
thalidomide has been used for the treatment of a variety of inflammatory and/ (generally within the first 2 years of treatment); although occasionally it may
or dermatologlc disorders, treatment of various HI’V-associated conditions, occur spontaneously in untreated lepromatous leprosy patients or after treat-
and treatment of vm’ious malignancies.                                            ment is discontinued. These reactions are donsider,ed to be a manifestation
                                                                                  of the disease rather than an adverse reaction to antileprosy regimens. Clinical
Restricted Distribution                                                           symptoms include cutaneous papules or nodules that are painful or tender,
     Because thalidomide is a known human teratogen and can cause severe, erythematous, and histologically vasculitic; the papules may pustniate and
life-threatening birth defects or fetal death if given during pregnancy (see ulcerate, appear as recurrent crops, and are Widely distributed, generally ap-
Teratogenic Effects under Pregnancy, Fertility, and Lactation: Pregnancy, in pearing on extensor surfaces of the extremities and on the face. Cutaneous
Cautions), the drug was approved by the FDA for marketing in the US in symptoms of ENL map be accompanied by peripheral neuritis (u~ually of
1998 only under a special restricted distribution program, the System for         the ulnar nerve), fever, malaise, wasting, uveitis, lymphadenitis orchitiS, and
Thalidomide Education and Prescribing Safety (STEPS), designed m help glomerulonephritis. Histologically, ENL is an acute vasculitis or parmiculitis
ensure the safe and effective prescribing, dispensing, and use of commercially that is thought to be secondary to immune (i.e., antigen-antibody) complex de-
available thalidomide. In the US, the STEPS distribution program restricts - position.
access to commercially available thalidomide to prescribing clinicians, pharma-       Depending on the severity of manifesiations, ENL reactions generally are
cies, and patients who are registered in the program and mandates compliance treated using analgesics, corticosteroids, and/or thalidomide; clofitzimine also
with registration, education, and safety requirements of the program. (See has anti-inflammatoFy effects and is beneficial in the treatmefit of ENL reac-
Dosage and Administration: Restricted Distribution Program.) The STEPS tions. While mild ENL reactions in some patients may be adequately maiiaged
program minimizes, but may not completely eliminate, the risk that thalidomide with a nonsteroidal anti-inflammatory agent (e.g., aspirin, indomethacin) and
may inadvertently be given to a pregnant woman. Thalidomide also is available bedrest, moderate to severe ENL reactions generally are treated with corticoste-
in the US for use in clinical trials under protocol conditions. The risks versus roids and!or thalidomide, and hospitalization may be required. The antileprosy
benefits, of thalidomide must be addressed each time use of the drug is regimen usually is continued while the ENL reaction is treated. Corticosteroid
being considered                                                                  therapy (usually prednisolone) ~enerally is effective for the treatment of moder-
                                                                                  ate and severe ENL and usually is necessary when ENL is complicated by
Past and Current Therapeutic Perspective                                          neuritis; however, long-term therapy may be required and thereis a risk that
     In the late 1950s, thalidomide was marketed in several other countries, ENL patients (especially those with chronic ENL) may become steroid de-
including the United Kingdom and Canada. and was available over-the-counter pendent.
in some countries (e.g., Germany) for use as a sedative and fur the treatment          In patients ah’eady receiving clofazimine as part of a multidrug antileprosy
of various conditions, including asthma, hypertension, migraine, and common regimen, a temporary increase in clofazimine dosage may allow a reduction
 symptoms of early pregnancy (e.g., morning s~c..kness), often in combination in corticosteroid requirements; clofazimine dosage effective for the ti~atment
 with other drugs. Thalidomide was being used in clinical studies in the US, of ENL reactions i~ slightly higher than that usually recommended for the
but did not receive FDA approval at that time principally because of European     treatment of leprosy. However, clofazimine is not as effective or ~s rapidly
reports of thalidomide-associated peripheral ne_uropathy that may be irrevers- acting as corticosteroids or thalidomide in the treatment of ENL and should
 ible and unanswered questions about potential adverse effects on fetuses. not be initiated as the sole agent for the treatment of severe ENL.
 Because of thalidomide’s prompt sedative effects, lack of hangover~ and appar-        Thalidomide is effective for the treatment of mdderate to severe ENL
 ent safety (in regards to overdosage), the drug was considered to be a. safe reactions, and some clinicians suggest tha~ thalidomide may be the drug of
 alternative m barbiturates, and its manufacturer at that time promoted it as choice for the treatment of these reactions, especially severe, recurrent reac-
 a nontoxic drug with no adverse effects, and completely safe for administration tions, in part because a prompt response to thalidomide generally is obtained
 to pregnant women. However, reports of serious adverse effects soon appeared     and because of concerns related to long-term use of corticosteroids in leprosy
 and use of thalidomide was linked to an epidemic of severe and often fatal patients. However, the risks versus benefits of thalidomide therapy, must be
 fetal and neonatal malformations (most frequently phocomelia) that affected considered, especially in women of childbearing age. Early diagnosis and
 children in 46 countries.During that time, 17 babies were born in the US with treatment of ENL is important since these reactions are associated with consid-
 thalidomide-associated phocomelia to mothers who received the drug from erable morbidity, especially if chronic, recurrent ENL occurs. Therapy for
                                                                                  leprosy and leprosy reactional states should be undertaken in consultation
 overseas sources or received premarketing samples distributed by drug com- with an expert in the treatment of leprosy, in the US, the Gillis W. Long
 pany representatives. In 1961, the manufacturer withdrew thalidomide from Hansen’s Disease Center at 800-642-2477 should be contacted for farther
 the world market.         .                                                       information on the management of leprosy reactional states.
     A few .years later, there were reports that leprosy patients with inflamma-       Information regarding safety and efficacy of thalidomide for the treatment
 tory lesions related to ENL reactions had experienced improvement in these of cutaneous manifestations of moderate to severe ENL is derived from more
 lesions while receiving thalidomide, as a sedative. The discovery of thalido- than 30 years of experience with the drag, open-label and controlled studies
 mide’s therapeutic efficacy in the treatment of’ENL led to investigations that and case reports involving leprosy patients from many different countries,
 revealed the anti-inflammatory and immunomodulatory effects of the drug and and a retrospective study of leprosy patients treated in the US by the US
 prompted studies evaluating the drug in various autoimmune or inflarrm~atory Public Health Service (USPHS). There is evidence that use of thalidomide
 diseases and various conditions in HIV-infected patients. In addition, after in in leprosy patients with moderate to se,~ere ENL reactions can result in prompt
 vitro and animal studies indicated that thalidomide has anti-angiogenesis activ- resolution of the signs and symptoms of ENL, and the drug has been effective
 ity, investigations were initiated to evaluate use of the drag for a variety of in patients with severe chronic ENL refractory to corticosteroid therapy. In
 neoplastic diseases. Most information to date regarding use of thalidomide one controlled study in patients with ENL cutaneous lesions who received
 for the treatment of inflarrm~atory or immune disorders or for the treatment 7-day regimens of thalidomide (400 mg daily) or placebo, a response (i.e.,
 of patients with HIV infection or malignancy consists of case reports or data     complete remission of symptoms or advanced remission of about 50% of
 obtained from uncontrolled studies in a limited number of patients. Well- existing ENL skiu lesions) occurred iu 66 or 9% of treatment courses ~
 controlled clinical studies are needed to evaluate the safety and efficacy of patients receiving thalidomide or placebo, respectively. In a similar study, a
 thalidomide for the treatment of these various indications.                       complete response (i.e., the absence of skin lesions) occurred in 75 or 25%
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                                  #:5867
                                    Thalidomide       UNCLASSIFIED THERAPEUTIC AGENTS                                                                           92:(}0

of treatment courses in patients receiving thalidomide or aspirin, respectively.   HIV-infected]. (see .Uses: Recurrent Aphthous Stomatitis). Thalidomide is not
Efficacy of thalidomide for the treatment of chronic ENL reactions has been considered a drug of first choice for the treatment of aphthous ulcers in
evaluated in 2 limited crossover studies of hospitalized, corticosteroid-depen- HIV-infected patients, but may be effective in patients with recm~:~nt ulcers
dent ENL patients who were receiving dapsone and were treated with a 4- refractory to other therapies (e.g., corticosteroids).
to 6-week regimen of thalidomide (300 mg daily) or placebo. In the first               Efficacy of thalidomide for the treatment of oral and esophageal aphthous
crossover study, the weekly corticosteroid dosage could be reduced in about        ulcers in HIV-infected patients has been evaluated in a phase II doubl(-
 89% of patients while thalidomide was administered, but corticosteroid dosage blind, placebo-controlled study through the National Institute of Allergy and
had to be increased when placebo was administered. In the second crossover Infectious Diseases (NIAID) AIDS Clinical Trials Grgu (ACTG) (stUdy
study, 100 or 12.5% of patients decreased their weekly dosage of corticosteroids                                                                       p
                                                                                   ACTG 251). HIV-infected patients with oral aphthous ulcers Were randomized
while receiving a 6-week regimen of thalidomide or placebo, respectively. to receive a 4-week regimen of thalidomide (200 mg once daily) or placebo;
     Information regarding safety and efficacy of thalidomide for the prevention if healing of ulcers was not complete after this regimen,: an additional 4-week
of ENL relapse is limited, and labeling for this use is based on data obtained regimen of thalidomide was administered. At 4 weeks, a complete.response was
from a retrospective evaluation of ENL patients treated by the USPHS. A            obtained in 55 or 7% of patients receiving thalidomide or placebo, respectively.
subset of these ENL patients receiving thalidomide had repeated relapse of
ENL symptoms when thalidomide was discontinued, but remission of symp-            HIV-associated     Wasting Syndro~ne
toms when treatment with the drug was reinitiated.                            :        Thalidomide has been used for the treatment of wasting syndrrme in a
                                                                                   limited number of HIV-infected patients]’ and also has been used for the
[] Inflammatory and/or Dermatologic Disorders                                      treatment of cachexia in other severely immunocompromised patientS]’ (e.g.,
     Based on the beneficial effects of thalidomide in the treatment of inflamma- cancer patients). There is some evidence that thalidomide therapy (50-400
tory dermatoses associated with ENL, the drug has been used for the treatment      mg daily) may decrease elevated TNF-c~ plasma concentrations and may
of a variety of inflammatory and/or dermatologic disorders, including Behcet’s promote weight gain in HIV-infected patients. However, thalidomide may
syndrome~, erosive lichen planus]., erythema multifotane], lupus erythemato- increase plasma TNF-o~ concentrations in some HIV-infect~d patients. The
sus~ (discoid lupus erythematosus, subacute or chronic cutaneous lupus erythe-     precise role of TNF-c~ in the wasting syndrome is unclear and additional study
matosus, cutaneous manifestations of systemic lupus erythematosus),pruri-          is necessary to evaluate the safety and efficacy of thalidomide in the treatment
gonodularis]., actinic prurigo]’, cutaneous Langerhans cell histiocytosis~, of HIV-associated wasting syndrome:
uremic pruritus], porphyria cutanea tarda]’, and pyoderma gangrenosum~. HIV-associated Diarrhea
There is evidence that thalidomide can be beneficial and may result in improve-        Thalidomide has been used with some success in a limited number of
ments in the dermatologic and mucocutaneous manifestations of these condi- patients for the treatment of HIV-associated diarrhea, including microspori-
tions; however, there is recurrence of lesions and symptoms in many patients       diosisL In one group of HIV-infected patients with chronic diarrhea and weight
when the drug is discontinued and long-term maintenance therapy may be loss caused by Enterocytozoon bieneusi infection that was not responsive to
necessary. Most clinicians recommend that thalidomide be used for the treat-       albendazole, use of thalidomide (100 mg daily for 4 weeks) had a beneficial
ment of inflammatory and/or dermatologic disorders only in selected patients effect (i.e., complete or partial clinical response including increased weight
with severe refractory disease unresponsive to other appropriate agents            and decreased stool frequency) in 55% of patients. Although there is evidence
(e.g., corticosteroids)..                                                         that thalidomide may relieve some symptoms of microspoFidian enteritis in
Behcet’s Syndrome                                                                 some patients, results of an in vitro study indicate that the drug has no direct
     In patients with Behcet’s syndrome]’, a chronic inflammatory disease of activity against microsporidia.
unknown etiology characterized by recurrent orogenital ulceration, skin lesions, Kaposi’s Sarcoma
and arthritic symptoms that may be complicated by GI, ocular, and neurologic           There is at least one case report of improvement in cutaneous lesions of
involvement, thalidomide therapy (100-400 mg daily) has resulted in resolution Kaposi’s sarcoma]’ in HIV-infected patients receiving thalidomide for the
of dermatologic, mucocutaneous, and arthritic manifestations of the disease. treatment of aphthous ulcers and several patients enrolled in a phase I, dose-
However, symptoms and/or lesions generally recur within several weeks after ranging, open-label study evaluating thalidomide in AIDS-relat~ Kapos~’s
the drug is discontinued. In a randomized, double-blind, plaqebo-controlled sarcoma had partial responses to the drug. However, safety and efficacy           d
                                                                                                                                                                   of
study in adult males with Behcet’s syndrome with mucocutaneous lesions thalidomide for the treatment of Kaposi’s sarcoma have not been established,
(without major organ involvement), a complete response (resolution of orogeni- and further study is needed to determine whether thalidomide has any beneficial
tal ulcers and follicular lesions) was obtained in 6 or 16% of patients receiving effect on regression of Kaposi’s sarcoma. A phase II study has been initiated
thalidomide in a dosage of i00 or 300 mg daily, respectively; there were no through the National Cancer Institute (NCI) to evaluate efficacy of thalidomide
complete responses in those receiving placebo. While there are some reports in HIV-infected patients who have cutaneous Kaposi’s sarcoma lesions and
that GI, ophthalmic, and/or neurologic symptoms also may improve during evidence of disease progression in the 2 months prior to study enrollment;
thalidomide therapy, further study is needed to determine whether thalidomide preliminary results indicate that some patients may have a partial .response
has any clinically important effect on these manifestations of the disease.       to the drug when given in dosages of 200-1000 mg daily.
Other Dermatologic Disorders                                                      [] Neoplastic Diseases
    Thalidomide has not been effective when used for the treatment of toXi~            Because there is evidence that thalidomide is an inhibitor of angiogenesis,
epidermal necrolysis]-. In a limited placebo-controlled study in adults with the drug is being evaluated for the treatment of a variety of malignancies,
toxic epidermal necrolysis, there was no evidence that thalidomide had any including advanced or metastatic breast cancer’S, Kaposi’s sarcoma]’, mela-
beneficial effect on necrolysis and patients receiving thalidomide had a higher noma]’, multiple myelomaL ovarian cancer’S, pri~nary brain tumors]’ (recui-rent
mortality rate than those receiving placebo. In addition, there has been at high-grade astrocytomas and mixed gliomas), androgen-independent prostate
least one reported case of a patient developing toxic epidermal necrolysis cancer]’, and renal carcinomaL There is some evidence that thalidomide may
while receiving thalidomide.                                                      have antitmnor activity; however, further study is needed to establish Safety
                                                                                  and efficacy of the drug in the treatment of various malignancies and identify
[] Uses in HIV-infected Patients                                                  cmtlrnnl dosages of the drug ;,, patients with cancer, vr,~o~
    Thalidomide is being investigated for a variety of nses in HIV-infected been initiated to evaluate efficacy of thafidomide for the treatment of Kaposi’s
patients, including treatment of HIV-associated aphthous ulcers]’, HIV-associ- sarcoma in HIV-infected patients (see Kaposi’s Sarcoma under Uses: Uses
ated diarrhea]’, HIV-associated wasting syndrome]’, and Kap0si’s sarcoma]’. in HIV-infected Patients), recurrent high-grade gtiomas, androgen-independent
The drug also has been used as an adjunct to anti-infectivd agents in the prostate cancer, and metastatic breast cancer.
treatment of mycobacterial infections]’, including Mycobacterium tuberculosis
and M. avium complex (MAC) infections, in HIV-infected patients. While            Multiple Myeloma
evidence is accumulating that. thalidomide may provide some benefits in HIV-           Several phase II studies have been initiated to evaluate use of thalidomide
infected patients (e.g., promote healing of aphthous ulcers; ameliorate weight (usually as part of a combination regimen) for the treatment of refractory or
loss), further study is needed to evaluate safety and efficacy of thalidomide relapsed multiple myeloma. In a study in patients Whose myeloma had relapsed
in HIV-infected patients and to determine whether the drug may increase viral after high-dose chemotherapy, thalidomide therapy (titrated up to 800 mg
load (i.e., plasma HIV-1 RNA levels) and/or may be associated with an daily, if tolerated) resulted in a 25 to at least 90% reduction in serum and
increased incidence of adverse effects in this patient population.                urine paraproteins (myeloma protein, Bence Jones protein) in 32% of patients,
                                                                                  with several achieving complete remission. This response was apparent within
HlV-associated Aphthous Ulcers                                                    2 months in about 80% of responders and was associated with decreased
    Thalidomide (100-300 mg once daily) has beeri effective for the treatment     plasma cells in bone man-ow (indicating a reduction in tumnr burden) and
and prevention of oropharyngeal, esophageal, and anogenital aphthous ulcers       increased hemoglobin concentratioas; substantial changes in microvascular
in HIV-infected patients]’. The drug has been effective for the treatment of      density of boue marrow were not apparent. At 1 year, estimates of mean
severe recurrent aphthous stomatitis in HIV-infected patients, and also has       event-free aud overall survival were 22 and 58%, respectively. While ongoing
been effective for the treatment of severe recurrent aphthous stomatitis in       study is necessary, including further elucidation of optimal dosage and schedule
immunocompetent patients or patients who are immunocompromised but not            of therapy, thalidomide appears to induce marked and potentially durable
                                                                                                         AtlFS DRUG INFORIVlATION® 2001
responses Case        2:10-cv-03165-RGK-SS
            in some patients  with multiple myeloma, including      Document
                                                                      those whose 224-1          Filed Another
                                                                                    tions, in Cautions.)  09/22/15          Page
                                                                                                                   potentially serious28    of 48
                                                                                                                                       adverse          Pagewith
                                                                                                                                                effect reported   ID
disease, has relapsed. In addition, the role of the drag as monotherapy and #:5868  thalidomide is peripheral neuropathy that may be irreversible. Other adverse
as a component of chemotherapeutic regimens in earlier stages of the cancer effects reported with thalidomide generally are mild to moderate in severity,
remains to be detenNned.                                                            and usually do not require discontinuance of the drug. The most cormnon
                                                                                    adverse effects of.thalidomide are CNS effects (e.g., drowsiness, somnolence,
Cachex~a ~
     ~halidomide "also has been: used for the treatment Of cachexiaj" in patients dizziness) and dermat01ogic effects (e.g., rash).
                                                                                         Information on adverse effects of thalidomide reported by the nlanufacturer
With advanced can~er, and there is some evidence that the drug may provide was obtained pringipally from controlled clinical studies in leprosy patients
benefits in these patients in terms of improvement in symptoms of insomnia,
nausea, ~ippetite, and feelings of well.beiiag. (See Uses in HIV-infected Patients: who received thalidomide in a dosage of 50-300 mg daily for the treatment
                                                                                    of erythema nodosum leprosum (ENL) and controlled clinical studies in pa-
I/IV-associated Wasting Syndr0me~ in Uses.)                                         tients with human immunodeficiency virus (HIV) infection who received
[] Graft-versus-host Disease                                                        thalidomide in a dosage of 100-200 mg daily. Additional information on
     ThalidOmide has been used with some success for the treatment of graft-        adverse effects of thalidomide reported by the manufacturer was obtained
versus-host disease’~ (GVHD) in adult and pediatric bone marrow transplant from uncontrolled clinical studies in ENL patients, uncontrolled studies or
recipients, but has been associated with increased morbidity aud mortality case reports involving patients who received thalidomide for a wide variety
wher~.~used, for Drophylaxis of chronic GVHD in adult bone marrow trans- of investigational uses, and spontaneous reports from other sources. The manu-
plant recipients.                                                                   facturer states that the incidence of adverse effects reported in these uncon-
     Thalidomide generally has been used in allogeneic bone marrow transplant txolled studies and other sources is unkn0wn~ and a causal relationship between
recipients for the treatment of chronic or refractory GVHD unresponsive tosome of these effects and thalidomide has not been established. Although
other therapies (e.g., corticosteroids, azathioprine, tacrolimus, cyclosporine,     thalidomide received approval by the US Food and Drug Administration (FDA)
antlthymgcyte globulin); 0nly limited information is available regarding use in 1998 for use in the treatment of ENL in leprosy patients, data regarding
of the dr~g for the treatment of acute GVHD. In a study.!n adult a~nd pediatric     the safety and efficacy of the drug have been accumulating since the drug
patients with chronic or refractory GVHD who received thalidomide therapy first became available for use in Europe in the late 1950s.
 (800-1600 mg daily for a median duration of 240 days), a complete response [] Nervous System Effec.ts
 was obtained in 32% and a partial response was obtained in 27%; the overall
 survival rate was 64%. Thalidomide has been effective when used for the
                                                                                    Peripheral Neuropathy .
 treatment of chronic or corticosteroid-dependent GVHD in pediatric patients             Thalidmn~de may cause pote£ti£11y severe nerye damage (i.e., polyneuritis
 0.5-t7 y~ars of age’S.
   ¯ When thalidomide was used for prophylaxis of chronic GVHD in a con- neuropathy inneuropathy)
                                                                                     or peripheral              that may be irreversible. The incidence of peripheral
                                                                                                     patients receiving thalidomide has been reported to range from
 trolled study of adult allogeneic bone marrow transplant patients who had no
 evidence :of active acute GVHD at study entry, those receiving thalidomide less           than 1% to more than 70%. Incidence data regarding this adverse effect
                                                                                     has beendifficult to obtain, in part because the drug often .is used in patients
 (200 mg twice daily beginning 80 days after transplant) experienced a higher with diseases that may be associated with neuropathy (e.g., leprosy patients
 incidence of chronic GVHD and had a substantially higher mortality rate with ENL, patients with HIV infection) and it may be difficult to differentiate
 compared with those receiving placebo. Chronic GVHD occurred in 64 or 38% the neuropathologic symptoms and changes caused by the underlying disease
 of patients receiving thalidomide or placebo, respectively; overall mortality was from those caused by the drug.
 about 39 or 8%, and mortality from GVHD was about 21 or 4% in those
                                                                                          Despite long-term experience with use of thalidomide in leprosy patients
 receiving thalidomide or placebo, respectively.                                     with ENL, there have been few reports of thalidomide-associated peripheral
 [] ¯ Recurrent Aphthous St0nmtitis                                                  neuropathy in these patients; in some studies, less than 1% of patients receiving
      Thalidomide has beer effective when used for the treatment of severe the drug for treatment of ENL eXperienced peripheral neuropathy. It has been
 aphthous 0~al ulce~s, in patients with recurrent aphthous stomatitis~ (RAS).        suggested that this may not be an accurate reflection of the incidence of this
 The drug has been used effectively fo/the treatment of RAS in immunocompe- adverse effect in these patients since peripheral neuritis was not recognized
 tent adultg’ and pediatric patients and also has been effective when used in as a potential adverse effect of thalidomide in early studies of the drug, in
 immunoc0~npromised patients, including cancer patients and H!V-infected part because ENL patients frequently have nruropathy in association with
 patients (see-Uses in H!V-infected Patients: H/V-associated Aphthnns Ulcers,        their disease and may not have reported such effects while receiving the drug.
 in Uses):In~: a placeb0-controlled cross-over study in patients with severe RAS, Therefore, preexisting neuropathy in ENL patients ma~, complicate recognition
 a complete clinical remission was obtained in 48 or 9% of patients recei¥ing of thalidomide-associated peripheral neuropathy. In addition, such symptmns
 thalidomide or placebo, respectively. Oral ulcers generally heal within 1-6 may be difficult to monitor since ENL neuritis may improve during thalidomide
 weeks’after initiation Of thalidomide therapy (100-300 mg daily), but higher therapy, but relapse after therapy with the drag is discontinued.
 dosage"may be needed in some patients (400=600 mg daily)’and ulcers may                  In controlled studies in H/V-infected patients, neuropathy occurred in
 relapse when the drug is discontinued. In some patients, relapse may be 7-8% of those receiving thalidomide. In one limited study in HIV-infected
 prevented or treated using thalidomide maintenance therapy (50=100 mg patients receiving thalidomide 400 mg daily for 3 months, 7% of patients
 daffY) ....                                                                         ext~erienced neurupathy symptoms requiring discontinuance of tie drug. In
                                                                                     other limited studies; 4%.0f HIV infected patients receiving 200-300 mg of
 [] .GI:Disorders                                                                    thalidomide for 14-21 days experienced severe symptoms of neuropathy. It
 Crohn’s Disease                                                                     has been Suggested that HIV-infected patients may be particularly susceptible
      Thalidomide has been used with some success in a limited number of to the development of thalidomide:associated polyneuritis. However, since
 p~tients:.for .th~ treatment of refractol3, Crohn’s disease~’. In patients wkh axonal d~generation with clinidal and electrophysiologid symptoms resembling
 disease refractory yo usually recommended therapies (including corticogteroids, those of thalidomide-asso~iatedpolyneuropathies may occur in H/V-infected
 sul~asalazine azathiopfine) thalidomide therapy (100-300 mg daffy) resulted patients and other forms of polyneuropathy (including demyelinating and
 in resolution of ~mall bowel ulceration,, bleeding, and pain. In at least one polyradiculopathy) also are reported in such patients, it may be difficult to
 pa~¢~nt ~v!th Crohn’s disease, thalidomide therapy aIso resulted in resolutinn differentiate neuropath01ogic changes Caused by the underlying disease from
 of s?ver9, recurrent oral aphthous ulcers.                                          those c~used by thalidomide. ’
                                                                                          In ~ retrospective study 6f patients receiving thalidomide for a variety Of
 Other GI Disorders                                                                  dermatologic donditions, thalidomide-associated peripheral neuropathy od-
      Thalidomide also has been used with some success in a limited number of curred in 2!-50% of patients and was most frequent in women and geriatric
 patients for the treatment of ulcerative colitis], but additional study is needed.  patients. Limited data indicate that peripheral neuropathy occurs in up to 75%
 [] Other Uses                                                                       of patients receivh)g thalidomide for the treatmen~ of prurigo nodularis~.
     Thalidomide has been used in a limited number of patients for the t[eatment          Thalidomide-associateO periphera! neuropa!hy generally has been reported
 of refractory ankylosing spondylitis~, refractory rheumatoid arthritis~, or sar- with chronic use of the drug over a period of months, but also has been
 cOidOsls-~, but additional study and experience are needed.                         reported w~th relatNely shoo’t-term use of the .drug. The correlation between
      Becans~thalidomide is an itthibitor of angiogenesis and there is some peripheral neuropathy and the cumulative thalidomide dose is unclear; symp-
  evidence that Joss of vision in the severe, wet form of macular degeneration toms have been reportedto begin after a cumulative dose of 40-50 g in some
 may be related to angiogenesis in the blood vessels: behind the macula, the patients, but also have occurred with no apparen~ relationship to cumulative
  drug is being investigated for tl~e treatment of macular degenerationS.             dose. There have been some cases when symptoms of thalidomide-associated
                                                                                     peripheral neuropathy were not apparent until after the drug was discontinued.
                                                                                          Polyneuropathic symptoms may improve in some patients when thalido-
                                                                                      mide is discontinued, but symptoms may resolve slowly or not at all after
      Thalidomide is a Inwwn human teratogen and has caused severe, life- discontinuance of the drag. In a study of patients with thalidomide-induced
  threateniug birth defects or fetal death when used during pregnancy. (See peripheral neuropathy who were followed for 4-6 years after discontinuing
  Precaution~ and Contraindications: Teratogenic Precantions and Contraindica- the drug, 25% experienced full recover3,, 25% had some improvement of
                          AH~S DRUG INFORMATION® ~001
                                                                                                          UNCLASSIFIED TIIERAPEUTIC AGENTS                   92:00

  Case 2:10-cv-03165-RGK-SS Document 224-1 receiving                    Filed thalidomide.
                                                                                09/22/15Facial  Page
                                                                                                   edema29     of 48
                                                                                                           occurred in 4%Page     ID occufl’ed
                                                                                                                          and urticaria
symptoms, and 50% had no improvement in signs and symptoms of neu-
ropathy.                                                        #:5869in 1-2% of ENL patients receiving thalidomide. Sweating occurred  in 12 or
     Clinical symptoms of thalidomide-induced neuropathy include predomi-            11% of HIV-infected patients receiving thalidomide or placebo, respectively.
nantly symmetric painful paresthesia of the hands and feet, often accompanied        Ache occurred in -3-11% of HIV-infected patients receiving thalidomide.
bs~ sensory loss in lower limbs. Muscle weakness and cramps, signs of pyrami-            In one limited study in HiV-infected patients, 14% of those receiving
dal tract involvement, and carpal tulmel syndrome have been reported often.          thalidomide (400 mg daily for 3 months) experienced severe skin reactions;
An unpleasant pedal symptom, described as "tightness around the feet," was           these reactions resulted in discontinuaace of drug in 7%. In another lintited
reported in 8-47% of patients in some studies. In early reports, thalidomide-        study in HIV-infected patients (with or without tuberculosis) who received
associated peripheral neuropathies were characterized mostly by sensory symp-        thalidomide (300 mg daily for 3 weeks), 30% experienced severe rash that
toms, including hypoesthesia aid hyperesthesia, hyperalgesia, impaired tem-          was associated with low CD4÷ T-cell counts. The mean CD4+ T-cell count
pei-ature sensitivity, and impaired vegetative (i.e., autonomic) nervous func-       was 17 or 216 cells/rmn3 in those with or without rash, respectively. Thalido-
tibns. These symptoms occasionally were accompanied by mild proximal                 mide was discontinued and rash resolved in 25% of patients. However, one
muscle weakmess, or evidence of pyramidal tract damage, but motor distur-            patient with rash continued to receive thalidomide because of a missed appoint-
bances appear4d to occur rarely. Muscle weakness rapidly improved after              ment and subsequently developed Stevens-Johnson syndrome with desqumna-
discontinuance of tbe drug, but sensory deficits were slow to improve, and           tion that resolved after discontinuance of the drug.
 occasionally worsened even while the patient was not receiving thalidomide.              Hypersensitivity reactions characterized by cutaneous and/or febrile symp-
 Because there was no subgtantial correlation between the severity of the            toms have been reported in HIV-infected patients receiving thalidomide. In
 condition and the total dose of the drug, and because discontinuance of             some of these HIV-infected patients, rechallenge with thalidomide resulted in
 thalidomide did not result in improvement in many cases, initially it could          accelerated hypersensitivity, including hypotension. Therefore, some clinicians
 not be established that such neurologic disturbances yvere actually caused by        state that if thalidomide rechallenge in an HIV-infected patient is unavoidable
 thalidomide. Subsequently, the association between thalidomide and peripheral        (e.g, to elucidate a drug reaction in a patient receiving a complex drug
 neuropa~hies was established in clinical studies of patients with discoid lupus      regimen), the patient should be hospitalized when the drug is administered
 ery~emafosus, prurigo nodularis, and aphthous stomatitis; in these studies,          and for at least 24 hours following the rechallenge.
 the neurologic stat~s of p~tients was assessed before and after initiation of             Adverse dermatologic and hypersensitivity reactions reported in patients
 thalidomide therapy.                                                                 with ENL or HIV infection receiving thalidomide in uncontrolled studies
      Physiologically, thalidomide polyneuropathy is characterized by axonal          include allergic reaction, alopecia, angioedema, benign skin neoplasm, dry
 degeneration without demyelinization (i.e., a "dying back process"). Electro-        skin, eczema, exfoliative dermatitis, herpes simplex, ichthyosis, incomplete
 physiologic alteration principally is characterized by a decreased sensory action    Stevens-Johnson syndrome, perifollicular thickening, photosensitivity, psoria-
 potential amplitude on medial nerves of the arm, and peroneal and sural              sis, seborrhea, skin discoloration, skin disorder, skin necrosis, urticaria, and
  (medial cutaneous) nerves of the leg, with relative conservation of conduction      vesiculobullous rash. Erythema nodosum, myxedema, petechiae, or purpura
  velocities; however, decreased sensory and motor conduction velocities have         was reported in at least one patient receiving thalidomide. In a glioblastoma
  been observed. Also, increased somatosensory latency of activation after sural      patient who discontinued thalidomide therapy because of full-body maculopap-
  nerve stimulation may occur in the absence of clinical abnormalities in patients    ular rash, toxic epidermal necrolysis occurred following rechallenge with a
  receiving thalidomide. Because electrophysiologic alterations may occur before      single 100-mg dose of the drug.
  the onset of subjective symptoms, the reported incidence of neuropathy in           [] GI Effects
  thalidmrdde studies is higher if neurophysiologic tests, rather than clinical
  symptoms, are used for diagnosis.                                                        In controlled clinical studies, adverse GI effects occurred in 21% of ENL
                                                                                      patients receiving thalidomide, and 44-50 or 43% of HIV-infected patients
 Other Nervous Syste~n Effects                                  :                     receiving thatido~rfide or placebo, respectively. Dian’hea occurred in 4% and
     Thaliddmide exhibits sedative and hypnotic effects, £nd drowsiness and.          nausea occurred in 4-6% of ENL patients receiving thalidomide; diarrhea and
 sonmolence are common during therapy with the dl~g~ In controlled clinical           nausea occurred in 17 and 12% of HIV-infected patients, respectively, receiving
 studi~s, adverse nervous system effects (other than peripheral neuritis) occurred    the drug. Vomiting has been reported in 1-2% of ENL patients receiving the
 in 54%. of ENL patients receiving thalidomide, and 34-56 or 34% of HIV-              drug. Abdominal pain and constipation occurred in 4-11% of ENL patients
 infected patients receiving thalidomide or placebo, respectively. Drowsiness          and 3-19% of HIV-infected patients receiving thalidomide. Oral candidiasis
 occmred.in 38% and malaise occurred in 8% of ENL patients rec(iving                   occurred in 4% of ENL patients and 6-11% of HIV-infected patients receiving
 thalidomide, arid drowsiness occurred in 36-38 or 11% of HIV-infected patients        thalidomide. Tooth pain occurred in 4% of ENL patients receiving thalidomide.
 recei,Jing thalidomide or placebo, respectively. Headache occurred in about           Dry mouth occurred in 8-9 or 6-72% of HIV-infected patients receiving
 12% of leprosy ENL patients receiving thalidomide, and 17-19 or 11% of                thalidomide or placebo, respectively. Anorexia occurred in 3-9 or 6% of HIV-
 HIV-infected patients receiving thalidomide or placebo, respectively. Vertigo         infected patients receiving thalidomide or placebo, respectively. Flatulence
 occurred in 8% and dizziness occurred in 4-25% of ENL patients receiving              occurred in 8 or 6% of HIV-infected patients receiving thalidomide or pla-
 thalidomide; dizziness occurred in 19% of HIV-infected patients receiving the         cebo, respectively.
 drug. Paresthesia occurred in 6-16 or 11% of HIV-infected patients receiving               Adverse GI effects reported in patients with ENL or HIV infection receiv-
 thalidomide or placebo, respectively, and also has been reported when the             ing thalidomide in uncontrolled studies include enlarged abdomen, increased
  drug Was used in ENL patients. Tremor occurred in 4% of leprosy patients             appetite and weight gain, colitis, dry mouth, dyspepsia, dysphagia, eructation,
  with ENL receiving thalidomide, and agitation or nervousness occurred in             esophagitis, flatulence, gastroenteritis, GI disorder, GI hemon’hage, gum disor-
  329% of HIV-infected patients receiving the drug. Insomnia occurred in 9 or          der, intestinal obstruction, pmotid gland enlargement, periodontitis, stomatitis,
  6% of. HIV-infected patients receiving thalidomide m? placebo, respectively.         taste.perversion, tongue discoloration, tooth disorder, and vomiting. Aphthous
      Adverse nervous system effects reported in patients with ENL or I-]IV            stomatitis or ~tomach ulcer has been reported in at least one patient receiv-
  infection receiving thalidomide in uncontrolled studies include abnormal gait,       ing thalidomide.
  abnormal thinking, amnesia, anxiety, ataxia, causalgia, circumoral paresthesia,
  confusion, decreased libido, decreased reflexes, dementia, dysesthesia, depres-     [] Respiratory Effects
  sion, emotional lability, euphoria, hypalgesia, hyperesth~sia, hostility, hyper-         In controlled clinical studies, adverse respiri~tory effects occurred in 12%
  kinesia, incoordination, meningitis, neuralgia, neuritis, neur01ogic disorder,       of ENE patients receiving thalidomide, and 19-25 or 26% of HIV-infected
  nenropnthy, peripheral neuritis, mad psychosis. Carpal tunnel disorder, foot         patients receiving thalidomide or placebo, respectively. Pharyngitis occurred
  drop, hangover effect, migraine, or suicide attempt was reported in at least         in 4% of ENL patients, and 6-8 or 6% of HIV-infected patients receiving
  one patient receiving thalidomide.                                                   thalidomide or placebo, respectively. Sinusitis or rhinitis occun-ed in 4% of
                                                                                       ENL patients, and sinusitis occurred in 3-8 or 6% of HIV-infected patients
  [] Dermatologic and Sensitivity Reactions                                            receiving thalidonfide or placebo, respectively.
      Adverse dermatologic effects occur commonly in patients receiving thalid-            ~d.verse respiratory effects reported in patients with ENL or HIV infection
  omide. In controlled clinical studies, adverse dermatologic effects occurred         receiving thalidomide in uncontrolled studies include apnea, bronchitis, cough,
  in 42% of ENL patients receiving thalidomide, and 47-56 or 54% of HIV-               emphysema, epistaxis, tung disorder, lung edema, pneumonia (including that
  infected patients receiving thalidomide or placebo, respectively. Rash occurred      caused by Pneumocystis carinii), pulmonary embo!us, riles, upper respiratory
  in 21% of ENL patients receiving thalidomide, and 25 or 31% of HIV-infected          infection, and voice alteration. Also, dyspnea has been reported in at least
  patients receiving thalidomide or placebo, respectively. Maculopapular rash          one patierit receiving thalidomide.
  occurred in 4% of ENL patients receiving thalidomide, and 17-19 or 6% of             [] Genitourinary Effects
  HIV-infected patients receiving thalidomide or placebo, respectively. Pruritus
   occurred in 3~8% of ENL patients receiving tbalidomide, and 3-6 or 6% of                In controlled clinical studies, adverse genitourinary effects occun’ed in
   H1V-infected patients receiving thalidomide or placebo, respectively. Fungal        8% of ENL patients receiving thalidomide, and 6-17 or 11% of HIV-infected
   dermatitis or nail disorder occurred in 4% of ENL patients receiving thalido-       patients receiving thalidomide or placebo, respectively. Impotence occuFred in
   mide, and 3-9% of HIV-infected patients receiving thalidomide. Peripheral           8% of ENL patients and 3-12% of HIV-infected patients receiving thalidomide.
   edema occurred in 4-~% of ENL patients and 3-8% of HW-infected patients             Albm’ninuria 6ccurred in 3-8 or 6% of HIV-infected patients receiving thalido-
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mide or placebo, respectively. Hematuria occurred in 11 or 3% of HIV-                  these effects is unlmown since the patients involved were not recei’ging the
infected patients receiving thalidomide or. placebo, respectively.                     potent antiretroviral agent combination regimens currently recommended for
    Adverse genitourinary effects reported in patients.with ENL or HIV infec-          HIV-infected patients. (See Pharmacology: Immunomodulatory Effects.)
tion receiving thalidomide in uncontrolled studies include hematurig, orchitis,
proteinuria, pyuria, and urinary frequency. Acute renal failure, amenorrhea,           [] Other Adverse Effects
enuresis, metrorrhagia, or oliguria has been reported in at least one patient               In controlled clinical studies, accidental injury occurred in 4% of ENL
receiving thalidomide.                                                                 patients, and 6 or 3% of H/V-infected patients receiving thalidomide or pla-
                                                                                       cebo, respectively. Chills occurred’in 4% of ENL patients, and 9 or 11% of
[] Hematologic Effects                                                                 HIV-infected patients receiving thalidomide or placebo, respectively. Pain
    In controlled clinical studies, adverse hematologic effects occurred in            occurred in 8% of ENL patients, and 3 o(. 6% of H/V-infected patients regeiy!ng
22-41 or 29% of H[V-infected patients receiving thalidomide or placebo,                thalidomide or placebo, respectigely. Fever occurred in 19-22 or 17% of
respectively. Leukopenia occurred in 17-25 or 9% of H/V-infected patients              HIV-infected patients receiving thalidomid~ or placebo, respectively, infection
receiving thalidomide or placebo, respectively; ha one study, leukopenia .oc-          occurred in 6-8 or 3% of H!V-infected patients receiving thalidomide br.
curred in 14% of ENL patients receiving the drug. Lymphadenopathy occurred             placebo, respectively. Hyperlipidemia occurred in 6-=9 or 3% of.H!V-infect~d
in 6-12 or 9% of H!V-infected patients receiving thalidomide or placebo,               patients regeiving thalidomide or placebo, respectively. " .....
respectively. Anemia occurred in 6-12 or 9% of H/V-infected patients receiv-                Other adverse effects reported in patients with .ENL Or H/V infe~ii0n
ing thalidomide or. placebo, respectively.                                             receiving thalidomide in uncontrolled studies include avitaminos~s, altered
    Adverse hematologic effects reported in patients with ENL or H!v infec-            hormone concentrations, altered alkaline phosphatase concentrations, dehydra-
tion receiving thalidomide in uncontrolled studies include aplastic anemia,            tion, increased BUN, decreased creatinine clearance, inappropriate antidiuretic
cyanosis, decreased CD4+ T-cell count, erythrocyte sedimentation rate increase,        hormone concentrations, increased serum creatinine, electrolYte abnormalities,
eosinophilia, granulocytopenia, hypochromic anemia, leukemia, leukocytosis,            hyp~Jcalcemia, hypercholesterolemia, hyperglycemia, hyperkalemia, hypeflip-
leukopenia, macrocytic anemia, megaloblastic anemia, microcytic anemia,                idemia, hypoproteinemia, hypeturi~emia, increased lactic dehydxogegase~ in-
elevated mean corpuscular volume, abnormal erythrocyte count, and thrombo-             c,;eased lipase, decreased phosphorus, amyloid0sis, ascites, chills an~d fever,
cytopenia. Chronic myelogenous leukemia, erythroleukemia, nodular scleros-             cellulitis, cys(, diabetes, fever, flu-like syndrome~ hernia, moniliasis, palpable
ing Hodgkin’s disease, lymphoperda, or pancytopenia has been reported in               spleen, pancreafitis, sarcoma, sepsis, and viral infection. Galactorrhea, gyneco-
at least one patient receiving thalidomide.                                   ~        mastia, hypomagnesemia, hypothyroidism, and lymphedema have occurred in
                                                                                       at least one patient receiving thalidomide.
[] Muscul0skeleta! Effects
     In controlled clinical studies, asthenia occurred in 8% of ENL patients           [] PrecautionSand Contraindications
receiving thalidomide, and 6-22 or 3% of HIV-infected patients receiving or            Teratogenicity Precautions attd Contraindications
placebo,respecfively. Back pain occurred in 4% of ENL patients and 6% of                    Because thalidomide is a known human teratogen (see Teratogenic Effects
HIV-infected patients receiving thalidomide. Neck pain and neck rigidity-each          under Pregnancy, Fertility, and Lactation: Pregnancy)~ the drug is Commercially
 occurred in 4% of patients with ENL receiving thalidomide.                   :        available in the US only through a restricted distribution program; the System
     Adverse muscutoskeletal effects reported in patients with ENL or HIV              for Thalidomide Education and Prescribing Safety (STEPS) designed to mini-
infection receiving thalidomide in uncontrolled studies include arthritis, bone        mize the chance of fetal exposure and help ensure the safe and effective
tenderness, hypertonia, joint disorder, leg cramps, myalgia, myasthenia, perios-       prescribing, dispensing, and use of thalidomide: Thalidomide may be pre-
 teal disorder, and upper extremity pain.                                              scribed only by licensed physicians who are registered in the STEPS program
N. Cardiovascular Effects¯                                                             and understand the risk of teratogenicity if thalidomide is used during preg-
                                                                                       nancy. For information on the distribution program, see Dosage and Adminis-
    Adverse cardiovascular effects reported in patients with ENL or HIV                tration: Restricted Distribution Program.
infection receiving thalidomide in uncontrolled studies include angina pectoris,            Thalidomide is contraindicated in pregnant women and ~hould be used in
arrhythmia; atrial fibrillation, bradycardia, cerebral ischemia, cerebrovascular       females of childbearing potential only when alternative therapies are considered
accident, Chest pain, congestive heart failure, deep thromboph|ebiffs, heart           inappropriate and the patient is capable of Understanding and complying with
arrest, heart failure, hypertension, hypotension, murmur, myocardial infarction-       the patient registration, education, and safety requirements of the STEPS
,palpitation, pericarditis, peripheral vascular disorder, postural (orthostatic)       program, including mandatory contraceptive measures and pregnancy testing.
hypotension, syncope, tachycardia, thrombophlebitis, thrombosis, and vasodila-         Female patients should be advised to immediately discontinue taking thalido-
tion. Raynaud’s syndrome has been reported inat least one patient receiv-              mide and inform their clinician if they become pregnant (or for any reason
ing thalidomide.                                                                       they think they might be pregnant), miss a menstrual period, experience
    The manufacturer states that, although bradycardia has been reported in            unusual menstrual Needing, or stop using contraceptive measures. (See Preg-
patients receiving thalidomide, mgdical or other intervention was not required         nancy, Fertility, and Lactation: Pregnancy, in Cautions.)
and the clinical importance and underly!ng etiology of bradycardia in these                 Thalidomide should be used in sexually mature males only When the
patients ar6 unknown.                                                                  patient is capable of understanding and complying with th6 patient regiStration,
                                                                                       education, and safety requirements of the STEPS program, including mandatory
[] Hepatic Effects                                                                     contraceptive measures for men. Male patients receiving thaiidomide should
     In controlled clinical studies, increased serum AST (SGOT) concentrations         be instructed to inform their clinician if they have unprotected heterosexual
occurred in 3-12 or 6% of HIV-infected patients receiving thalidomide or               intercourse while receiving thalidomide 0r during the first month after discon-
placebr, respectively; multiple abnormalities in fiver function test results oc-       tinuing the drug or if they think that their sexual partner may be pregnant.
curred in 9% of HIV-infected patients receiving thalidomide.                    ’           Patients should be advised to take thalidomide only as prescribed, and in
     Adverse hepatic effects reported in patients with ENL or H1V infection            compliance with the requirements of the STEPS program. Patients should be
receiving thalidomide in uncontrolled studies include increased liver function         warned not to share thalidomide with anyone else and to keep the drug out
test resu!ts, increased serum ALT (SGPT) concentrations, bilh~ubinemia,i cho-          of the reach ,~ ohil,~ro, In arlrlltlnn patients should ~-- ; ..... ,.n .~, ,.
langitis, cholestatic jaundice, enlarged liver, and hepatitis. Bile duct obstruction   donhte blood and male patients should be warned not to donate sperm while
has occurred in at least one patient receiving thalidomide.                            taking thalidomide.
[] Ocular and Otic Effects                                                                  Contraceptive Measures. All women and adolescent females of childbear-
                                                                                       ing potential and all sexually mature males receiving thalidomide must use
     Adverse ocular and otic effects reported in patients with ENL or                  effective contraceptive measures (which may include abstinence) to help ensure
infection receiving thalidomide in uncontrolled studies include amblyopia,             that fetal exposure to thalidomide does not occur. Contraceptive measures are
conjunctivitis, dry eye, ocular disorder, ocular pain, lacrimation disorder,           indicated even in females with a history of infertility. The only females who
retinifis, deafness, and tinnitus. Diplopia or nystagmus has occurred in at least      do not need to observ~ mandatory contraceptive measures are those who have
one patient receiving thalidomide.                                                     undergone hysterectomy or who are postm~nopausal and have had no menses
                                                                                       for at least 24 consecutive months.
[] Effects on HIV Viral Load and Tumor Necrosi~ Factor                                      All women and adolescent females of childbearing potential must use 2
    Increased HIV viral load (i.e., increased plasma HIVe1 RNA levels) and             reliable forms of contraception simultaneously (unless the patient chooses to
increased levels of plasma tnmor necrosis factor alpha (TNF-~) and solnble             remain continuously abstinent from engaging in heterosexual intercourse)
TNF-c~ receptor type II have been reported in some HIV-infected patients               beginning 1 month prior to initiating thalidomide therapy and continuing until
receiving thalidomide. In one controlled study in HIV-infected patients, median        1 month after thalidomide therapy is discontinued. The patient must use at
plasma I~V-1 RNA levels increased by 0.42 log~0 copies/mL in patients                  least 2 birth control methods; preferably one should be a highly effective
receiving thalidomide compared with a 0.05 togm-copies/mL increase in those            birth control method (intrauterine device [IUD]; oral, injectable, or implanted
receiving placebo. A similar trend of increased HIV load was reported in               hormonal contraceptives; tubal ligation; vasectomized partner) and one should
another study in HIV-infected patients. However, the clinical importance of            be an effective barrier method (latex condom, diaphragm, cervical cap). How-
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ever, if either IUD or hormonal contraceptive use is contraindicated in the          omide therapy is resumed and the reaction recurs, thalidomide should be
female, 2 other effective methods may be used. Females of childbearing               permanently discontinued. Because hypersensitivity reactions characterized by
potential receiving thalidomide concomitantly with any other drug that can           cutaneous and/or febrile manifestations have been reported in HlV-infected
reduce efficacy of oral contraceptives must use 2 other effective methods of         patients receiving thalidomide and because rechallenge with the drug resulted
contraception or abstain from heterosexual intercourse. Drags that may inter-        in accelerated hypersensitivity (including hypotension) in some of these pa-
fere with effectiveness of orul contraceptives include protease inhibitors (e.g.,    tients, some clinicians recommend that if thalidomide rechallenge is unavoid-
amprenavir, indinavir, nelfinavir, ritonavir, saquinavir), griseofulvin, rifampin,   able in an HIV-infected patient (e.g., to elucidate a drug reaction in a patient
rifabutin, phenytoin, or carbamazepine. (See Drug Interactions: Hormonal             receiving a complex drug regimen), the patient should be hospitalized when
Contraceptives and Drugs that Interfere with Hormonal Contraceptives.)               the drug is administered and for at least 24 hours following the rechallenge.
     Sexually mature males (including those who have successfully undergone
vasectomy) receiving thalidomide must completely avoid unprotected sexual         [] Pediatric Precautions
intercourse with women because it is unknown if thalidomide is present in              Although safety and efficacy of thalidomide in pediatric patients younger
sperm or seminal fluid. While receiving thalidomide and for at least 1 month      than 12 years of age have not been established, the drug has been used in
after discontinuing the drug, sexually mature males must use a latex condom       a limited number of children 6 months to 12 years of ageJ. The manufacturer
each time they have sexual intercourse with a woman.                              states that when thalidomide was used in a limited number of patients 11-17
     All females of childbearing potential must be tested for pregnancy within    years of age (usually in a dosage of 100 mg daily), response rates and safety
the 24 hours immediately prior to the first dose of thalidomide using a reliable  profile were similar to those observed in adults. When thalidomide was used
serum pregnancy test with the sensitivity to detect human serum chorionic         for the treatment of graft-versus-host disease in a limited number of bone
gonadotropin (HCG) concentrations of 50 mIU/rnL. The prescribing clinician        marrow transplant recipients 1.5-17 years of age’S, adverse effects of the drug
should not provide the woman with a prescription for thalidomide until a          included somnolence (which requked discontinuance of the drug in at least
written report of the pregnancy test is available indicating that results are     one child), constipation, and a syndrome of rash, eosinophilia, and pancreatitis
negative. Serum pregnancy tests must then be repeated at regular intervals        (which resolved after the drug was discontinued).
during thalidomide therapy (i.e., weekly during the first month, then every            Thalidomide is contraindicated in adolescent females of childbearlng po-
2 or 4 weeks in women with irregular or regular menstrual cycles, respectively).  tential (i.e., those who are sexually mature, have had menses at some time
Pregnancy tests also should be performed if a patient misses her period or        during the 24 consecutive months preceding initiation of treatment with thalido-
if there is any abnormality in menstrual Needing. If pregnancy occurs during      mide, have not undergone a hysterectomy) unless alternative therapies are
thalidomide therapy, the drug should be discontinued immediately. (See Preg-      considered inappropriate and the patient is capable of complying with the
nancy under Cautions: Pregnancy, Fertility, and Lactation.)                       contraceptive measures (which may include abstinence) designed to help ensure
                                                                                  that fetal exposure to thalidomide does not occur. (See Teratogenic Precautions
Peripheral Neuropathy Precautions and Contraindications                           and Contraindications: Contraceptive Measures, in Cautions.)
     Because thalidomide may cause peripheral neuropathy which can be irre-            For males and females 18 years of age and younger, a parent or legal
versible, patients should be instructed to immediately report initial symptoms    guardian must be educated concerning the hazards of thalidomide and agree
(e.g., numbness, tingling, pain or a burning sensation in the hands and feet) to ensure that the minor complies with all requirements of the STEPS program.
of peripheral neuropathy to their prescribing clinician. To ensure that early
signs of neuropathy are detected, patients should be examined, counseled, [] Geriatric Precautions
and questioned regularly during thalidomide therapy (i.e., monthly for the             Safety and efficacy of thalidomide in geriatric patients have not been
first 3 months of thalidomide treatment, and periodically thereafter).             specifically studied to date. Thalidomide has been used in clinical studies that
     Early detection and differential diagnosis of thalidomide-induced neuritis included patients up to 90 years of age, and adverse effects reported in those
may be difficult in leprosy patients with ENL and in HIV-infected patients older than 65 years of age were similar to those reported in younger adults.
because neuritis associated with these diseases may be similar to that caused
by thalidomide.                                                        ¯           [] Mutagenicity and Carcinogenicity
     To assist in detection of asymptomatic neuropathy, the manufacturer states        There was no evidence of mutagenic effects when thalidomide was evalu-
that consideration should be given to using electrophysiologic testing, con- ated in vitro using bacterial test systems (Ames test using Salmonella typhimu-
sisting of sensory nerve action potential (SNAP) amplitude measurement at rium and Escherichia coli), in vitro using mammalian test systems (Chinese
baseline and every 6 months thereafter. If manifestations of peripheral neuropa- hamster ovary ceils, AS52/XPRT mammalian cell forward gone mutation
thy develop, thalidomide should be discontinued immediately (if clinically assay), in vitro using human lymphocytes (chromosome aberration assay,
appropriate) to minimize further damage. Usually, treatment with thalidomide micronucleus assay), or in vivo using mammalian test systems (CD-1 mice,
should be resumed only if manifestations of neuropathy return to baseline.         micronucleus test). While there have been a few unsubstantiated reports that
     Drugs known to be associated with peripheral neuropathy should be used positive results were obtained when thalidomide was tested for mutagenicity
with caution in patients receiving thalidomide. (See Drug Interactions: Drugs in Salmonella and mouse bone marrow cells, these results have not been con-
Associated with Peripheral Neuropathy.)                                            firmed.
                                                                                       Although thalidomide is teratogenic, the drug is not considered to be
CNS Precautions and Contraindications                                              mutagenic in humans. A report that 2 men with birth defects attributed to
     Patients should be warned that thalidomide frequently causes drowsiness       thalidomide exposure each fathered a child with birth defects resulted in
and somnolence, and may impair their ability to perform hazardous activities       speculation that thalidomide may be mutagenic in addition to teratogenic and
requiring mental alertness or physical coordination (e.g., operating machinery, capable of causing second generation birth defects. However, there is no
driving a ,motor vehicle). Patients also should be warned not to take any other evidence to support such a hypothesis and experts state that the birth defects
drugs that may cause drowsiness without consulting their clinician. Patients in both these children were not the result of parental thalidomide exposure
should be advised that thalidomide may potentiate the drowsiness caused by but probably occurred because of genetic abnormalities related to spontaneous
alcohol. (See Drug Interactions: CNS Agents.)                                      mutations that occurred in the parents. The fathers of both children may have
Other Precautions and Contraindications                                            had malformations caused in part by thalidomide exposure, but the father of
     Because thalidomide may cause dizziness and orthostatic hypotension,          one child had anomalies that were quite atypical from those associated with
patients receiving the drug should be instructed to sit upright for a few minutes thalidomide exposure. While only limited information is available about one
before standing up from a reclining position.                                      of the children, both appeared to have limb formation abnormalities similar
     Because decreased leukocyte counts, including neutropenia, have been to those of their respective fathers. Since mutagens attack genes at random,
reported in patients receiving thalidomide, the drug should not be initiated in if thalidomide did have a mutagenic effect distinct from its teratogenic effect,
patients with absolute neutrophil counts (ANC) less than 750/mm3. Leukocyte it is unlikely that the mutations would result specifically in limb malformations.
counts and differentials should be routinely monitored, especially in patients There is no evidence that the incidence of birth defects in children born to
who are prone to neutropenia (e.g., HIV-infected patients). If the ANC de- parents with birth defects related to thalidomide exposure is any higher than
creases to less than 750/ram3 while the patient is receiving thalidomide, the that reported in the general population and no evidence that thalidomide-
patient’s drug regimen should be reevaluated and consideration given to with- associated birth defects are inheritable.
holding thalidomide if clinically appropriate.                                         Long-term studies to evaluate the carcinogenic potential of thalidomide
     Because increases in viral load (i.e., increased plasma HIV-1 RNA levels) have not been performed to date.
have been reported when thalidomide was used in some H1V-infected patients, [] Pregnancy, Fertility, and Lactation
the manufacturer states that plasma HIV-1 RNA levels should be measured
after the first and third months of thalidomide treatment and every 3 Pregnancy
months thereafter.                                                                     Thalidomide is a known human teratogen, and can cause severe, life-
     Thalidomide is contraindicated in patients who are hypersensitive to the      threatening birth defects or fetal death if taken during pregnancy. The drug
drug or any ingredient in the formulation. The drug should be discontinued can cause teratogenic effects even if only a single dose of the drug (e.g,,
if signs and symptoms of hypersensitivity (e.g., erythematous macular rash         50-100 mg) is taken during pregnancy. Since the risks clearly outweigh any
associated with fever, tachycardia, hypotension) occur and are severe; if thalid- possible benefits in women who are or may become pregnant, thalidomide
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is contraindicated in such woInen. If the drag is inadvertently administered missing, the muscles normally attached to them are hypoplastic, but
during preguancy or if a patient becomes pregnant while receiving the drag,           of muscle hypoplasia does ~not always correspond to the level of
the drug should be discontinued irmnediately and the patient referred to an           (e.g., marked hypoplasia of shoulder and upper arm muscles may
obstetrician-gynecologist experienced in reproductive toxicity for further evalu-     patient with a humerus of normal leugth). In general, more ~
ation and counseling. The patient should be informed that if their clinician          ness of stature than that associated only with short leg bones occurs,
is not available, information about emergency contraception (including infor-         from poor growth, spinal osteochondritis, and progressive kyphosis.
mation regarding clinicians who provide emergency contraceptive services)             mide-induced skeletal deformities usually are bilaterally symmetric,
can be obtained by calling 888-668-2528 or by using other sources (e.g., http://      to malformations reported with other teratogenic drugs. However, the
www.opr.princeton.edu/ec). For information about postcoital contraception, see        of syrmnetry varies with the nature of the defect, both iu the nur
Estrogen-Progestin Combinations and Progestins in Contraceptives 68:12. Any           appreciably asyrmnetric deformities and in the closeness of the match
suspected exposure of a fetus to thalidomide should be reported to the FDA            left and right.
MedWatch Program at 800-FDA-1088 and also reported to the manufacturer.                    The next most comrnon group of abnormalities reported
     To minimize the chance of fetal exposure and help ensure the safe and            exposure to thalidomide are craniofacial and orofacial fetal
effective use of thalidomide in the US, patients must be registered in the            involving the ear, eye, and nerve supplies to the face,
STEPS program before they can receive commercially available drag. (See               and lacrimal glands; these deformities tend to occur in a variety of (ombi~
Dosage and Administration: Restricted Distribution Program.) The STEPS                and permutations. Exterual ear deformities tend to be bilateral and
program includes mandatory contraceptive measures for both men and women,             and include anotia, microtia or micropinna, and small or absent
as well as mandatory pregnancy testing to confiner that a woman is not                canals. Individuals’ With anotia and a blind or absent external
pregnant before thalidomide therapy is initiated and did not become pregnant          (meatus) are profoundly deaf in the affected ear. Facial palsy
 during or immediately after therapy with the drug. (See Contraceptive Measures
under Precautions and Contraindications: Teratogenicity Precautions and Con-          (usually mtilaterally rather than bilaterally) and almost always is
 traindications, in Cautions.)                                                        with anotia or micr0tia on the same side. Abnormalities of ocular
      Thalidomide is contraindicated in women of childbearing potential unless        occur fre~quently, including anophthalmos, microphthalmos coloboma
 alternative therapies are considered to be inappropriate and the patient is          iris and retina, and conjunctival dermoid cyst. Microphthalmos and ~
 capable of understanding and following the conditions of the STEPS program,          often occur together, and are predominantly bilateral. Restricted ocular
 including mandatory contraceptive measures designed to ensure that the woman         ments may occur; ocular movement defects are nearly always associated
 is essentially unable to become pregnant while receiving thalidomide. Women           otic defects, often associated with facial weakness, and tend to be
 of childbearing potential are considered to be women and adolescent females          Tear-saliva syndrome (crocodile tears) has been reported, in which tears
 who are sexually mature, have had menses at some time in the 24 consecutive           secreted in association with eating (rather than saliva) but may
 months preceding initiation of treatment with thalidomide (i.e., are not post-        in association with crying. This syndrome results
 menopausal), and have not undergone a hysterectomy. It is mandatory that              tions (probably in the brain stem), is bilateral or unilateral, and usuaii’y i
 such women (even if they are infertile) agree not to try to become pregnant           associated with otic abnormalities and ocular movement defects. Less,
 for at least 1 month after discontinuing thalidomide treatment, and comply            orofacial defects that have reported include cldft palate, high arched
 with effective contraceptive measures (which may include abstinence) for at           bifid uvula, palatal palsy, cleft .llp,choanal atresia, and mandibular and
 least 1 month prior to, throughout, and for at least 1 month after completion         tal abnormalities.
 of thalidomide therapy. In addition, a reliable serum pregnancy test with the              Other fetal defo~Trfities that have been
 sensitivity to detect human serum chorionic gonadotropin (HCG) concentra-             during pregnancy include congenital heart defects and other
 tions of 50 mIU/mL must be performed within 24 hours prior to beginning               malformations (e.g., patent ductus arteriosus, ventricular and/or atrial
 thalidomide therapy, and results must be negative. Serum pregnancy tests              defects,’ pulmonary stenosis); renal and urinary tract malformations (e,g.,
 must then be repeated at regular intervals during thalidomide therapy (i.e.,          fects of the kidney, ureter, and bladder); genital malformations
 weekly during the first month, then every 2 or 4 weeks in women with                  dias, vaginal atresia, fallopian tube interruption, bicornate uterus
 irregular or regular menstrual cycles, respectively). Pregnancy testing and
 counseling should be performed if a patient misses her period or if there is          of the scrotum or labia, and undescended, small, or absent testis); GI
 any abnormality in menstrual bleeding during thalidomide therapy.                     malformations (e.g., duodenal atresia, duodenal stenosis, pyloric stenosis, ano-
      Thalidomide is contraindicated in sexually mature males unless the patient       rectal stenosis, imperforate anus with fistula, anteriorly placed anus);
 is capable of understanding and following the conditions of the STEPS pro-            der aplasia; and respiratory tract malformations.
  gram, including mandatory contraceptive measures. Because it is unknown if                Most teratogenic effects appear to have Occurred as the result of
  thalidomide is. present in sperm or seminal fluid, sexually mature males (includ-    to thalidomide early in pregnancy, and there is some evidence
  ing those who have successfully undergone vasectomy) receiving thalidomide           window of embryonic sensitivity to thalidomide’s teratogenic effects exists
  must not have unprotected sexual intercourse with women. These men must             ~(i.e., from about 34.50 days after the beginning of the last menstrnal period)..
  use a latex condom each time sexual intercourse with a woman occurs during           Some malformations appear to be associated with particular periods of embry-
  and for at least 1 month after discontinuing the drug.                               onic exposure, including aplasia of the ear or stenosis of the rectum which
                                                                                       appear to be associated with exposure to thalidomide at 34-38 or 49-50
 Teratogenic Effects                                                                   days, respectively, after the beginning of the last menstrual period. However,
      It has been estimated that there were more than 10,000 reported cases of         incorrect reporting of the dates of last menstrual periods and/or thalidomide
 infants born with birth defects related to use of thalidomide in pregnant wom~n        administration dates as well as atypical menstrual cycle duration may have
 in other countries between 1957 (when thalidomide was ftrst introduced in             resulted in considerable inaccuracy in these data. It has been suggested that
 the world market) and 1963 (several years after the drug was removed from              limb defects may be secondary to an inhibition of blood vessel growth in
 the world market). Altlmugh thalidomide was not commercially available in              the developing fetal limb bud, and studies of thatidomide’s effects in fetal
 the US at that time, there were at least 17 reports of infants with thalidomide-       animal tissues have suggested that neural as well as limb development effects
 associated birth defects being born to women in the US during those years;
 these women had received the drug from overseas sources or received premar-            occur. The risk of potentially severe birth defects occurring following fetal
 keting samples distributed by drug company representatives.                            thalidomide exposure later in pregnancy is unknown, but may be substantial.
      A variety of human fetal abnormalities related to thalidomide administra-         Animal .... "~:°~ to ~" ....... ;~ the ~~0~o ~ thalidomide ~ ~o~ stage preg-
 tion during pregnancy have been documented. The most cormnon birth defects             nancy have not been conducted. While numerous mechanisms for thalidomide-
 reported following fetal exposure to thalidomide are musculoskeletal fetal             induced fetal abnoi’mality and mortality have been proposed, some have been
 abnormalities involving the loss of all or part of one or more bones; however,         refuted and others have not been adequately studied; additional study is re-
 fetal deformities may occur in almost any organ of the body and defects of             quired to elucidate how thalidomide causes teratogenic effects in fetuses.
 internal organs have been reported with some skeletal deformities. The mortal-
 ity rate at or shortly after birth in infants born with thalidomide-induced           Fertility
  abnormalities has been reported to be about 40%; most fatalities are related              Animal studies have not been conducted to date to determine whether
 to serious malformations of internal organs.                                          thalidomide affects fertility, and the effect of thalidomide on fertility in humans
       Skeletal deformities caused by thalidomide include amelia (absence of           has not been determined. It is not known if thalidomide is present in sperm
  legs and/or arms) and absencd of bones; phocomelia (short legs and/or arms)          or seminal fluid.
  and bone hypoplasia; hand deformities (e.g., radial club hand); thumb aplasia,
  hypoplasia, triphalangia, and nonopposability; finger aplasia, hypoplasia, fixed     Lactation
  flexion, and syndactyly; and hip dysplasia and dislocation. Skeletal deformities         It is not known whether thalidomide is distributed into human milk.
  appear to follow the craniocaudal progression of fetal morphogenesis. Most           Because many drugs are distributed into milk, mad because of the potential
  individuals with thalidomide defects of the upper limbs have normal lower            for serious thalidomide-related adverse effects in nursing infants, a decision
  limbs, some have defects of all limbs, but those with normal upper limbs             should be made whether to discontinue nursing or the drug, taking into account
  and deformed lower limbs are rare. When substantial parts of bones are               the importance of the drag to the mother.
                           AI-IFS DRUG INFORMATION®     2001
                                                                       Thalidomide   ~   UNCLASSIFIED TIiERAPEUTiC AGENTS
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Ghronic Toxicity
                                  #:5873
    Physical and/or psychologic dependence have not beeu reported ill individ-
uals receiving thalidomide. However, the manufacturer states that, like other      [] Administration
anxiolytic, sedative, and hypnotic drugs, it is possible that habituation to the       Thalidomide is administered orally. Because administratiou with a high-
sedative and hypnotic effects of thalidmnide could occur.                          fat meal substantially delays the time to peak plasma concentrations of thalido-
    Chronic use of thalidomide may result in potentially severe peripheral         mide, the drug should be administered with water at least 1 hour after a meal.
neuropathy, which can be irreversible. (See Cautions: Peripheral Neuropathy.)          When thalidomide is giveu as a single daily dose, the manufacturer recom-
To ensure early detection of thalidomide-induced neuropathy, patients should.      mends that the dose preferably be given at bedtime (to minimize the sedative
be examined regularly (i.e., monthly for the first 3 months of thalidomide         effects of the drug) with water and at least 1 hour after the evening meal.
therapy, and periodically thereafter). Consideration should be given to using      When high daily dosage of thalidoralde is necessm2~ (e.g., 400 mg daily), the
electrophysiologic testing, consisting of sensory nerve action potential (SNAP)    daily dose may be given as a single dose at bedtime or, alternatively, in
amplitude measurement at baseline and every 6 months thereafter.                   divided doses given with water at least 1 hour after ineals.
                                                                                   [] Dosage
                                                                                     Erythe~na Nodosum Leprosum
                                                                                         For acute treatment of cutaneous manifestations of moderate to severe
[] Pathogenesis                                                                      erythema nodosum leprosum (ENL) in adults and children 12 years of age
    Limited information is available on the acute toxicity of thalidomide in or older, thalidomide should be initiated at a dosage of 100-300 mg daily.
humans. The commercially available racemic mixture of thalidomide appears Patients weighing less than 50 kg should receive a low initial dosage of
to have a low potential for acute toxicity, principally because racellfic thalido- thalidomide (e.g., 100 mg daily). For the treatment of severe cutaneous ENL
mide has poor aqueous solubility and limited absorption as the result of reactions or in patients who previously required high thalidomide dosages to
interaction (i.e., hydrogen bonding) between carboxyl groups of the racemates. control an ENL reaction, the drag may be initiated at a dosage up to 400
In addition, the drug is rapidly and spontaneously hydrolyzed in vivo to             mg daily,
numerous metabolites and accumulation of the drug does not occur, even in                Thalidomide generally should be continued until signs and symptoms of
patients with severe renal impairment. Although the LDs0 of either the levorota- active ENL reaction have subsided (usually at least 2 weeks), and dosage
tory or dextrorotatory enantiomers of thalidomide is about 0.5 g/kg in rodents, should then be gradually reduced. The manufacturer recommends that daily
animal studies indicate that racemic thalidomide is not fatal when given in dosage of thalidomide be reduced in 50-rag increments every 2-4 weeks until
doses of 10 g/kg.                                                                    the drug is discontinued or recurrence of ENL occurs. Patients who have
                                                                                     recurrence of ENL while thalidomide dosage is being reduced and those who
[] Manifestations                                                                    have a documented history indicating that prolonged maintenance treatment
    Overdosage of thalidomide may cause prolonged sleep as a result of the           is necessary to prevent recurrence of cutaneous ENL should be maintained
drug’s sedative and hypnotic effects, but fatalities are unlikely since the drug     on the minimum dosage of the drug required to control the reaction. Thereafter,
does not cause respiratory depression. In 3 reported suicide attempts involving      gradual decrease and discontinuance of maintenance dosage should be at-
deliberate ingestion of up to 14.4 g of thalidomide, all 3 individuals recovered     tempted every 3-6 months.
without reported sequelae.                                                               Patients with moderate to severe neuritis associated with severe ENL
                                                                                     reactions may receive corticosteroid therapy concomitantly with thalidomide;
                                                                                     corticosteroid dosage may be tapered and the corticosteroid discontinued when
                                                                                   ¯ neuritis has ameliorated.
                                                                                   Recurrent Aphthous Stomatitis
[] Hormonal Contraceptives and Drugs that Interfere with                               For the treatment of recurrent aphthous stomatitis’~ in adults, including
Hormonal Contraceptives                                                            those who are H!V-infected, thalidomide dosages of 100-300 mg daily have
    Concomitant administration of thalidomide and oral contraceptives con- been used. However, higher dosages (e.g., 400-600 mg daily) may be necessary
taining ethinyl estradiol and norethindrone does not appear to affect the phar- in some patients. The optimmn duration of thalidomide therapy has not been
macokinetics of the hormones. In 2 studies in healthy women 21-45 years elucidated, but ulcers may relapse following discontinuance of the drug.
of age who received a 3-week regimen of thalidomide (200 mg of thalidomide
                                                                                   Graft-versus-host Disease
daily) followed by a single oral dose of an estrogen-progestin combination             For the treatment of graft-versus-host disease~" (GVHD), thalidomide dos-
oral contraceptive (70 gg of ethinyl estradiol and 2 mg of norethindron~), ages of 800-1600 mg daily have been used. The drug should not be used
the pharmacokinetics of both ethinyl estradiol and norethindrone were the for prophylaxis of chronic GVHD. (See Uses: Graft-versus-host Disease.)
same as those obtained in these women when the contraceptive was adminis-
tered without thalidomide.                                                         Multiple Myelotna
    While it is unlikely that thalidomide would affect efficacy of oral contra-        The optimum dosage and schedule of thalidomide therapy for multiple
ceptives since the drug does not appear to affect the pharmacokinetics of the      myeloma’~ remain to be established. (See Neoplastic Diseases: Multiple My-
hormones, other drugs that the patient may be receiving, including HIV prote- eloma, in Uses.)
use inhibitors (e.g., amprenavir, indinavir, nelfinavir, ritonavir, saquinavir),
griseofulvin, rifampin, rifabutin, phenytoin, or carbamazepine, may affect [] Restricted Distribution Program
efficacy of oral contraceptives. Because it is mandatory that women of                 Because thalidomide is a known human teratogen and can cause severe,
childbearing potential receiving thalidomide use effective contraceptive mea-life-threatening birth defects if administered during pregnancy, commercially
sures for at least 1 month prior to, throughout, and for at least 1 month after    available thalidomide must be obtained through a restricted distribution pro-
completion of thalidomide therapy, women of childbearing potential receiving gram, the System for Thalidomide Education and Prescribing Safety (STEPS),
thalidomide concomitantly with any other drug that can reduce efficacy of designed to help ensure that fetal exposure to the drug does not occur.
oral contraceptives must use 2 other effective methods of contraception or Clinicians, pharmacies, and patients must be registered in the STEPS program
abstain from heterosexual intercourse. (See: Contraceptive Measures under before they can prescribe, dispense, and receive thalidomide, and compliance
Precautions and Contraindications: Teratogenicity Precautions and Contraindi- with all terms outlined in the program is mandatory. The STEPS program
cations, in Cautions.)                                                             controls access to thalidomide; educates STEPS participants (clinicians, phar-
                                                                                   macists, patients) about the risks associated with thalidomide and the procedural
[] CNS Agents                                                                      requirements for safe use of the drug; and monitors compliance with the
     Thalidomide has been reported to enhance the sedative effects of some registration, education, and safety reqnirements of the program.
drugs, including barbiturates, chlorpromazine, and reserpine, and may potenti-         The STEPS program was created by Celgene in collaboration with the
ate the somnolence caused by alcohol.                                              US Food and Drug Administration (FDA), the Birth Defects Branch of the
                                                                                   US Centers for Disease Control and Prevention (CDC), and patient advocacy
[] Drugs Associated with Peripheral Neuropathy                                     groups (e.g., the Thalidomide Victims Association of Canada). While the
     Because of the potential for additive effects, drugs known to be associated program was based on safety models, currently in use for isotretinoin and
with peripheral neuropathy (e.g., certain antiretroviral agents [e.g., didanosine, clozapine, it incorporates additional controls and compliance monitoring not
zalcitabine], certain antineoplastic agents [e.g., paclitaxel; pIatinum-containing included in prior drug distribution programs. For information regarding the
drugs such as cisplatin; vinca alkaloids such as vincristine]) should be used STEPS program, Celgene’s customer service department should be contacted
with caution in patients receiving thalidmnide.                                    at 888-423-5436.
                                                                                                        AHI?S DRUG ]INFORMATION® 2001
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Pregcribiltg Clitticiattg                                #:5874
                                                          some time in the 24 consecutive months preceding initiation of thalidomide,
    Before prescribing thalidomide, clinicians must be registered in the STEPS        have not undergone a hysterectomy) must agree to use effective contraceptive
Prescriber Registry and must agree to prescribe the drug in accordance with           measures (which may include abstinence) for at least 1 month prior to, through-
the STEPS patient eligibility criteria and monitoring procedures. Clinicians          out, and for at least 1 month after completion of thalidomide therapy. These
can be registered by returning a completed, signed registration card to Celgene.      women must have a confh-med negative pregnancy test result prior to initiation
Clinicians must agree to provide comprehensive patient counseling on the              of thalidomide therapy and also must agree to have regular, repeat pregnancy
benefits and risks of thalidomide as outlined in the STEPS informed consent           tests throughout therapy (i.e., once weekly during the first month and monthly
document; provide appropriate contraception counseling and pregnancy testing          or every 2 weeks in women with regular or irregular menstrual cycles, respec-
or refer the patient to a qualified obstetrics-gynecology specialist for such         tively). (See Pregnancy under Cautions: Pregnancy, Fertility, and Lactation.)
counseling; complete the prescriber portion of the patient monitoring survey;         Male patients in the STEPS program must agree to use a Iatex condom every
and submit a copy of the completed informed consent document (signed by               time they have sexual intercourse with a woman. All patients must agree to
the patient and prescriber) and a copy of the patient monitoring survey.              not share their thalidomide with anyone else (even if the other individual has
    Clinicians must agree to write each prescription for no more than a 28-day        similar symptoms); to keep the drug out of the reach of children; and to not
supply of thalidomide at a time (with no refills), inform the patient that each       donate blood or sperm while receiving thalidomide.
prescription must be filled within 7 days of being written, and encourage the             The patient must present a copy of the completed informed consent docu-
patieut to return all unused thalidomide to the dispensing pharmacy. The              ment (signed by the patient and registered prescriber) and patient monitoring
STEPS program does not allow automatic prescription refills, and the clinician        survey to the dispensing pharmacist who then registers the patient with Celgene.
must ensure that patients return for monthly office visits to obtain subsequent       Once a patient is registered in the STEPS distribution database and has received
prescriptions for thalidomide. At each monthly visit and before a new prescrip-       their first 28-day supply of thalidomide, they must return to the prescribing
tion for the drag is issued, the clinician must provide the patient with additional   clinician at monthly intervals to receive subsequent prescriptions for thalido-
counseling about adverse effects of thalidomide and the use of appropriate            mide; the program does not allow automatic refills. At each monthly visit to
contraceptive measures; ensure that a serum pregnancy test is performed in            the prescribing clinician aud before a new prescription for the drug is issued,
any female patient of childbearing potential; ask the patient to complete             the patient must receive additional counseling about adverse effects of thalido-
a patient survey form about their compliance with contraceptive measures,             mide and the use of appropriate contraception, receive a serum pregnancy
pregnancy testing, and drug therapy; and submit the completed patient survey          test (if female and of childbearing potential), and complete a patient monitor-
form as directed by the STEPS progrmn.                                                ing survey.
Dispensing Pharmacies                                                                 Monitoring and Compliance
    To receive thalidomide from the manufacturer for dispensing, pharmacies               Compliance with the educational, informed consent, and pregnancy-testing
~xlust be registered in the STEPS Pharmacy Dispensing Registry and agree              components of the STEPS program is monitored ttu-ough the patient surveys
to comply with all requirements of the program. The director of pharmacy              that must be completed by prescribing clinicians and patients when each initial
or head pharmacist registers the pharmacy by returning a completed, signed            and subsequent prescription of thalidomide is written. The surveys are designed
pharmacy registration card to Celgene. After the manufacturer enters all of           to monitor compliance with, and implementation and execution of STEPS
the information provided by the pharmacist into the dispensing database, the          safety procedures, and to analyze outcomes.
pharmacy will be eligible to dispense thalidomide, and the manufacturer will              The STEPS program also is monitored by a quality assurance committee
provide a continuing education monograph to the pharmacy. The registering             composed of Celgene employees, agents, and consultants. In addition, all
pharmacist must agree to inform all staff pharmacists of the dispensing proce-        aspects of the STEPS program are subject to FDA audits. Although the FDA
dures for thalidomide.                                                                is not directly responsible for the operation of the STEPS program registry,
    When a new patient presents an initial prescription for thalidomide to the        the FDA can verify that the STEPS program is operating appropriately by
pharmacy, the pharmacist must collect from the patient a copy of the STEPS            conducting periodic inspections of pharmacies, and by reviewing data from
informed consent document (signed by the patient and a registered prescriber)         and procedures of the clinicians and patient registry. State boards of pharmacy
and a copy of the completed patient monitoring survey. The pharmacist will            have no regulatory oversight of the registry process.
then register the patient into the STEPS distribution database using a patient            The STEPS program is not designed to restrict prescribing and dispensing
registration form provided by the manufacturer. Subsequent to successful              of commercially available thalidomide to only the FDA-labeled use of the
patient registration, the manufacturer will ship the drug to the registered           drug. The registration system will collect information regarding any disease for
pharmacy for arrival within 2 days.                                                   which the drug is being used, regardless of FDA-approved labeling; therefore,
    All prescriptions for thalidomide must be presented to the pharmacist in          clinicians registered in the STEPS program are not restricted from prescribing
person, and may not be co~nunicated to the pharmacist over the phone.                 the drug for unlabeled (off-label) uses.
When the patient submits a subsequent prescription for the drug, the pharmacist           Although the STEPS program is highly restrictive and minimizes the risk
must record the prescription with the STEPS registry (by telephone or on-             that thalidomide may inadvertently be given to a pregnant woman, the risk
line transmission) to verify that the patient already is registered in the            of such exposure may not be completely eliminated. The FDA states that if
STEPS program.                                                                        there is even one fetal exposure to thalidomide, the entire distribution system
    The pharmacist may not fill a single thalidomide prescription for more            will be reevaluated, and steps will be taken to ensure that all deficiencies
than a 28-day supply of the drug; automatic refills are not allowed. The              are corrected.
pharmacist must verify that each prescription was written within the preceding
7 days, and must not dispense the drug if the prescription was written more           P~epa~a~ions
than 7 days previously, or if there is (or should be) more than a 7 day supply
of the d~ug remaining from the preceding prescription. Pharmacists must               Thalidomide
encourage all patients to return all unused drug to the dispensing pharmacy,
where it will be accepted and destroyed or returned to the manufacturer.              Oral
                                                                                        Capsules             50 mg                                 Thalomid®, Celgene
Patients
     To receive commercially available thalidomide, a patient must be registered
in the STEPS program and agree to comply with all requirements of the                 "~Use is not currently included in the labeling approved by the US Food and Drag Administration.
program, including mandatory contraceptive measures. Patients can receive a           © Copyright, November 1999, American SocieO, of Health-SyStem Pharmacists, htc.
prescription for thalidomide from the prescribing physician only after the
patient has received comprehensive counseling on the benefits and risks of
thalidomide as outlined in the STEPS informed consent document; has demon-
strated to the clinician that they are capable of understanding the risks associ-
ated with thalidom.ide and instructions on use of the drag; has received appro-
priate contraception counseling and pregnancy testing either from the
prescribing clinician or a qualified obstetrics-gynecology specialist; and has
signed the informed consent document and completed the patient monitoring
survey. As part of the educational requirements of the program, the patient
must view the patient-oriented video and/or read the patient brochure provided
by the manufacturer and must understand their contents. For minors 18 years
of age or younger, a parent or legal guardian must be educated concerning
the hazards of thalidomide and agree to ensure that the minor complies with
all requirements of the STEPS program.
     Female patients in the STEPS program who are of childbearing potential
(i.e., adolescents and women who are sexually mature, have had menses at
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                                  #:5875




                  EXHIBIT G
        (FILED UNDER SEAL)
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                                  #:5876




                  EXHIBIT H
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                           BIOLOGIC RESPONSE MODIFIERS #:5877
duction of leukocyte migration into brain parenchyma and reduction of plaque                       given during pregnancy (see Teratogenic Effects under Pregnancy, Fertility,
formation detected by magnetic resonance imaging (MRI) following repeated                          and Lactation: Pregnancy, in Cautions), the drug was approved by the FDA for
administration of natalizumab. The clinical relevance of these findings to hu-                     marketing in the US in 1998 only under a special restricted distribution pro-
mans is unknown. However, there is evidence that CSF attained from natali-                         gram, the System for Thalidomide Education and Prescribing Safety (STEPS),
zumab-treated MS patients has decreased levels of all major lymphocyte sub-                        designed to help ensure the safe and effective prescribing, dispensing, and use
sets.                                                                                              of commercially available thalidomide. In the US, the STEPS distribution pro-
                                                                                                   gram restricts access to commercially available thalidomide to prescribing cli-
                                                                                                   nicians, pharmacies, and patients who are registered in the program and man-
    Importance of patients being counseled on and understanding the benefits                       dates compliance with registration, education, and safety requirements of the
and risks of natalizumab before the initial prescription is written. Patients must                 program. (See Dosage and Administration: Restricted Distribution Program.)
understand the risks of natalizumab treatment, including the risk of progressive                   The STEPS program minimizes, but may not completely eliminate, the risk
multifocal leukoencephalopathy (PML) and other opportunistic infections.                           that thalidomide may inadvertently be given to a pregnant woman. Thalidomide
    Advise patients to read the natalizumab medication guide before therapy is                     also is available in the US for use in clinical trials under protocol conditions.
initiated and before each dose of the drug.                                                        The risks versus benefits of thalidomide must be addressed each time use of
    Importance of promptly informing clinicians of any new or worsening                            the drug is being considered.
symptoms (e.g., new or sudden change in thinking, eyesight, balance, strength)                          Past and Current Therapeutic Perspective In the late 1950s, tha-
that have persisted over several days.                                                             lidomide was marketed in several other countries, including the United King-
    Importance of patients informing all their clinicians that they are receiving                  dom and Canada, and was available over-the-counter in some countries (e.g.,
natalizumab.                                                                                       Germany) for use as a sedative and for the treatment of variou~ conditions,
    Advise patients that they will need to be evaluated by their prescriber at 3                   including asthma, hypertension, migraine, and common symptoms of early
and 6 months after the first natalizumab infusion and at least once every 6                        pregnancy (e.g., morning sickness), often in combination with other drugs;
months during therapy.                                                                             Thalidomide was being used in clinical studies in the US, but did not receive
    Importance of discontinuing natalizumab and reporting any symptoms con-                        FDA approval at that time principally because of European reports of thalid-
sistent with a hypersensitivity reaction (e.g., urticaria with or without associated               omide-associated peripheral neuropathy that may be irreversible and unan-
symptoms such- as itching or trouble breathing) that occur during or following                     swered questions about potential adverse effects on fetuses. Because of thalid-
lfV infusion of the drug.                                                                          omide’s prompt sedative effects, lack of hangover, and apparent safety (in
    Importance of informing clinicians if fever or infection (including shingles                   regards to overdosage), the drug was considered to be a safe alternative to
or any unusually long-lasting infection) occurs.                                                   barbiturates, and its manufacturer at that time promoted it as a nontoxic drug
    Importance of inforrning clinicians of existing or contemplatedconcomitant                     with no adverse effects, and completely safe for administration to pregnant
therapy, including prescription and OTC drugs, and any concomitant illnesses.                      women. However, reports of serious adverse effects soon appeared and use of
    Importance of women informing clinicians if they are or plan to become                         thalidomide was linked to an epidemic of severe and often fataI fetal and neo-
pregnant or plan to breast-feed.                                                                   natal malformations (most frequently phocomelia) that affected children in 46
    Importance of informing patients of other important precautionary infor-                       countries.During that time, 17 babies were born in the US with thalidomide-
mation. (See Cautions.)                                                                            associated phocomelia to mothers who received the drug from overseas sources
    Overview® (see Users Guide). For additional information on this drug                           or received premarketing samples distributed by drug company represeutatives.
until a more detailed monograph is developed and published, the manu-                              In 1961, the manufacturer withdrew thalidomide from the world market.
facturer’s labeling should be consulted. It is essential that the manufac-                              A few years later, there were reports that leprosy patients with inflammatory
turer’s labeling be consulted for more detailed information on usual cau-                          lesions related to ENL reactions had experienced improvement in these lesions
tions, precautions, contraindications, potential drug interactions,                                while receiving thalidomide as a sedative. The discovery of thalidomide’s ther-
laboratory test interferences, and acute toxicity.                                                 apeutic efficacy in the treatment of ENL led to investigations that revealed the
                                                                                                   anti-inflammatory and immunomodulatory effects of the drag and prompted
                                                                                                   studies evainating the drug in various autoimmune or inflammatory diseases
    Natalizumab is available only through a restricted distribution program                        and various conditions in HIV-infected patients. In addition, after in vitro and
(TOUCH® Prescribing Program). (See Dosage and Administration: Restricted                           animal studies indicated that thalidomide has anti-angiogenesis activity, inves-
Distribution Program.)                                                                              tigations were initiated to evaluate use of the drug for a variety of neoplastic
                                                                                                    diseases. Most information to date regarding use of thalidomide for the treat-
Natalizumab                                                                                        ment of inflammatory or immune disorders or for the treatment of patients with
Pa~entera|                                                                                         HIV infection or malignancy consists of case reports or data obtained from
For injection, 300 rag/15 mL                              TysabrP, Elan(manufactured by            uncontrolled studies in a limited number of patients. Well-controlled clinical
concentrate,                                              Biogen tdec)                              studies are needed to evaluate the safety and efficacy of thalidomide for the
for IV infusion                                                                                     treatment of these various indications.
only                                                                                               [] Erythema Nodosum Leprosum Thalidomide is used for acute
"~Use is not currently included iia the labeling approved by the US Food and Drug Administration    treatment of cutaneous manifestations of moderate to severe erythema nodosum
  Copyright, October 2006, American Society of Health-System Pharmacists, htc.                      leprosum (ENL) reactions (lepra type 2 reactions) in leprosy patients, and also
                                                                                                    is used for maintenance therapy for prevention and suppression of cutaneous
                                                                                                    manifestations of ENL recurrence. Thalidomide has been used in conjunction
                                                                                                    with corticosteroid therapy for the acute treatment of ENL reactions that include
                                                                                                    moderate to severe neuritis in addition to cutaneous manifestations; however,
[] Thalidomide, a synthetic glutamic acid derivative, is an immunomodulatory                        thalidomide should not be used alone as monotherapy for treatment of ENL
agent with anti-inflammatory, antiangiogenetic, and sedative and hypnotic ac-                       reactions complicated by neuritis. In these situations, thalidomide generally is
tivity; the drag is also a potent teratogen.                                                        initiated in conjunction with systemic corticosteroid therapy and the cortico-
                                                                                                    steroid is slowly withdrawn if neuritis resolves.
                                                                                                         ENL is a recurrent, immunologically mediated syndrome that occurs prin-
                                                                                                    cipally in patients with multibacillary leprosy. While ENL reactions have been
[] Overview Thalidomide is labeled by the US Food and Drug Admin-                                   reported to occur in 10-50% of lepromatous leprosy patients and 25-30% of
istration (FDA) for acute treatment of cutaneous manifestations of moderate to                      borderline lepromatous patients, these reactions are being reported less fre-
severe erythema nodosum leprosum (ENL) in leprosy patients and for main-                            que~)tly in patients receiving the currently recommended multidrug antileprosy
tenance therapy for prevention and suppression of cutaneous manifestations of                       regimens that include clofazimine than in those who received dapsone mon-
ENL recurrence. The drug has been designated an orphan drug by the US Food                          otherapy. ENL usually occurs after initiation of anti-infective therapy for lep-
and Drug Administration (FDA) for the treatment of ENL and treatment and                            rosy (generally within the first 2 years of treatment), although occasionally it
maintenance of reactional lepromatous leprosy. Thalidomide also has been des-                       may occur spontaneously in untreated lepromatous leprosy patients or after
ignated an orphan drug by the FDA for treatment of wasting syndrome asso-                           treatment is discontinued. These reactions are considered to be a manifestation
ciated with human immuno,deficiency virus (HIV) infectionS; prevantion and                          of the disease rather than an adverse reaction to antileprosy regimens. Clinical
treatment of severe recurrent aphthous stomatitis in severely, terminally im-                       symptoms include cutaneous papules or nodules that are painful or tender,
munocompromised patients~; prevention and treatment of graft-versus-host                            erythematous, and histologically vasculitic; the papules may pustulate and ul-
disease in patients receiving bone marrow transplantation’~; treatment of mul-                      cerate, appear as recurrent crops, and are widely distributed, generally appear-
tiple myeloma~-; treatment of clinical manifestations of mycobacterial infection                    ing on extensor surfaces of the extremities and on the face. Cutaneous symp-
caused by Mycobacterium tuberculosis and nontuberculous mycobacteria’~;                             toms of ENL may be accompanied by peripheral neuritis (usually of the ulnar
treatment of Crohn’s disease’S; and treatment of primary brain tumors’~. In                         nerve), fever, malaise, wasting, uveitis, lymphadenitis orchitis, and glomeru-
addition, thalidomide has been used for the treatment of a variety of inflam-                       lonephritis. Histologically, ENL is an acute vasculitis or panniculitis that is
matory and/or dermatologic disorders, treatment of various HIV-associated                           thought to be secondary to immune (i.e., antigen-antibody) complex deposition.
conditions, and treatment of various malignancies.                                                      Depending on the severity of manifestations, ENL reactions generally are
    Restricted Distribution Because thalidomide is a known human te-                                treated using analgesics, corticosteroids, and/or thalidomide; clofazimine also
ratogen and can cause severe, life-threatening birth defects or fetal death if                      has anti-inflammatory effects and is beneficial in the treatment of ENL reac-
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lions. While mild ENL reactions in some patients may be adequately managed           double-blind, placebo-controlled study in adult males with Behcet’s syndrome
with a nonsteroidal anti-inflammatory agent (e.g., aspirin, indomethacin) and        with mucocutaneous lesions (without major organ involvement), a complete
bedrest, moderate to severe ENL reactions generally are treated with cortice-        response (resolution of orogenital ulcers and follicular lesions) was obtained
steroids and/or thalidomide, and hospitalization may be required. The antile-        in 6 or 16% of patients receiving thalidomide in a dosage of 100 or 300 mg
prosy regimen usually is continued while the ENL reaction is treated. Corti-         daily, respectively; there were no complete responses in those receiving pla-
costeroid therapy (usually prednisolone) generally is effective for the treatment    cebo. While there are some reports that GI, ophthalmic, and/or neuroiogic
of moderate and severe ENL and usually is necessary when ENL is complicated          symptoms also may improve during thalidomide therapy, further study is
by neuritis; however, long-term therapy may be required and there is a risk          needed to determine whether thalidomide has any clinically important effect
that ENL patients (especially those with chronic ENL) may become steroid             on these manifestations of the disease. ...
dependent.                                                                                Other Dermatologic Disorders Thalidomide has not been effective
     In patients atready receiving clofazimine as part of a multidmg antileprosy     when used for the treatment of toxic epidermal necrolysis].. In a limited pla=
regimen, a temporary increase in clofazimine dosage may allow a reduction in         cebo-controlled study in .adults with toxic epidermal necrolysis, there was no
corticosteroid requirements; clofazimine dosage effective for the treatment of       evidence that thalidomide had any beneficial effect on necrolysis and patients
ENL reactions is slightly higher than that usually mcoramended for the treat-        receiving thalidomide had a higher mortality rate than those receiving placebo.
ment of leprosy. However, clofazimine is not as effective or as rapidly acting       In addi~inn, there has been at least one reported case of a patient developing
as corticosteroids or thalidomide in:the treatment of ENL and should not be          toxic epidermal necrolysis while receiving thalidomide.
initiated as the sole agent fog the treatment of severe ENL.                         [] Uses in HIV-infected Patients Thalidomide is being investigated
     Thalidomide is effective for the treatment of moderate to severe ENL re-        for a variety of uses in HIV-infected patients, includirfg treatment of HIV-
actions, and some clinicians suggest that thalidomide may be the drag of choice      associated aphthous ulcers]., HIV-associated diarrhea]., HIV-associated wast-
for the treatment of these reactions, especially severe, recurrent reactions, in     ing syndrome]’, and Kaposi’s sarcoma]. The drag also has been used as an
part because a prompt response to thalidomide generally is obtained and be-          adjunct to anti-infective agents in the treatment of mycobacterial infections].,
cause of concerns related to long-term use of corticosteroids in leprosy patients.   incinding Myeobacterium tuberculosis and M. avium complex (MAC) infec-
However, the risks versus benefits of thalidomide therapy must be considered,        tions, in HIV-infected patients,. While evidence is accumulating that thalido-
especially in women of childbearing age. Early diagnosis and treatment of ENL        mide may provide some benefits in HIVdnfected patients (e.g., womote heating
is important since these reactions are associated with considerable morbidity,       of aphthous ulcers, ameliorate weight loss), further study is needed to evaluate
especially if chronic, recurrent ENL occurs. Therapy for leprosy and leprosy         safety and efficacy of thalidomide in HIV-infected patients and to determine
reactional states should be undertaken in consultation with an expert in the         whether the drug may increase viral load (i.e., plasma HIV-1 RIgA ldvels) and/
treatment of leprosy. In the US, the Giltis W. Long Hansen’s Disease Center          or may be associated with an increased incidence of adverse effects in this
at800-642-2477 should be contacted for further information on the manage-            patient population.
ment of leprosy reactional states.                                                        IllV-associated Aphthous Ulcers Thalidomide (100-300 mg once
     Information regarding safety and efficacy of thalidomide for the treatment
of cutaneous manifestations of moderate to severe ENL is derived from more           daily) has been effective for the treatment and prevention of oropharyngeal,
                                                                                     esophageal, and anogenital aphthous ulcers in HIVdnfected patientsL The drug
than 30 years of experience with the drug, open-label and controlled studies         has been effective for the treatment of severe recurrent aphthous stomatifis in
and case reports involving leprosy patients from many different countries, and       HIV-infected patients, and also has been effective for the treatment of severe
a retrospective study of leprosy patients treated in the US by the US Public         recurrent aphthous stomatitis in immunocompetent patients or patients who are
Health Service (USPHS). There is evidence that use of thalidomide in leprosy         immunocomprnmised but not HIV-infected~ (see Uses! Recurrent Aphthous
patients with moderate to severe ENL reactions can result in prompt resolution        Stomatitis). Thalidomide is not considered a drug of fif~t choice for the treat-
of the signs and symptoms of ENL, and the drug has been effective in patients        ment of aphth0us ulcers in HIV-infected patients, but may be effective in pa-
with severe chronic ENL refractory to corticosteroid therapy. In cite contxolled      tients with recurrent ulcers refractory to other t.herapieS (e.g., corticogteroids).
 study in patients with ENL cutaneous lesions who received 7-day regimens of              Efficacy of thalidomide for the treatment 0f oral and esophageal aphthous
 thalidomide (400 mg daily) or placebo, a response (i.e., complete remission of       ulcetfi in HIV-infect~d patients has been evaluated in a phase II double-blind,
symptoms or advanced remission of about 50% of existing ENL skin lesions)             placebo-controlled study through the National Institute of Allergy and Infec-
 occurred in 66 or 9% of treatment courses in patients receiving thalidomide or       tious Diseases (NIAID) AIDS Clinical Trials Group (ACTG) (study ACTG
placebo~ respectively. In a similar study, a complete response (i.e., the absence     251). HIV-infected patients with oral aphthous ulcers were randomized to re-
 of skin lesions) occurred in 75 or 25% of treatment courses in patien{s r~ceiving    ceive a 4-week regimen of thalidomide (200 mg once daily)or placebo; if
 thalidomide or aspirin, respectively. Efficacy of thalidomide for the treatment      healing of ulcers was not complete after this regimen, an additional 4-week
 of chronic ENL reactions has been evaluated in 2 limited crossover studies of        regimen of thalidomide was administered. At 4 weeks, a ~omplete response
 hospitalized, corticosteroid-dependent ENL patients who were receiving dap-          was obtained in 55 or 7% of patients receiving thalidomide or placqbo, re-
 sone and were treated with a 4- to 6-week regimen of thalidomide (300 mg             spectivelyl
 daily) or placebo. In the first crossover study, the weekly corticosteroid dosage        HIV-associated Wasting Syndrome Thalidomide has been used for
 could be reduced in about 89% of patients while thalidomide was administered,        the treatment of wasting syndrome in a limited number of HIV-infected pa-
 but corticosteroid dosage had to be increased when placebo was administered.         tients], and also has been used for the treatment of cachexia in other severely
 In the second crossover study, 100 or 12.5% of patients decreased their weekly       immunocompromised patients] (e.g., cancer patientsil There is some evidence
 dosage of corticosteroids while receiving a 6-week regimen of thalidomide or         that thalidomide therapy (50-400 mg daily) may decrease elevated TNF-~
 placebo, respectively.                                                               plasma concentrations and may promote weight gain in HIV-infected piatients.
      Info,rnation regarding safety and efficacy of thalidomide for the prevention    However, thalidomide may increase plasma TNF-c~ concentrations in some
 of ENL relapse is limited, and labeling for this use is based on data obtained       HIV-infected patients. The precise role of TNF-o~ in the wasting syndrome is
 from a retrospective evaluation of ENL patients treated by the USPHS. A subset       unclear and additional study is necessary to evaluate the safety and efficacy of
 of these ENL patients receiving thalidomide had repeated relapse of ENL symp-        thalidomide in the treatment of HIV-associated wasting syndrome.
 toms when thalidomide was discontinued, but remission of symptoms when
 treatment with the drug was reinitiated.                                                 HIV-associated Diarrhea Thalidomide has been used with some
                                                                                      success in a limited number of patients for the treatment of HIV-associated
 [] Inflammatory and/or Dermatologic Disorders Based on the                           diarrhea, including microsporidiosis’~. In one group of HIV-infected patients
 beneficial effects of thalidomide in the treatment of inflammatory dermatoses        with chronic diarrhea and weight.loss caused by Enterocytozoon bieneusi in-
 associated with ENL, the drug has been used for the treatment of a variety of        fection that was not responsive to albcndazole, use of thalidomide (100 mg
 inflammatory and/or dermatologic disorders, including Behcet’s syndrome].,           daily for 4 weeks) had a beneficial effect (i.e., complete or partial clinical
 erosive fichen planus]., erythema multiforme]., lupus erythematosus]. (discoid       response including increased weight and decreased stool frequency) in 55% of
 lupus erythematosus, subacute or chronic cutaneous lupus erythematosus, cu-          patients. Although there is evidence that thalidomide may relieve some symp-
 taneous manifestations of systemic lupus erythematosus), prurigo nodularis].,        toms of microsporidian enteritis in some patients, results of an in vitro study
 actinic prurigo]., cutaneous Langerhans cell histiocytosis~’, uremic pruritus].,     indicate that the di-ug has no direct activity against microsporidi~.
 porphyria cutanea tarda’~, and pyoderma gangrenosum]., There is evidence that            Kaposi’s Sarcoma There is at least one case report of improvement
 thalidomide can he beneficial and may result in improvements in the dermat-          in cutaneous lesions of Kaposi’s sarcoma], in HIV-infected patients receiving
 ologic and mucocutaneous manifestations of these conditions; however, there          thalidomide for the treatment of aphthous ulcers and several patients enrolled’
 is recurrence of lesions ’and symptoms in many patients when the drug is dis-        in a phase I, dose-ranging, open-label study evaluating thalidomide in AIDS-
 continued and long-term maintenance therapy may be necessary. Most clini-            related Kaposi’s sarcoma had partial responses to the drug. However, safety
 cians recommend that thalidomide be used for the treatment of inflammatory           and efficacy of thalidomide for the treatment of Kaposi’s sarcoma have not
 and/or dermatologic disorders only in selected patients with severe refractory       been established, and further study is needed to determine whether thalidomide
  disease unresponsive to other appropriate agents (e.g., corticosteroids).           has any beneficial effect on regression of Kaposi’s sarcoma. A phase II study
      Behcet’s Syndrome In patients with Behcet’s syndrome]’, a chronic               has been initiated through the National Cancer Institute (NCI) to evaluate ef-
  inOammatory disease of unknown etiology characterized by recurrent orogen-          ficacy of thalidomide in HIV-infected patients who have cutaneous Kaposi’s
  ital ulceration, skin lesions, and arthritic symptoms that may be complicated       sarcmna lesions and evidence of disease progression in the 2 months prior to
  by GI, ocular, and neurologic involvement, thalidomide therapy (100-400 mg          study enrollment; preliminary results indicate that some patients may have a
  daily) has resulted in resolution of dermatologic, mucocutaneous, and arthri-       partial response to the drug when given in dosages of 200-1000 mg daily.
  ticmanifestations of the disease. However, symptoms and/or lesions generally        [] Neoplastic Diseases Because there is evidence that thalidomide is an
  recur within several weeks after the drug is discontinued. In a randomized,         inhibitor of angiogenesis, the drug is being evaluated for the treatment of a
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                   BIOLOGIC RESPONSE MODIFIERS
variety of malignancies, including advanced or metastatic breast cancer], Ka-           Limited data indicate that thalidomide (100 mg daily) may be effective in
posi’s sarcoma]’, melanoma+’, multiple myeloma]’, ovarian cancer+’, primary maintaining response in patients with chronically active and fistulizing refrac-
brain tumors]’ (recurrent high-grade astrocytomas and mixed gliomas), andro- tory Crohn’s disease whose disease has responded to infliximab (dosage of 5
gen-independent prostate cancer+’, and renal carcinoma]’. There is some evi- mg/kg administered as one or more infusions in patients with chronically active
dence that thalidomide may have antitumor activity; however, further study is       disease and 3 or more.infusions in those with fistulizing disease). The median
needed to establish safety and efficacy of the drug.in, the treatment of various follow-up was 238 days .from initiation of thalidomide therapy and 265 days
malignancies and identify optimal dosages of the drag in patients with cancer. after the last infusion of infliximab. Remission rates (full improvement) with
Phase II studies have been inkiated to evaluate efficacy of thalidomide for the thalidomide were 92, 83, or 83% at 3, 6, or 12 months, respectively, after the
treatment of Kaposi’s sarcoma in HIV-infected patients (see Kaposi’s Sarcoma last dose of infliximab.
under Uses: Uses in HIV-infected Patients), recurrent high-grade gliomas, an-           (For further information on the management of Crohn’s disease, see Uses:
drogen-independent prostate cancer; and metastatic breast cancer.                   Crohn’s Disease, in Mesalamine 56:36).
     Multiple Myeloma Several phase II studies have been initiated to                   Other GI Disorder Thalidomide also has been used with some success
evaluate use of thalidomide (usually as part of a combination regimen) for the in a limited number of patients for the treatment of ulcerative colitis]’, but
treatment of refractory or relapsed multiple myeloma. In a study in patients        additional study is needed.
whose myeloma had relapsed after high-dose chemotherapy, thalidomide ther- [] Other Uses Thalidomide has been used in a limited number of patients
apy (titrated up to 800 mg daily, if tolerated) resulted in ~a 25 to at least 90%   for the treatment of refractory ankylosing spondylitis]’, refractory rheumatoid
reduction in serum and urine paraproteins (myeloma protein, Bence Jones pro- arthritis+’, or sarcoidosis-~, but additional study and experience are needed.
tein) in 32% of patients, with several achieving complete remission. This re-           Because thalidomide is an inhibitor of angiogenesis and there is some ev-
sponse was apparent within 2 months in about 80% of responders and was              idence that loss of vision in the ~evere, wet form of macular degeneration may
associated with decreased plasma cells in bone marrow (indicating a reduction be related to angiogenesis in the blood vessels behind the macula, the drug is
in tumor burden) and increased hemoglobin concentrations; substantial changes being investigated for the treatment of macular degenerationS’.
in microvascular density of bone marrow were not apparent. At 1 year, esti-
mates of mean event-free and overall survival were 22 and 58%, respectively.
While ongoing study is necessary, including further elucidation of optimal
dosage and schedule of therapy, thalidomide appears to induce marked and [] Administration Thalidomide is administered orally. Because admin-
potentially durable responses in some patients with multiple myeloma, includ- istration with a high-fat meal substantially delays the time to peak plasma
ing those whose disease has relapsed. In addition, the role of the drug as mon- concentrations of thalidomide, the drug should be administered with water at
otherapy and as a component of chemotherapeutic regimens in earlier stages least 1 hour after a meal.
of the cancer remains to be determined.                                                 When thalidomide is. given as a single daily dose, the manufacturer rec-
                                                                                    ommends that the dose preferably be given at bedtime (to minimize the sedative
     Cachexia Thalidomide also has been used for the treatment of ca- effects of the drug) with water and at least 1 hour after the evening meal. When
chexia~ in patients with advanced cancer, and there is some evidence that the high daily dosage of thalidomide is necessary (e.g., 400 mg daily), the daily
drag may provide benefits in these patients in terms of improvement in symp-        dose may .be given as a single dose at bedtime or, alternatively, in divided
toms of insomnia, nausea, appetite, and feelings of well-being. (See Uses in doses given with water at least 1 hour after meals.
HIV-infected Patients: HIV-associated Wasting Syndrome, in Uses.)
                                                                                    [] Dosage Erythema Nodosum Leprosum For acute treatment of
[] Graft-versus-host Disease Thalidomide has been used with some cutaneous manifestations of moderate to severe erythema nodosum leprosum
success for the treatment of graft-versus-host disease+’ (GVHD) in adult and (ENL) in adults and children 12 years of age or older, thalidomide should be
pediatric bone marrow transplant recipients, but has b(en associated w~th in-       initiated at a dosage bf 100-300 mg daily. Patients weighing less than 50 kg
creased morbidity and mortality when used for prophylaxis of chronic GVHD should receive a low initial dosage of thalidomide (e.g., 100 mg daily). For the
in adult bone marrow transplant recipients.                                         treatment of severe cutaneous ENL reactions or in patients who previously
     Thalidomide generally has been used in aliogene{c boric marrow transplant required high thalidomide dosages to control an ENL reaction, the drug may
recipients for the treatment of chronic or refractory GVHD um:esponsive tobe initiated at a dosage up to 400 mg daily.
other therapies (e.g., corticosteroids, azathioprine, tacrolimus, cyclosporine, on~      Thalidomide generally should be continued until signs and symptoms of
tithymocyte globulin); only limited information is ava!lable regarding use of active ENL reaction have subsided (usually at least 2 weeks), and dosage
the drug for the treatment of acute GVHD. In a study in adult and pediatric should then be gradually reduced. The manufacturer recommends that daily
patients with chronic or refractory GVHD who received thalidomide therapy dosage of thalidomide be reduced in 50-rag increments every 2~ weeks until
(800-1600 mg daily for a median duration of 240 days), a complete response the drug is discontinued or recurrence of ENL occurs. Patients who have m-
was obtained in 32% and a partial response was obtained in 27%; the overall cun-ence of ENL while thalidomide dosage is being reduced and those who
survival rate was 64%. Thalidomide has been effective when used for the trdat- have a documented history indicating that prolonged maintenance treatment is
ment of chronic or corticosteroid-dependem GVHD in pediatric patients 13.5- necessary to prevent ~:ecurrence of cutaneous ENL should be maintained on
 17 years of age]’.                                                                 the minimum dosage of the drug required to control the reaction. Thereafter,
     When thalidomide was used for prophylaxis of chronic GVHD in a con- gradual decrease and discontinuance of maintenance dosage should be at-
trolled study of adult allogeneic bone marrow transplant patients who had no tempted every 3~5 months.
evidence of active acute GVHD at study entry, those receiving thalidomide                Patients with moderate to severe neuritis associated with severe ENL re-
(200 mg twice daily beginning 80 days after transplant) experienced a higher actions may receive corticosteroid therapy concomitantly with thalidomide;
incidence of chronic GVHD and had a substantially higher mortality rate Com- corticosteroid dosage may be tapered and the corticosteroid discontinued when
pared with those receiving placebo. Chronic GVHD occurred in 64 or 38% of neuritis has ameliorated.
patients receiving thalidomide or placebo, iespectively; overall mortality was
about 39 or 8%, and mortality from GVHD was about 21 or 4% in those                      Recurrent Aphtl~ous Stomatitis For the treatment of recurrent
receiving thalidomide or placebo, respectively.                                      aphthous stomatiti~+’ in adults, including those who are HIV-infected, thalid-
                                                                                     omide dosages of 100-300 mg daily have been used. However, higher dosages
[] Recurrent Aphthous Stomatitis Thalidomide has been effective (e.g., 400-600 mg daily) may be necessary in some patients. The optimum
 when used for the treatment of severe aphthous oral ulcers in patients with        duration of thalidomide therapy has not been elucidated, but ulcers may relapse
recurrent aphthous stomatitis+’ (RAS). The drag has been used effectively for following discontinuance of the drug.
 the treatment of RAS in immunocompetent adults and pediatric patients and               Crohn’s Disease For the management of refractory Crohn’s disease+,
 also has been effective when used in immunocompromised patients, including in adults, thalidomide dosages of 50-300 mg daily have been used. Thalido-
 cancer patients and HIV-infected patients (see Uses in HIV-infected Patients: mide dosages of 100 mg daily have been used in maintenance therapy of chron-
 HIV-associated Aphthous Ulcers, in Uses).In a placebo-controlled cross-.over ically active or fistulizing refractory Crohn’s d!sease? in patients whose disease
 study in patients with severe RAS, a complete clinical remission was obtained has responded to infliximab.
 in 48 or 9% of patients receiving thalidomide or placebo, respectively. Oral
 ulcers generally heal within 1-6 weeks after initiation of thalidomide therapy          Graft-versus-host Disease For the treatment of graft-versus-host dis-
 (l 00-300 mg daily), but higher dosage may be needed in some patients (400- ease+’ (GVHD), thalidomide dosages of 800-1600 mg daily have been used.
 600 mg daily) and ulcers may relapse when the drug is discontinued. In some The drug should not be used for prophylaxis of chronic GVHD. (See Uses:
 patients, relapse may be prevented or treated using thalidomide maintenance Graft-versus-host Disease.)
 therapy (50-100 mg daily).                                                              Multiple Myeloma The optimum dosage and schedule of thalidomide
 [] GI Disorders Crohn’s Disease Thalidomide has been used with therapy for multiple myeloma+’ remain to be established. (See Neoplastic Dis-
 some success in a limited number of patients for the treatment of refractory eases: Multiple Myeloma, in Uses.)
 Crohn’s disease+’ (e.g., in those with moderately to severely, chronically active [] Restricted Distribution Program Because thalidomMe is a known
 or fistulizing disease). In patients who did not respond m or were intolerant of human teratogen and can cause severe, life-threatening birth defects if admin-
 usually recommended therapies (e.g., corticosteroids, sulfasalazine, azathio- istered during pregnancy, commercially available thalidomide must be ob-
 prine, mercaptopurine, methotrexate), thalidomide therapy (50-300 mg daily) tained through a restricted diso’ibution program, the System for Thalidomide
 resulted in resolution of small bowel ulceration, bleeding, or pain and improve- Education and Prescribing Safety (STEPS), designed to help ensure that fetal
 ment related to quality of life or symptoms associated with fistulas. In at least   exposure to the drug does not occur. Clinicians, pharmacies, and patients must
 one patient with Crohn’s disease, thalidomide therapy also resulted in resolu- be registered in the STEPS program before they can prescribe, dispense, and
 tion of severe, recurrent oral aphthous ulcers.                                     receive thalidomide, and compliance with all trains outlined in the program is
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mandatory. The STEPS program controls access to thalidomide; educates                 any questions answered by the clinician, and has signed the informed cortsent
STEPS participants (clinicians, pharmacists, patients) about the risks associated     document and completed the patient monitoring survey. As part of the educa-
with thalidomide and the procedural requiremants for safe use of the drug; and        tional requirements of the program, the patient must view the patient-oriented
monitors compliance with the registration, education, and safety requirements         video, titled Important Information for Men and, Women Taking Thalomid®
of the program.                                                                       ~thalidomide) and/or read the patient brochure provided by the manufacturer
     The STEPS program was created by Celgene. in collaboration with the US           and must understand their contents, including other possible health problem~
Food and Drug Administration (FDA), the Birth Defects Branch of the US                resulting from thalidomide adverse effects. The patient also .must understand
Centers for Disease Control and Prevention (CDC), and patient advocacy                that thalidomide must be kept out of the reach.of children, and must.never be
groups (e.g., the Thalidomide Victims Association of Canada). While the pro-          given to women who are. able to have children. The patient must have been
gram was based On safety models currently in use for isotretinoin and clozapine,      warned by the clinician that an unborn baby "qill almost certainly have serious
it incorporates additional controls and compliance monitoring not included in         birth defects and even die if a woman becomes pregnant or is pregnant while
prior drug distribution programs. For information regarding the STEPS pro-            taking thalidomide. For minors 18 years of age or younger, a parent or legal
gram, Cetgene’s customer service department should be contacted at888-423-            guardian must be educated concerning the hazards of thalidomide and agree to
5436.                                                                                 ensure that the minor complies with all requirements o~ the STEPS program.
     Prescribing Clinicians Before prescribing thalidomide, clinicians                    Female patients in the STEPS progaam who are of childbearing potential
must be registered in the STEPS Prescriber Registry and must agree to prescribe       (i.e., adolescents and women who are sexually mature, have had menses at
the drug in accordance with the STEPS patient eligibility criteria and monitor-       some time in the 24 consecutive months preceding fi)itiation of thalidomide,
ing procedures. Clinicians can be registered by returning a completed, signed         have not undergone a hysterectomy) must agree to use effective contraceptive
registration card to Celgene. Clinicians must agree to provide comprehensive          measures (which may include abstinence) for at legist 4 weeks prior to, through-
patient counseling on the benefits and risks of thalidomide as outlined in the        out, and for at least 4 weeks after ~ompletio}3 ~3f thalidomide therapy. These
STEPS informed consent document; provide appropriate contraception coun-              women mr, st have a confirmed negative pregnancy test result prior to initiation
seling and pregnancy testing or refer the patient to a qualified obstetrics-gyne-     of thalidomide therapy and also must ag}ee to have ’regular, repeat pregnancy
cology specialist for such counseling; complete the prescriber portion of the         tests throughout therapy (i.e., once weekly during the first mo6th and monthIy
patient monitoring survey; and submit a copy of the completed informed con-           or every 2 weeks in women vTith regular or irregular menstrual cycles, respec-
sent document (signed by the patient and prescriber) and a copy of the patient        tively). (See Pregnancy under Cautions: Pregnanuy, Fertility, and Lactation.)
monitoring survey.                                                                    Male patients in the STEPS program must agree to use a latex ~ondom every
     Clinicians must agree to write each prescription for no more than a 28-day       time they have sexual contact with a wotuan of childbearing potential, All
supply of thalidomide at a time (with no refills), inform the patient .that each      patients must agree to not ~hare their thalidomide with anyone else (even if the
proscription must be filled within 7 days of being written, and encourage the         other individual has similar symptoms); to keep the drug out Of the reach of
patient to return all unused thalidomide to the dispensing pharmacy. The              children; and to not donate blood or semen while receiving thalidomide.
STEPS program does not allow automatic prescription refills, and the clinician            The patient must present a copy of the completed informed consent docu-
must ensure that patients return for monthly office visits to obtain subsequent       ment (signed by the patient and registered prescyiber) and patient monitoring
prescriptions for thalidomide. At each monthly visit and before a new prescrip-       ourvey to the dispensing pharmacist who then r~gisters the patient with Col-
tion for the drug is issued, the clinician must provide the patient with additional   gone. Once a patient is registered .in the STEPS distribution database and has
counseling about adverse effects of thalidomide and the use of appropriate            received their first 28-day supply of ~hal!d~mide; they mu~t return to the pre-
contraceptive measures; ensure that a serum pregnancy test is performed in any        scribing clinician at monthly intervals [o receive subsequent prescriptions for
"femal~ patient of childbearing potential; ask the patient to complete a patient      thalidomide; the program does not allow automatic refills. At each monthly
survey form about their compliance with contraceptive measures, pregnancy             visit to the prescribing clinician and before a new prescription for the drug is
testing, and drug therapy; and submit the completed patient survey form as            issued, the patient must receive additional counseling about adverse effects of
directed by the STEPS program.                                                        thalidomide and the use of appropriate contraception, receive a serum preg-
     Dispensing Pharmacies To receive thalidomide from the manufac-                   nancy test (if female and of childbearhng potential), and complete.a patient
turer for dispensing, pharmacies must be registered in the STEPS Pharmacy             monitoring survey.
Dispensing Registry and agree to comply with all requirements of the program.             Monitoring and Compliance Compliance with the educational, in-
The director of pharmacy or head pharmacist registers the pharmacy by re-             formed consent, and pregnancy-testing components of the STEPS program is
tUrning a completed, signed pharmacy registration qard to Celgene. After the          monitored through the patient surveys that must be completed by prescribing
manufacturer enters all of the information provided by the pharmacist into the        clinicians and patients when each initial and subsequent prescription of thalid-
di§pensing database, the pharmacy will be eligible to dispense thalidomide, and       omide is written. The surveys are designed to monitor compliance with, and
the manufacturer will provide a continuing (ducation monograph to the phar-           implementation and execution of STEPS safety procedures, and to analyze
i~acy. The registering pharmacist must agree to inform all staff pharmacists of       outcomes.
the dis~sensing procedures for thalidomide.                                              The STEPS program also is monitored by a quality assurance committee
  ; When a new patient presents an initial prescription for thalidomide to the       composed of Celgene employees, agents, and consultants. In addition, all as-
 pharmacy, the phmmacist must collect from the patient a copy of the STEPS           pects of the STEPS program are subject to FDA audits. Altho)agh the FDA is
 ii~t’ormed consent document (signed by the patient and a registered prescriber)     not directly responsible for the operation of the STEPS program registry, the
 and a copy of the .completed patient monitoring survey. The pharmacist will         FDA can verify that the STEPS program is operating appropriately by con-
 then register the patient into the STEPS distribution database using a patient      ducting periodic inspections of pharmacies, and: by reviewing data from and
~[stration form provided by the manufacturer. Subsequent to successful pa-           procedures of the clinicians and patient registry. S tote boards of pharmacy have
                   the manufacturer will ship the drug to the registered pharmacy    no regulatory oversight of the registry process.’
                                                                                         The STEPS program is not designed to restrict prescribing and dispensing
        prescriptions for thalidomide must be presented to the pharmacist in of commercially available thalidomide to only the FDA-labeled use of the drag.
                 ’ not be communicated to the pharmacist over the phone. Before The registration system will collect .information regarding any disease for
          : thalidomide, the pharmacist must activate thE authorization number which the drug is being used, regardless of FDA-approved labeling; therefore,
         prescription by cafiing the Celgene® Customer Care Center at 1-888- clinicians registered in the STEPS program are not restricted from prescribing
          and obtaining a co~firrnation number; this number must be written the drug for unlabeled (off-label) uses. ¯
       thalidomide prescription.                                                         Although the STEPS program is highly restrictive and minimizes the risk
                            not fill a single thalidomide prescription for more than that thalidomide may inadvertently be given to a pregnant woman-, the risk of
                                 automatic refills are not allowed. The pharmacist such exposure may not be completely eliminated. The FDA staies that if tliere
                        prescription was written within the preceding 7 days, and    i~ even one fetal exposure to thalidomide, the entire distribution system will
                          drug if the prescription was written more than 7 dais be reevaluated, and steps will be taken tO ensure that all deficiencies are cor-
             or if there is (or should be) more than a 7-day supply of the drug      rected.
            from the preceding prescription. Blister packs containing the drug
                     intact (i.e., the drug may no’be repackaged). Pharmacists
                      patients to return all Unused drug to the dispensing phar-         Thalidomide is a k,n~wn hnman teratoge~ and ha~ caused severe, lifezthreat-
          ere it will be accepted and destroyed0r returned to tire manufacturer. ening birth defects or fetal death when used during pregnancy. (See Precautions
                   To receive commercially available thalidomide, a patient must and Contraindications: Teratogenic Precautions and Contraindications, in Cau-
              in the STEPS program and agree to comply with all requirements tions.) Another potentially serious adverse effect reported with thalidomide is
                           g mandatory contraceptive measures, and participation peripheral neuropathy that may be irreversible. Other adverse effects reported
                 survey and patient registry while taking thalidomide. Patients with thalidomide generally are mild to moderate in severity, and usually do not
             a prescription for thalidomide from the prescribing clinician only require discontinuance of the drug. The most common adverse effects of tha-
                   has received comprehensive counseling on the benefits: and lidomide are CNS effects (e.g., drowsiness, somnolence, dizziness) and der-
                       as outlined in the STEPS inforumd consent document, has matologic effects (e.g., rash).
               to the clinician that they are capable of understanding the risks         Information on adverse effects of thalidomide reported by the m~nufacturer
                  thalidomide and instructions on use of the drug, has received was obtained principally from controlled clinical studies in leprosy patients
              ~ntraception counseling and pregnancy testing either from the          who received thalidomide in a dosage of 50-300 mg daily for the treatment of
             clinician or a qualified obstetrics-gynecology specialist, has had erythema nodosum leprosum (ENL) and controlled clinical studies in patients
                                                                                                     AHFS DRUG INFORMATION® 2008                  _’a~~
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                                  BIOLOGIC RESPONSE MODIFIERS
with human immunodeficiency virus (HIV) infection who received thalidomide           did not result in improvement in many cases, initially it could not be established
in a dosage of 100-200 mg daily. Additional information on adverse effects of        that such neurologic disturbances were actually caused by thalidomide. Sub-
thalidomide reported by the manufacturer was obtained from uncontrolled clin-        sequently, the association between thalidomide and peripheral neuropathies
ical studies in ENL patients, uncontrolled studies or case reports involving         was established in clinical studies of patients with discoid lupus erythematosus,
patients who received thalidomide for a wide variety of investigational uses,        prurigo nodularis, and aphthous stomatitis; in these studies, the neurologic
and spontaneous reports from other sources. The manufacturer States that the         status of patients was assessed before and after initiation of thalidomide ther-
incidence of adverse effects reported in these uncontrolled studies and other        apy.
sources is unknown, and a causal relationship between some of these effects               Physiologically, thalidomide polyneuropathy is characterized by axonat de-
and thalidomide has not been established. Although thalidomide received ap-          generation without demyelinization (i.e., a "dying back process"). Electro-
proval by the US Food and Drug Administration (FDA) in 1998 for use in the           physiologic alteration principally is characterized by a decreased sensory action
treatment of ENL in leprosy patients, data regarding the safety and efficacy of      potential amplitude on medial nerves of the arm, and peroneal and sural (medial
the drug have been accumulating since the drug first became available for use        cutaneous) nerves of the leg, with relative conservation of conduction veloci-
in Europe in the late 1950s.                                                         ties; however, decreased sensory and motor conduction velocities have been
[] Nervous System Effects PeripheralNeuropathy Thalidomide                           observed. Also, increased somatosensory latency of activation after sural nerve
may cause potentially severe nerve damage (i.e., polyneuritis or peripheral          stimulation may occur in the absence of clinical abnormalities in patients re-
neuropathy) that may be irreversible. The incidence of peripheral neuropathy         ceiving thalidomide. Because electa’ophysiologic alterations may occur before
in patients receiving thalidomide has been reported to range from less than 1%       the onset of subjective symptoms, the reported incidence of neuropathy in
to mor~ than 70%. Incidence data regarding this adverse effect has been dif-         thalidomide studies is higher if neurophysiologic tests, rather than clinical
ficult to obtain, in part because the drug often is used in patients with diseases   symptoms, are used for diagnosis.
that may be associated with neuropathy (e.g., leprosy patients with ENL, pa-              Other Nervous System Effects Thalidomide exhibits sedative and
tients with HIV infection) and it may be difficult to differentiate the neuro-       hypnotic effects, and drowsiness and somnolence are common during therapy
pathologic symptoms and changes caused by the underlying disease from those          with the drug. In controlled clinical studies, adverse nervous system effects
caused by the drug.                                                                  (other than peripheral neuritis) occurred in 54% of ENL patients receiving
    Despite long-term experience with use of thalidomlde in leprosy patients         thalidomide, and 34-56 or 34% of HIV-infected patients receiving thalidomide
with ENL, there have been few reports of thalidomide-associated peripheral           or placebo, respectively. Drowsiness occmTed in 38% and malaise occurred in
neuropathy in these patients; in some studies, less than 1% of patients receiving    8% of ENL patients receiving thalidomide, and drowsiness occurred in 36-38
the drug for treatment of ENL experienced peripheral neuropathy. It has been         or 11% of HIV-infected patients receiving thalidomide or placebo, respectively.
suggested that this may not be an accurate reflection of the incidence of this       Headache occurred in about 12% of leprosy ENL patients receiving thalido-
adverse effect in these patients since peripheral neuritis was not recognized as     mide, and 17-19 or 11% of HIV-infected patients receiving thalidomide or
a potential adverse effect of thalidomide in early studies of the drug, in part      placebo, respectively. Vertigo occurred in 8% and dizziness occurred in 4-25%
because ENL patients frequently have neuropathy in association with their            of ENL patients receiving thalidomide; dizziness occtirred in. 19% of HIV-
disease and may not have reported such effects while receiving the drug. There-      infected patients receiving the drag. Paresthesia occurred in 6-16 or 11% of
fore, preexisting neuropathy in ENL patients may complicate recognition of           HIV-infected patients receiving thalidomide or placebo, respectively, and also
thalidomide-associated peripheral neuropa~hy. In addition, such symptoms may         has been reported when the drug was used in ENL patients. Tremor occurred
be difficult to monitor since ENL neuritis may improve during thalidomide            in 4% of leprosy patients with ENL receiving thalidomide, and agitation or
therapy, bat relapse after therapy with the dru~ is discontinued.                    nervousness occurred in 3-9% of HIV-infected patients receiving the drug.
     In controlled studies in HIV-infected patients, neuropathy occurred in 7-       Insgmnia occurred in 9 or 6% of HIV-infected patients receiving thalidomide
8% of those receiving thalidomide. In one limited study in HIV-infected pa-          or placebo, respectively.                                     .     .
tients receiving thalidomide. 400 mg daity for 3 months, 7% of patients expe-             Adverse nervous system effects reported inpatients with ENL or HIV in-
rienced neuropathy symptoms requiring discontinuance of the drug. In other           fection receiving thalidomide in uncontrolled studies include abnormal gait,
limited studies, 4% of HIV infected patients receiving 200-300 mg Of thalid-         abnormal thinking, amnesia, anxiety, ataxia, causalgia, circumoral paresthesia,
omide for 14.21 days experienced severe symptoms of neuropathy. It has been          confusion, decreased libido, decreased reflexes, dementia, dysesthesia, depres-
suggested that HIV-infected patients may be particularly susceptible to the          sion, emotional lability, euphoria,hypalgesia, hyperesthesia, hostility, hyper-
development of thalidomide-associated polyneuritis. However, since axonal            kinesia, incoordination, meningitis, neuralgia, neuritis, neurologic .disorder,
degeneration with clinical and electrophysiologic symptoms resembling thos~          neuropathy, peripheral neuritis, and psychosis. Carpal tunnel disorder, foot
of thalidomide-associated polyneuropathies may occur in. HIV-infected patients       drop, hangover effect, migraine, or suicide attempt was reported in at least one
and other forms of polyneuropathy (including demyelinating and polyradicu-           patient receiving thalidomide.
lopathy) also are reported in such patients, it may be difficult to differentiate         Seizures, including tonic-clonic (grand mal) seizures, have been reported
neuropathologic changes caused by the underlying disease from those caused           during postmarketing experience with thalidomide. Because the reports of sei-
by thalidomide.                                                                      zures in patients receiving thalidomide were submitted voluntarily from a pop-
     In a retrospective study of patients receiving thalidomide for a variety of     ulation of unknown size, their frequency cannot be estimated. Most of the
dermatulogic conditions, thalidomide-associated peripheral neuropathy oc-            patients in whom seizures were reported had disorders that may have predis-
curred in 21-50% of patients and was most frequent in women and geriatric            posed them to seizure activity, and it currently is not known whether thalido-
patients. Limited data indicate that peripheral neuropathy occurs in up to 75%       mide has any epileptogenic activity.
of patients receiving thalidomide for the treatment of prurigo nodularis].           [] Dermatologic and Sensitivity Reactions Adverse dermatologic
     Thalidomide-associated peripheral neuropathy generally has been reported        effects occW commonly in patients receiying thalidomide. In controlled clinical
with chronic use of the drug over a period of months, but also has been reported      studies, adverse dermatologic effects occurred in 42% of ENL patients receiv-
with relatively short-term use of the drug. The correlation between peripheral       ing thalidomide, and 47-56 or 54% of HIV-infected patients receiving thalid-
neuropathy and the cumulative thalidomide dose is unclear; symptoms have              omide or placebo, respectively. Rash occurred in 21% of ENL patients receiv-
been reported to begin after a cumulative dose of 40-50 g in some patiergs,           ing thalidomide, and 25 or 31% of HIV-infected patients receiving thalidomide
but also have occurred with no apparent relationship to cumulative dose. There        or placebo, respectively. Maculopapular. rash occurred in 4% of ENL patients
have been some cases when symptoms of thalidomide-associated peripheral              receiving thalidomide, and 17-19 or 6% of. ItlV-infected patients receiving
neuropathy were not apparent until after the drag was discontinued.                   thalidomide or placebo, respectively. Pruritus occurred in 3-8% of ENL pa-
     Polyneuropathic symptoms may improve in some patients when thalido-              tients receiving thalidomide, and 3-6 or 6% of HIV-infected patients receiving
mide is discontinued, but symptoms may resolve slowly or not at all after            thalidomide or placebo, respectively. Fungal dermatitis or nail disorder oc-
discontinuance of the drug. In a study of patients with thalidomide-induced           curred in 4% of ENL patients receiving thalidomide, and 3-9%of HIV-infected
peripheral neuropathy who were followed for 4-6 years after discontinuing the        patients receiving thalidomide. Peripheral edema occurred in 4.8% Of ENL
drug, 25% experienced full recovery, 25% had some improvement of symp-               patients and 3-8% of HIV-infected patents receiving thalidomide. Fac{al
toms, and 50% had no improvement in signs and symptoms of neuropathy.                 edema occurred in 4% and urticaria occurred in 1-2% of ENL patients receiv-
     Clinical symptoms of thalidomide-induced neuropathy include predomi-             ing thalidomide. Sweating occurred in t2 or 11% of HIV-infected patients
nantly symmetric painful paresthesia of the hands and feet, often accompanied        receiving thalidomide or placebo, regpectively. Acne occurred in 3-11% of
by sensory loss in lower limbs. Muscle weakness and cramps, signs of pyram-           HIV-infected patients recgiving thalidomide.
idal tract involvement, and carpal tunnel syndrome have been reported often.              Severe, potentially fatal skin reactions including Stevens-Johnson syn-
An unpleasant pedal symptom, described as "tightness around the feet," was            drome and toxic epidermal necrolysis, which may be fatal, have been reported.
reported in 8-47% of patients in some studies. In early reports, thalidomide-         In one limited study in HIV-infected patients 14% of those receiving thalid-
associated peripheral neuropathies were characterized mostly by sensory symp-         omide (400 mg daily for 3 months) experien’ced sever~ skin reactions; thes~
toms, including hypoesthesia and hyperesthesia, hyperalgesia, impaired tem-           reactions resulted in discontinuance of drug in 7%. In another limited study in
perature sensitivity, and impaired vegetative (i.e., autonomic) nervous               HIV-infected patients (with or without tuberculosis) who received thalidomide
functions. These symptoms occasionally were accompanied by mild proximal              (300 mg daily for 3 weeks) 30% experienced severe rash that-was’associated
muscle weakness, or evidence of pyramidal tract damage, but motor distur-             with low CD4+ T-cell cou~ts. The mean CD4+ T-cell count was 17 or 2.16
bances appeared to occur rarely. Muscle weakness rapidly improved after dis-          cells/ram3 in those with or without rash, respectively. Thalidomide Was dis-
continuance of the drug, but sensory deficits were slow to improve, and oc-           continued and rash resolved in 25 % of patients. However, one patient with rash
casionally worsened even while the patient was not receiving thalidomide.             continued to receive thalidomide because of a missed appointment and sub-
Because there was no snbstantial correlation between the severity of the con-         sequently developed Stevens-Johnson syndrome with desquamation that re-
dition and the total dose of the drug, and because discontinuance of thalidomide      solved after discontinuance of the drug.
                            AHFS DRUG INFORMATION® 2008
   Case 2:10-cv-03165-RGK-SS Document 224-1 Filed 09/22/15 Page 42 of 48 Page ID
                                     #:5882                ]~IOLOGIC RESPONSE MODIFIERS
     Hypersensitivity reactions characterized by cutaneous and/or febrile symp- sclerosing Hodgkin’s disease, lymphopenia, or pancytopenia has been reported
toms have been reported in HIV-infected patients receiving thalidomide. In in at least one patient receiving thalidomide.
some of these HIV-infected patients, rechallenge with thalidomide resulted in N Musculoskeletal Effects In controlled clinical studies, asthenia oc-
accelerated hypersensitivity, including hypotension. Therefore, some clinicians curred in 8°/0 of ENL patients receiving thalidomide, and 6-22 or 3% of HIV-
state that if thalidomide rechallenge in an HIV-infected patient is unavoidable infected patients receiving or placebo, respectively. Back pain occurred in 4%
(e.g., to elucidate a drug reaction in a patient receiving a complex drug regi- of ENL patients and 6% of HIV-infected patients receiving thalidomide. Neck
men), the patient should be hospitalized when the drug is administered and for p/tin and neck rigidity each occurred in 4% of patients with ENL receiving
at least 24 hours following the rechallenge.                .                      thalidomide. :
     Adverse derrnatologic and hypersensitivity reactions :reported in patients        Adverse musculoskeletal effects reported in patients with ENL or HIV in-
with ENL or HIV infection receiving thalidomide in uncontrolled studies in- fection receiving thalidomide in uncontrolled studies include arthritis, hone
clude aliergi~ reaction, alopecia, angioedema, benign skin heoplasm, dry skin, tenderness, hypertonia, joint disorder, leg cramps, myalgia; myasthenia, per-
eczema, exfoliative dermatitis, herpes simplex, ichthyosis, incomplete Stevens- iosteal disorder, and upper extremity pain.
Johnson syndrome, perifollicular thickening, photosensitivity, psoriasis, .se6-
orrhea, skin discoloration, skin disorder, skin necrosis, urticaria, an,d vesi~u- N Cardiovascular Effects Adverse cardiovasculm" effects reported in
iobullous rash. Erythema nodosum, myxedema, petechiae, or purpura Was patients with ENL Or HIV infection receiving thalidomide in uncontrolled stud-
reported in at least one patient receiving thalidomide. In a glioblastoma patient ~es include angina pectoris, an’hythmia, atrial fibrillation, bradycardia, cerebral
who discontinued thalidomide therapy because of full-body maculopapular ischemia, cerebrovascular accident, chest pain, congestive heart failure, deep
rash, toxic epidermal necrolysis occurred following rechallenge w!th a single thrombophlebitis, heart arrest, heart failure, hypertension, hypotension, mur-
 100Ling dose of the drug.                                                         mur, myocardial infarction,palpitation, pericarditis, peripheral vascular disor-
                                                                                   der, postural (orthostatic) hypotension, syncope, tachycardia, thrombophlebitis,
[] t37[ Effects In controlled clinical studies, adverse GI effects occurred thrombosis, and vasodilation. Raynand’s syndrome has been reported in at least
in 21% of ENL patients receiving thalidomide, and 44-50 or 43% of HIV- one patient receiving thalidomide.
infected patients receiving thalidomide or placebo, respectively. Diarrhea oc-          The manufacturer states that, aJthough bradycardia has been reported in
curred in 4% and nausea occurred in 4-6% of ENL patients receiving thalid- patients receiving thalidomide, medical or other intervention was not required
omide; dian’hea and nausea occurred in 17 and 12% of HIV-infected patients, and the clinical importance and underlying etiology of bradycardia in these
respectively, receiving the drag. Vomiting has been reported in 1-2% of ENL patients are unknown.
patients receiving the drug. Abdominal pain and constipation occurred in 4-
 11% of ENL patients and 3-19% of HIV-infected patients receiving thalido- [] Hepatic Effects In controlled clinical studies, increased serum AST
mide. Oral candidiasis occurred in 4%of ENL patients and 6--11% of HIV- (SGOT) concentrations occurred in 3-12 or 6% of HIV-infected patients re-
infected patients receiving thalidomide. Tooth pain occurred in 4% of ENL ceiving thalidomide or placebo, respectively; multiple abnormalities in liver
patients receiving thalidomide. Dry mouth occurred in 8-9 or 6-72% of HIV- function test results occurred in 9% of HIV-infected patients receiving thalid-
 infected patients receiving thalidomide or placebo, respectively. Anorexia oc- omide.
 curred in 3~9 or 6% of HIV-infected patients receiving thalidomide or placebo,         Adverse hepatic effects reported in patients with ENL or HIV infection
respectively. Flatulence occurred in 8 or 6% of HIV-infected patients receiviflg receiving thalidomide in uncontrolled studies include increased liver function
 thalidomide or placebo, respectively.                                              test results, increased serum ALT (SGPT) concentrations, bilirubinemia, cho-
      Adverse GI effects reported in patients with ENL or HIV infection receiving langitis, cholestatic jaundice, enlarged liver, and hepatitis. Bile duct obstruction
 thalidomide in uncontrolled studies include enlarged abdomen, increased ap- has occurred in at least one patient receiving thalidomide.
 petite and weight gain, colitis, dry mouth, dyspepsia, dysphagia, eructation,     [] Ocular and Otic Effects Adverse ocular and otic effects rePorted in
 esophagi[is, flatulence, gastroenteritis, GI disorder, GI hemorrhage, gum dis- patients with ENL or HIV infection receiving thalidomide in uncontrolled stud-
 order, intestinal obstruction, parotid gland enlargement,periodontitis, stomati-   ies include amblyopia, conjunctivitis, dry eye, ocular disorder, ocular pain,
 tis, taste perversion, tongue discoloration, tooth disorder, and vomiting.         lacrimation disorder, retinitis, deafness, and tinnitus. Dip~opia or nystagmus
 Aphthous stoma[iris or stomach ulcer has been reported in at least one patient has occurred in at least one patient receiving thalidomide.
 receiving thalidomide.                                                            [] Effects on HIV Viral Load and Tumor Necrosis Factor In-
 [] Respiratory Effects In controlled clinical studies, adverse respiratory creased HIV viral load (i.e., increased plasma HIV-1 RNA levels) and increased
 effects occurred in 12% of ENL patients receiving thalidomide, and 19-25 Or levels of plasma tumor necrosis factor alpha (TNF-o0 and soluble TNF-o~ re-
 26% of HIV-infected patients receiving thalidomide or placebo, respectively. ceptor type II have been reported in some HIV-infected patients receiving tha-
 Pharyngitis occurred in 4% of ENL patients, and 6-8 or 6% of HIV-inf~cted lidomide. In one controlled study in HIV-infected patients, median plasma
 patients receiving thalidomide or placebo, respectively. Sinusitis or rhinitis HIV-1 RNA levels increased by 0.42 log~o copies/mL in patients receiving
 Occurred in 4% of ENL patients, and sinusitis occurred in 3-8 or 6% of HIV- thalidomide compared with a 0.05 logm-copies/mL increase in those receiving
 infected patients receiving thalidomide or placebo, respectively.                  placebo. A similar trend of increased HIV load was reported in another study
      Adverse respiratory effects reported in patients with ENL or HIV infection    in HIV-infected patients. However, the clinical importance of these effects is
 receiving thalidomide in uncontrolled studies include apnea, bronchitis, cough, unknown since the patients involved were not receiving the potent antiretroviral
 emphysema, epistaxis, lung disorder, lung edema, pneumonia (including that         agent combination regimens currently recommended for HIV-infected patients.
 caused by Pneumocystis carinii), pulmonary embolus, rales, upper respkatory (See Pharmacology: Immunomodulatory Effects.)
 infection, and voice alteration. Also, dyspnea has been reported in at least one [] Other Adverse Effects In controlled clinical studies, accidental in-
 patient receiving thalidomide.                                                     jury occurred in 4% of ENL patients, and 6 or 3% of HIV-infected patients
 [] Genitourinary Effects In controlled clinical studies, adverse geni- receiving thalidomide or placebo, respectively. Chills occurred in 4% of ENL
  tourinary effects occurred in 8% of ENL patients receiving.thalidomide, and patients, and 9 or 11% of HIV-infected patients receiving thalidomide or pla-
  6-17 or 11% of HIV-infected patients receiving thalidomide or placebo, re- cebo, respectively. Pain occuri’ed in 8% of ENL patients, and 3 or 6% of HI’g-
 spectively, Impotence occurred in 8% of ENL patients and 3-12% of HIV-             infected patients receiving thalidomide or placebo, respectively. Fever occurred
 infected patients receiving thalidomide. Albuminuria occurred in 3-8 or 6% Of in 19-22 or 17% 6f HIV-infected patients receiving thalidomide or placebo,
  HIV-infected patients receiving thalidomide or placebo, respectively. Hema- respectively¯ Infection occurred in 6-8 or 3% of HIV-infected patients receiv-
  turia occurred in 11 or 3% of HIV-infected pa$ients receivirig thalidomide or ing thalidomide or placebo, respectively. Hypefiipidemia occm~ed in 6-9 or
  placebo, respectively.                                                            3% of HIV-infected patients receiving thalidomide or placebo, respectively.
       Adverse genitourinary effects repoited in patients with ENL or HIV infec-         Other adverse effects reported in patients .With ENL or HIV infection re-
  tion receiving thalidomide in uncontrolled studies include hematuria, omhitis, ceiving thalidomide in uncontrolled studies include avitaininosis, altered hor-
  proteinuria, pyuria, and urinary frequency. Acute renal failure, amenorrhea, mone concentrations,, altered alkaline phosphatase concentrations, dehydration,
  enuresis, metrorrhagia, or oliguria has been reported in at least one pa.tient incieased BUN, decreased creatinine clearance, inappropriate antidiuretic hor-
  ~eceiving thalidomide.                                                            mone concentrations, increased serum creatinine, electrolyte abnormalities, hy-
  N Hematologic Effects In controlled clinical studies, adverse hemato- pocalcemia,                hypercholesterolemia, hyperglycemia, hyperkalemia, hyperlipid-
  logic effects occurred in 22-41 or 29% of H1V-infected patients receiving emia, hypoproteinemia, hyperuricemia, increased lactic dehydrogenase,
  thalidomide or placebo, respectively. Leukopenia occurred in 17-25 or 9% of increased         lipase, decreased phosphorus, amyloidosis, ascites, chills and fever,
  HIV-infected patients receiving thalidomide or placebo, respectively; in one cellulitis, cyst, diabetes, fevsr, flu-like syndrome, hernia, moniliasis, palpable
  study, leukopenia occurred in 14% of ENL patients receiving the drug. Lym- spleen,         pancreatitis, sarcoma, sepsis, and viral infection. Galactorrhea, gyne-
  phadenopathy occurred in 6-12 or 9% of HIV-infected patients receiving tha- c0mastia,         hypomagnesemia, hypothyroidism, and lymphedema have occurred
  lidomide or placebo, respectively. Anemia occm’red in 6-12 or 9% of HIV- ii~ at least one patient receiving thalidomide.
  infected patients receiving thalidomide or placebo, respectively.                 N Precautions and Contraindications Teratogenicity.Precau-
       Adverse hematologic effects reported in patients with ENL or HIV infection tions and Contraindications Because thalidomide is a known human
  receiving thalidomide in uncontrolled studies include aplastic anemia, cyanosis, teratogen (see Teratogenic Effects under Pregnancy, Fertility, and Lactation:
  decreased CD4+ T-cell count, erytin’ocyte sedimentation rate increase, eosin-     Pregnancy), the drug is commercially available in the US only through a re~
  ophilia, granulocytopenia, hypochromic anemia, leukemia, leukocytosis, leu- stricted distribution program, the System for Thalidomide Education and Pre-
  kopenia, macrocytic anemia, megaloblastic ane~nia, microcytic anemia, ele- scribing Safety (STEPS) designed to minimize the chance of fetal exposure
  vated .mean corpuscular volume, abnormal erythrocyte count, and and help ensure the safe and effective prescribing, dispensing, and use of tha-
  thrombocytopenia. Chronic myelogenous leukemia, erythroleukemia, nodular lidomide. Thalidomide may be prescribed only by licensed physicians who ale
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"~halidomide           BIOLOGIC RESPONSE MODIFIERS
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registered in the STEPS program and understand the risk of teratogenicity if ing of sensory nerve action potential (SNAP) amplitude measurement at base-
thalidomide is used during pregnancy. For information on the distribution pro- line and every 6 months thereafter. If manifestations of peripheral neuropatby
gram, see Dosage and Administration: Restricted Distribution Program.                 develop, thalidomide should be discontinued immediately (if clinically appro-
     Thalidomide is contraindicated in pregnant women and should be used in priate) to minimize further damage. Usually, treatment with thalidomide should
females of childbearing potential only wban alternative therapies are considered be resumed only if manifestations of neuropathy return to baseline.
inappropriate and the patient is capable of understanding and complying with              Drugs known to be associated with peripheral neuropathy should be used
the patient registration, education, and safety requirements of the STEPS pro- with caution in patients receiving thalidomide. (See Drug Interactions: Drugs
gram, including mandatory contraceptive measures and pregnancy testing.               Associated with Peripheral Neuropathy.)
male patients should be .advised to immediately discontinue taking thalidomide            CNS Precautions and Contraindications Patients should be
and inform their clinician if they become pregnant (or for any reason they think warned that thalidomide frequently causes drowsiness and somnolence, and
they might be pregnant), miss a menstrual period, experience unusual menstrual may impair their ability to perform hazardous activities requiring mental al-
bleeding, or stop using contraceptive measures. (See Pregnancy, Fertility, and ertness or physical coordination (e.g., operating machinery, driving a motor
Lactation: Pregnancy, in Cautions.)                                                   vehicle). Patients also should be warned not to take any other drugs that may
      Thalidomide should be used in sexually mature males only whan the patient cause drowsiness without consulting their clinician. Patients should be advised
 is capable of understanding and complying with the patient registration, edu- that thalidomide may potentiate the drowsiness caused by alcohol. (See Drug
 cation, and safety requirements of the STEPS program, including mandatory Interactions: CNS Agents.)
 Contraceptive measures for men. Male patients receiving thalidomide should               Because seizures, including tonic-clonic (grand real) seizures, have been
 be instructed to inform their clinician if they have unprotected heterosexual reported during postmarketing experience with thalidomide, the manufacturer
 sexual contact while receiving thalidomide or during the first 4 weeks after states that patients with a history of seizures or other risk factors for the de-
 discontinuing the drug or if they think that their sexual partner may be pregnant.   velopment of seizures should be monitored closely for clinical changes that
      Patients should be advised to take thalidomide only as prescribed, and in could precipitate acute seizure activity.
 compliance with the requirements of the STEPS program. Patients should be                Other Precautions attd Contraindications Because thalidomide
 warned not to share thalidomide with anyone else and to keep the drug out of may cause dizziness and orthostatic hypotension, patients receiving the drug
 the reach of children. In addition, patients should be instructed not to donate should be instructed to sit upright for a few minutes before standing up from
 blood and male patients should be waned not to donate semen while taking a reclining position.
 thalidomide.                                                                             Because decreased leukocyte counts, including neutropenia, have been re-
      Contraceptive Measures. All women and adolescent females of childbear- ported in patients receiving thalidomide, the drag should not be initiated in
 ing potential and all sexually mature males receiving thalidomide must use patients with absolute neutrophil counts (ANC) less than 750/mm3. Leukocyte
 effective contraceptive measures (which may include abstinence) to help ensure counts and differentials should be routinely mouitored, especially in patients
 that fetal exposure to thalidomide does not occur. Contraceptive measures are ¯ who are prone to neutropenia (e.g., HIV-infected patients). If the ANC de-
 indicated even in females with a history of infertility. The only females who creases to less than 750/mma while the patient is receiving thalidomide, the
 do not need to observe mandatory contraceptive measures are those who have patient’s drug regimen should be reevaluated and consideration given to with-
 undergone hysterectomy or who are postmenopausal and have had no menses              holding thalidomide if clinically appropriate.
 for at least 24 consecutive months.                                                       Because increases in viral load (i.e., increased plasma HIV-1 RNA levels)
      All women and adolescent females of childbearing potential must use 2 have been reported when thalidomide was used in some HIV-infected patients,
 reliable forms of contraception simultaneously (unless the patient chooses to        the manufacturer states that plasma HIV-t RNA levels should be measured
 remain continuously abstinent from engaging in heterosexual sexual contact) after the first and third months of thalidomide treatment and every 3 months
 beginning 4 weeks prior to initiating thalidomide therapy and continuing until thereafter.
 4 weeks after thalidomide therapy is discontinued. The patient must use at least          Thalidomide is contraindicated in patients who are hypersensitive to the
 2 birth control methods; preferably one should be a highly effective birth con- drug or any ihgredient in the formulation. The drug should be discontinued if
  trol method (intrauterine device [IUD]; oral, injectable, or implanted hormonal signs and symptoms of hypersensitivity (e.g., erythematous macular rash as-
  contraceptives; tubal ligation; vaSectomized partner) and one should be an ef- sociated with fever, tachycardia, hypotension) occur and are severe; if thalid-
  fective barrier method (latex condom, diaphragm, cervical cap). However, if omide therapy is resumed and the reaction recurs, thalidomide should be per-
  either IUD or hormonal contraceptive use is contraindicated in the female, 2 manently discontinued. Because hypersensitivity reactions characterized by
  other effective methods may be used. Females of childbearing potential re- cutaneous and/or febrile manifestations have been reported in HIV-infected
  ceiving thalidomide concomitantly with any other drug that can reduce efficacy patients receiving thalidomide and because rechallenge with the drug resulted
  of oral contraceptives must use 2 Other effective methods of contraception or in accelerated hypersensitivity (including hypotension) in some of these pa-
  abstain from heterosexual sexual contact. Drugs that may interfere with the tients, some clinicians recommend that if thalidomide rechallenge is unavoid-
  effectiveness of oral contraceptives include protease inhibitors (e.g., ampren- able in an HIV-infected patient (e.g., to elucidate a drug reaction in a patient
  avir, indinavir, nelfinavir, ritonavir, saquinavir), griseofulvin, rifampin, rifa- receiving a complex drug regimen), the patient should be hospitalized when
  butin, phenytoin, or carbamazepine. (See Drug Interactions: Hormonal Contra- the drug is administered and for at least 24 hours following the rechallenge.
  ceptives and Drugs that Interfere with Hormonal Contraceptives.)                         Because severe, potentially fatal skin reactions, including Stevens-Johnsdn
       Sexually mature males (including those who have successfully undergone syndrome and toxic epidermal necrolysis, have been reported with thalidomide
  vasectomy) receiving thalidomide must completely avoid unprotected sexual therapy~ the drug should be discontinued if a rash occurs and should be resumed
  contact with women of childbearing potential because thalidomide is present only after appropriate clinical evaluation. If the rash is exfoliative, purpuric, or
  in semen. While receiving thalidomide and for at least 4 weeks after discon-
  tinuing the drug, sexually mature males must use a latex condom each time bullous             or if Stevens-Johnson syndrome or toxic epide~Tnal necrolysis is sus-
                                                                                       pected, use of thalidomide should not be resumed.
  they have sexual contact with a woman of childbearing potential.
       All females of childbearing potential must be tested for pregnancy within [] Pediatric Precautions Although safety and efficacy of thalidomide
  the 24 hours immediately prior to the first dose of thalidomide using a reliable in pediatric patients younger than 12 years of age have not been established,
  serum pregnancy test with the sensitivity to detect human serum chorionic            the drug has been used in a limited number of children 6 months to 12 years
  gonadotropin (HCG) concentrations of 50 mIU/mL. The prescribing clinician of age~. The manufacturer states that when thalidomide was used in a limited
  should not provide the woman with a prescription for thalidomide until a writ-       number of patients 11-17 years of age (usually in a dosage of 100 mg dailY),
  ten report of the pregnancy test is available indicating that results are negative. response rates and safety profile were similar to those observed in adults. When
  Serum pregnancy tests must then bd repeated at regular intervals during thalid- thalidomide was used for the treatment of graft-versus-host disease in+,a limited
  omide therapy (i.e;, weekly during the first month, then every 2 or 4 weeks in       number of bone marrow transplant recipients 1.5-17 years of age, adverse
   women with irregular or regular menstrual cycles, respectively). Pregnancy effects of the drug included somnolence (which required discontinuance of the
   tests also should be performed if a patient misses her period or if there is any drug in at least one child), constipation, and a syndrome of rash, eosinophilia,
   abnormality in menstrual bleeding. If pregnancy occurs during thalidomide and pancreatitis (which resolved after the drug was discontinued).
   therapy, the drug should be discontinued immediately. (See Pregnancy under               Thalidomide is contraindicated in adolescent females of childbearing po-
   Cautions: Pregnancy, Fertility, and Lactation.)                                     tential (i.e., those who are sexually mature, have had menses at some time
       Peripheral Neuropathy Precautions and Contraindications Be- during the 24 consecutive months preceding initiation of treatment with thalid-
                                                                                       omide, have not undergone a hysterectomy) unless alternative therapies are
   cause thalidomide may cause peripheral neuropathy that can be irreversible, considered inappropriate and the patient is capable of complying with the con-
   patients should be instructed to immediately report initial symptoms (e.g.,
   numbness, tingling, pain or a burning sensation in the hands and feet) of pe- traceptive measures (which may include abstinence) designed to help ensure
   ripheral neuropathy to their prescribing clinician. To ensure that early signs of that   fetal exposure to thalidomide does not occur. (See Teratogenic Precautions
   neuropathy are detected, patients should be examined, counseled, and ques- and Contraindications: Contraceptive Measures, in Cautions.)
   tioned regularly during thalidomide therapy (i.e., monthly for the first 3 months        For males and females 18 years of age and younger, a parent or legal
   of thalidomide treatment, and periodically thereafter).                             guardian must be educated concerning the hazards of thalidomide and agree to
       Early detection and differential diagnosis of thalidomide-induced neuritis ensure that the minor complies with all requirements of the STEPS program.
   may be difficult in leprosy patients with ENL and in HIV-infected patients          [] Geriatric Precautions Safety and efficacy of thalidomide in geriatric
   because neuritis associated with these diseases may be similar to that caused patients have not been specifically studied to date. Thalidomide has been used
   by thalidomide.                                                                      in clinical studies that included patients up to 90 years of age, and adverse
        To assist in detection of asymptomatic neuropathy, the manufacturer states      effects reported in those older than 65 years of age were similar to those re-
   that consideratiou should be given to using electrophysiologic testing, consist- ported in younger adults.
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[] Mutagenicity and Carcinogenicity There was no evidence of mu-                    present in semen, sexually mature males (including those who have success-
                                                                                 #:5884
tagenic effects when thalidomide was evaluated in vitro using bacterial test fully Undergone vasectomy) receiving thalidomide must not have uuprotected
systems (Ames test using Salmo~ella typhimtwium and Escherichia coli), in           sexual contact with women of childbearing potential. These males must use a
vitro using mammalian test systems (Chinese hamster ovary cells, AS52/XPRT latex condom each time sexual contact with a woman occurs during and for at
mamnaalian cell forward gene mutation assay), in vitro using human lympho- least 4 weeks after discontinuing the drug.
cytes (chromosome aberration assay, micronucleus assay), or in vivo using                Teratogenic Effects It has been esthnated that there were more than
mammalian test systems (CD-1 mice, micronucleus test). While there have 10,000 reported cases of infants bona with birth defects related to use of tha-
been a few unsubstantiated reports that positive results were obtained when         lidomide in pregnant women in other countries between 1957 (when thalido-
thalidomide was tested for mutagenicity in Salmo~ella and mouse bone marrow mide was first introduced in the world market) and 1963 (several years after
cells, these results have not been confirmed.                                       the drag was removed from the world market). Although thafidomide was not
     Although thalidomide is teratogenic, the drug is not considered to be mu- commercially available in the US at that time, there were at least 17 reports of
tagenic in humans. A report that 2 men with bh-th defects attributed to thalid- infants with thalidomide-associated birth defects being born to women in the
omide exposure each fathered a child with birth defects resulted in speculation US during those years;, these women had received the drug fi’om overseas
that thalidomide may be mutagenic in addition to teratogenic and capable of sources or received premarketing samples distributed by drug company rep-
causing second generation birtfi defects. However, there is no evidence to sup- resentatives.
port such a hypothesis and expe~s state that the birth defects in both these             A variety of human fetal abnormalities related to thalidomide administra-
children were not the result of parental thalidomide exposure but probably tion during pregnancy have been documented. The most common birth defects
occuned because of genetic abnormalities related to spontaneous mutations reported following fetal exposure to tbalidomide are musculoskeletal fetal ab-
that occurred in the parents. The fathers of both children may have had mal- normalities involving the loss of all or part of one. or more bones; however,
formations caused in part by thalidomide exposure, but the father of one child fetal deformities may occur in almost any organ of the body and defects of
had anomalies that were quite atypical from those associated with thalidomide internal organs have been reported with some skeletal deformities. The mor-
exposure. While only limited information is available about one of the children, tality rate at or shortly after birth in infants born with thalidomide-induced
 both appeared to have limb formation abuormalities similar to those of their abnormalities has been reported to be about 40%; most fatalities are related to
respective fathers. Since nmtagens attack genes at random, if thalidomide did serious malformations of internal organs.
 have a mutagenic effect distinct from its teratogenic effect, it is unlikely that       Skeletal deformities caused by thalidomide include amelia (absence of legs
 the mutations would result specifically iu limb malformations. There is no and/or arms) and absence of bones; phocomelia (short legs and/or arms) and
 evidence that the incidence of birth defects in children born to parents with bone hypoplasia; hand deformities (e.g., radial club hand); thumb aplasia, hy-
 birth defects related to thalidomide exposure is any higher than that reported p0plasia; triphalafigia, and nonopposability; finger aplasia, hypoplasia, fixed
 in the general population and no evidence that thalidomide-associated birth flexion, and syndactyly; and hip dysplasia and dislocation. Skeletal deformities
 defects are inheritable.                                                            appear to follow the craniocandal progression of fetal morphogenesis. Most
      Long-term studies to evaluate the carcinogenic potential of thalidomide individuals w~th thalidomide defects of the upper limbs have normal lower
 have not been performed to date.                                                    limbs, some have defects of all limbs, but those with normal tipper limbs and
 [] Pregnancy, l~’ertility, and Lactation Pregnancy Thalidomide                      deformed lower limb~ are rare. When ~ubstantial parts of bones are missing,
 is a known h~man teratogen, and can cause severe, life-threatening birth defects the muscles normally attached to them are hypoplastic, but the degree of muscle
 or fetal death if taken duril)g pregnancy. The drug can cause teratogenic effects hypoplasia does not always correspond to the level of bone loss (e.g., marked
 e~ven if only a single dose of the drug (e.g., 50-100 rag) is taken during preg- hypoplasia of shoulder and upper arm muscles may occur in a patient with a
 nancy. Since the risks clearly outweigh any possible benefits in women who humerus of normal length). In general, more pron6unced shortness of stature
 are or may become pregnant, thalidomide is contraindicated in such women. than thfit associated only with Short leg bones, occurs, resulting from poor
 If the drug is inadvertently administered during pregnancy, or if a patient be~ growth spinal osteochondritis, and progressive kyphosis. Thalidomide-induced
 comes pregnant while receiving the drug, the drug should be discontinued skeletal deformities Usually are bilaterally symmetric, similar to malformations
 immediately and the patient referred to an obstetrician-gynecologist experi- reported "~iith other teratogenic drugs. However, the extent of symmetry varies
 enced in reproductive toxicity for further evaluation and counseling. ~e pa- With the nature of the defect, both in the number of appreciably asymmetric
 tient, should be informed that if their clinician is not available, information deformities and in the closeness of .the match between left and right.
 about emergency contraception (including information regarding clinicians                The next most common group of abnormalities reported following fetal
 who provide emergency contraceptive services) can be obtained by calling888- exposure to thalidomide are craniofacial and orofacial fetal abnormalities in-
 668-2528 or by using other sources (e.gl, http://www.opr.princeton.edu/ec). For     volving the ear, eye, and nerve supplies to the face, external ocular muscles,
 information about postcoital .coniraception, see Estrogen-Progestin Combina- and lacrimal glands; these deformities tend to occur in a variety of combinations
 tions and Progesth)s in Contraceptives 68:12. Any suspected exposure of a fetus      and permutations. External ear deformities tend to be bilateral and symmetric,
 to thalidomide should be reported to the FDA MedWatch Program atS00-FDA- and include anotia, microtia or micropinna, and small or absent auditory canals.
  1088 andalso reported to the manufacturer.                                          Individuals with anotia and a blind or absent external auditory canal (meatus)
      To minimize the chance of fetal exposure and help ensure the safe and are pr0f~ndly deaf in the affected ear. Facial palsy may occur (usually urii-
  effective use of. thalidomide in the US, patients must be registered in the STEPS laterally rather than bilaterally) and almost always is associated with anotia or
  program before they can receive commercially available drug. (See Dosage and microt!a on ~he same Side. Abnormalities. of ocular structures occur frequently,
  Administration: Restricted Distribution Program.) The STEPS program in- including anophthalmos, microphthalmos coloboma of the iris and retina, and
  cludes mandatory contraceptive measures for both men and woinen, as well as conjunctival dermoid cyst. Microphthalmos and coloboma often occur together,
  mandatory pregnancy testing to confirm that ~ woman is not pregnant before and are predominantly bilateral. Restricted ocular movements may occur; oc-
  thalidomide therapy is initiated and did not become pregnant during or im- ular movement defects are nearly always associated with otic defects, often
  mediately after therapy with the drug. (See Con~aceptive Measures under Pre- associated with facial weakness, and tend to be bilateral. Tear-saliva syndrmne
  cautions and Contraindications: Teratogenicity Precautions and Contraindica- (crocodile tears) has been reported,, in which tears are secreted in association
  tions, in Cautions.)                                                                with eating (rather than saliva) but may not be secieted in association with
       Thalidomide is contraindicated in women of childbearing potential unless crying. This syndrome results from incorrect neural connections (probably in
  altemativ~ therapies are considered to be inappropriate and the patient is ca-      the brain stem), is bilateral or unilateral, and usually is associated with otic
  pable of understanding and following the conditions of the STEPS program, abnormalities and ocular movement defects. Less common orofacial defects
  including mandatory contraceptive measures designed to ensure that the that .have reported include cleft palate, high arched palate, bifid uvula, palatal
  woman is essentially unable to become pregnant while receiving thalidomide. palsy, cleft lip,choanal ata’esia, and mandibular and dental abnormalities:
  Women of childbearing potential are considered to be women and adolescent               Other fetaJ deformities that have been associated with thalidomide exposure
  females who are sexually mature, have had menses at some ":-’~t,,~. m ,~,~ 24 dur~g pregnancy include congenital heart defects and other cardiovascular
  consecutive months preceding initiation of treatment with thalidomide (i.e., are malformations (e.g., patent ductus arteriosus, ventricular and/or atrial septal
  not :postmenopausal)~ and have not undergone a hysterectomy. It is mandatory        defects, pulmonary stenosis); renal and urinary tract malfo~anations (e.g., de-
  that such .women (even if they are infertile) agree not to try to become pregnant fects of the kidney, ureter, and bladder); genital malformations (e.g., hypospa-
  for at least 4 weeks after discontinuing thalidomide treatment, and comply with dias, vaginal atresia, .fallopiar~ tube interruption, bicornate uterus, h~ipoplasia
  effective contraceptive measures (which may include abstinence) for at least 4 of the scrotum or labia, and undescended, small, or absent testis); GI tract
  weeks prior to, throughout, and for at least 4 weeks after completion of thalid- malformations (elg., duodenal atresia, duodenal stenosis, pyl0ric stenosis, ano-
  omide therapy. In addition, a reliable serum pregnancy test with the sensitivity rectal stenosi~, imperforate anus With fistula; anteriorly placed anus); gallblad-
  to detect human serum chorionic gonadotropin (HCG) concentrations of 50 der aplasia; and respiratory tract malformations.
  mIU/mL must be perfo~rned within 24 hours prior to beginning thalidomide                Most teratogenic effects appear to have occurred as the result of exposure
  therapy, and results must be neggtive. Serum pregnancy tests must then be           to thalidomide early in pregnancy, and there is some evidence that a distinct
  repeated at regular intervals during thalidomide therapy (i.e., weekly during window of embryonic sensitivity to thalidomide’s teratogenic effects exists
  the first month, then every 2 or 4 weeks in women with irregular or regular (i.e., from about 34-50 days after the beginning of the last menstrual period).
  menstrual cycles, respectively). Pregnancy testing and counseling should be Some malfomaations appear to be associated with particular periods of embry-
  performed if a patient misses her period or if there is any abnormality in men- onic exposure, including aplasia of the ear or stenosis of the rectum which
   strual bleeding during thalidomide therapy.                                         appear to be.associated with exposure to thalidomide at 34--38 or 49-50 days,
       q~aalidomide is contraindicated in sexually mature males unless the patient respectively,: after the beginning of the last menstrual period. However, incor-
   is capable of understanding and following the conditions of the STEPS pro- rect reporting of the dates of last menstrual periods and/or thalidomide admin-
   gram, including mandatory contraceptive measures. Because thalidomide is istration dates as well as atypical menstrual cycle duration may have resulted
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                                                       aud periodically thereafter). Consideration should be given to using electro-
in considerable inaccuracy in these data. It has been suggested that linab defects
may be secondary to an inhibition of blood vessel growth in the developing           physiologic testing, consisting of sensory nerve action potential (SNAP) am-
fetal limb bud, and studies of thalidomide’s effects in fetal animal tissues have    plitude measurement at baseline and every 6 months thereafter.
suggested that neural as well as limb development effects occur. The risk of
potentially severe birth defects occurring following fetal thalidomide exposure    Ph~’~aco~ogy
later in pregnancy is unknown, but may be substantial. Animal studies to char-     [] Mechanism of Action Thalidomide is an immunomodulatory agent
acterize the effects of thalidomide on late stage pregnancy have not been con-     with anti-inflammatory activity. The drug also has auti-angiogenic effects and
ducted. While numerous mechanisms for thalidomide-induced fetal abnormal-          sedative and hypnotic effects.
ity and mortality have been proposed, some have been refuted and others have          " The mechanism(s) of action of the immunomodulatory and anti-inflam-
not been adequately studied; additional study is required to elucidate how tha-    matory effects of thalidomide are complex, and have not been fully determined;
lidomide causes teratogenic effects in fetuses.                                    these effects appear to result in part from modulation of tumor necrosis factor
    Fertility Animal studies have not been conducted to date to determine          alpha (TNF-cr) levels, costimulatory or adjuvant effect on T-cells resulting ill
whether thalidomide affects fertility, and the effect of thalidomide on fertility  increased T-cell proliferation and increased production of interleukiu-2 and
in humans has not been determined. Thalidomide is present in senren.               interferon-% and/or modulation of leukocyte migration and chemotaxis.
    Lactation It is not known whether thalidomide is distributed into hu-              The immunomodulatory and anti-inflammatory effects of thalidomide differ
man milk. Because many drugs are distributed into milk, and because of the         from those of other immunosuppressive agents, including corticosteroids, cy-
potential for serious thalidomide-related adverse effects in nursing infants, fi   cloSporin (e.g., cyclosporine) or macrolide (e.g., tacrolimus) immunosuppres-
decision should be made whether to discontinue nursing or the drug, taking         sants, pentoxifylline, immunosuppressive purine analogs (e.g. azathioprine)
into account the importance of the drug to the mother.                             and purine metabolism inhibitors (e.g., mycophenolic acid), and also differ
                                                                                   from those of nonsteroidal anti-inflammatory agents. Thalidomide does not
                                                                                   appear to interfere with important host antimicrobial mechanisms; the drug has
                                                                                   no substantial inhibitory effect on lymphocyte proliferation, does not impair"
[] Hormonal Contraceptives and Drugs that Interfere with Hor-                      delayed-type hypersensitivity reactions, and does not impair granuloma for-
monal Contraceptives Concomitant administration of thalidomide and marion.
oral contraceptives containing ethinyl estradiol and norethindrone does not ap-         Thalidomide has no direct antibacterial activity against Mycobacterium le-
pear to affect the pharmacokinetics of the hormones. In 2 studies in healthy prae. In addition, results of an in vitro study using Enterocytozoo~ bieneusi,
women 2145 years of age who received a 3-week regimen of thalidomide Encephalitozoon intestinalis, and E. cuniculi indicate that tbalidolnide has no
(200 mg of thalidomide daily) followed by a single oral dose of an estrogen- direct activity against microsporidia.
p~:ogestin combination oral contraceptive (70 mcg of ethinyl estradiol and 2
mg of norethindmne), the pham~acokinetics of both ethinyl estradiol and no- [] Immunomodulatory Effects Use of thalidomide in the management
rethindrone were the same as those obtained in these women when the contra- of erythema nodosum leprosum (ENL) reactions in leprosy patients and for the
ceptive was administered without thalidomide.                                       treatment of various inflammatory and/or dennatologic disorders is based on
     While it is unlikely that thalidomide would affect efficacy of oral contra- the drug’s immunomodulatory effects. Thalidomide’s immunomodulatory ef-
ceptives since the drag does not appear to affect the pharmacokinetics of the       fects may result from modulation of TNF-c~ levels, costimulatory or adjuvant
hormones, other drugs that the patient may be receiving, including HIV pro- effect on T-cells resulting in increased T-cell proliferation and increased pro-
tease inhibitors (e.g., amprenavir, indinavir, nelfinavir, ritonavir, saquinavir), duction of interleukin-2 and interferon-% and/or modulation of leukocyte ex-
gris~ofulvin, rifampin, rifabutin, phenytoin, or carbamazepine, may affect ef- travascular migration mechanisms. However, in vitr6 studies and preliminary
ficacy of oral contraceptives. Because it is mandatory that women of child- clinical studies indicate tha{ the immunomodulatory effects of thalidomide vary
bearing potential receiving thalidomide use effective contraceptive measures        considerably under different conditions, and some evidence indicates that ef-
for at.least 4 weeks prior to, tt~roughout, and for at least 4 weeks after com- fects of thg drug may be species specific.
pletion of thalidomide therapy, women of childbearing potential receiving tha-          The diffict~lty in characterizing thalidomide’s mechanism of action has been
lidomide concomitantly with any other drug that can reduce efficacy of oral attributed in pm-t to numerous in vivo mgtabolites that result from the combi-
contraceptives must use 2 other effective methods of contraception or abstain       nation of optical enantiomei%m, hydrolysis, and hydroxylation of the drug. In
from heterosexual sexual contact. (See: Contraceptive Measures under Precau- studieslof enantiomericaIly stable thalidomide analogs (with an c~-methyl group
tions and Contraindications: Teratogenicity Precautions and Contraindications, attached to the chh’al carbon), levorotatory analogs demonstrated more im-
in Cautions.)                                                                       munomodulatory, sedative, and teratogenic activity, and more inhibition of
                                                                                    TNF-c~ release, than dextrorotatory analogs. Although apparent enantiomei-
[] CNS Agents Thalidomide has been reported to enhance the sedative specific effects of thalidomide have been reported from in vitro and in vivo
effects of some drugs, including barbiturateS, chlorpromazine, and reserpine, studies, data from such studies are limited by rapid racemization and the phar-
and may potentiate the somnolence caused by alcohol. "                              macokinetics of the drug in the system being studied, and should be interpreted
[] Drugs Associated with Peripheral Neuropathy Because’of the                       with caution. SPontaneous hydrolysis of ’thalidomide yields pioducts that do
potential for additive effects, drugs known to be associated With peripheral not appear to have immunomodulatory activity; the extent of hepatic metabo-
neuropathy (e.g., certain antiretroviral agents [e.g., didanosine], certain anti- lism of the drug appears to be limited, and some experts state that insufficient
neoplastic agents [e.g., paclitaxel; platinum-containing drugs such as cisplatin; evidence exists to support speculation that formation of active metabolites is
vinca alkaloids such as vincristine]) should be used with caution in patients required for thalidomide’s effects.
receiving thalidomide.                                                                  The immunomodulatory effectsof thalidomide may be related to suppres-
                                                                                    sion of excessive TNF-o~ production; however, there also is some evidence that
                                                                                    thalidomide is capable of enhancing TNF-a synthesis. The drug selectively
[] Pathogenesis Limited information is available on the acute toxicity of inhibits the production of TNF-o~ by cultured human monocytes (possibly by
 thalidomide in humans. The commercially available racemic mixture of thalid- inhibiting production and/or enhancing the degradation of TNF-~ messenger
 omide appears to have a low potential for acute toxicity, principally because RNA) without influencing either general protein synthesis or the expression of
 racemic thalidomide has poor aqueous solubility and limited absorption as the other m0nocyte-derived cytokines (e.g., IL-1, IL-6, GM-CSF). Administration
 result.of interaction (i.e., hydrogen bonding) between carbox.yl groups of the of thalidomide has been reported to decrease circulating TNF-o: levels in pa-
 racemates. In addition, the drug is rapidly and spomaneously hydrolyzed in tiel~ts with erythema nodosum leprosum (ENL).
 vivo to numerous metabolites and accumulation of the drug does not occur,              Wasting syndrome and the associated systemic sylnptoms (e.g., anorexia,
 even in patients with severe renal impairment. Although the LD~0 of either the fever) also may be mediated by excessive TNF-~ production, aud there is
 levorotatory or dextrorotatory enantiomers of thalidomide is about 0.5 g/kg in limited evidence that thalidomide may reduce plasma TNF-c~ concentrations
 rodents, animal studies indicate that racemic thalidomide is not fatal when and ameliorate wasting in patients with HIV infection and/or tuberculosis.
 given in doses of 10 g/kg.                                                         However, the role of.TNF-o~ in HIV infection is unclear because evideuce of
                                                                                    TNF-0: production in patients with FIIV infection is inconsistent and includes
 [] Manifestations Overdosage of thalidomide may cause prolonged reports of undetected, increased, or unchanged production of the cytokine.
 sleep as a result of the drug’s sedative and hypnotic effects, but fatalities are Also, serum and plasma TNF-o~ levels fluctuate because of the cytokine’s short
 unlikely since the drug does not dause respiratory depression. In 3 reported half-life, and may not accurately reflect the actual extent of TNF-o~ production
 suicide attempts involving deliberate ~ngestion of up to 14.4 g of ~hal{domide, and/or the degree of TNF, a-related toxicities. Such discrepancies in apparent
 all 3 individuals recovered without report@ .sequelae.                             TNF-o~ levels may result from the different assays used, or from defects in the
 Chronic T[]x~c~y                                                                   methods used.to determine in vitro and in vivo cytokine production. In addition,
                                                                                    cytokines may be produced and act locally in tissue, and it is possible that
     Physical and/or psychologic dependence have not been reported in individ- circulating levels of TNF-~ do not reflect tissue activity.
 uals receiving thalidomide. However, the manufacturer states that, like other          The effect of thalidomide on TNF-a levels, HIV replication, and HIV dis-
 anxiolytic, sedative, and hypnotic drags, it is possible that habituation to the ease manifestatinns such as wasting is unclear. In one limited controlled study
 sedative and hypnotic effects of thalidomide could occur.                          of patients with wasting syndrome associated with HIV-I infection (with or
     Chronic use of thalidomide may result in potentially severe peripheral neu- without tuberculosis), those receiving thalidomide experienced a substantially
 ropathy, which can be irreversible. (See Cautions: Peripheral Neuropathy.) To greater weight gain than those receiving placebo; however, only the patients
 ensure early detection of thalidomide-induced neuropathy, patients should be with HIV and tuberculosis experienced decreased plasma TNF-o~ and decreased
 examined regularly (i.e., monthly for the first 3 months of thalidomide therapy, plasma HIV-1 RNA levels while receiving thalidomide, and these patieuts ex-
                           AHFS DRUG ]INFORMATION® 2(}08
     Case 2:10-cv-03165-RGK-SS Document 224-1 Filed 09/22/15 BIOLOGIC                                           Page 46        of 48 Page ID
                                                                                                                           RESPONSE MODIFIERS
                                                                        #:5886
perienced a higher mean weight gain thau those with HIV infection alone. Data with first-order absorption and elimination. Results of studies in healthy adults
from some studies in patients with HIV iufection indicate that thalidomide            indicate that accumulation of thalidomide does not occur, and phmmacokinetic
inhibited TNF-o~ activation of latent HIV-1 in monocytes and reduced repli-           parameters m’e similar following single or multiple doses of the drug.
cation of the virus; however, some evidence indicates that thalidomide b>             [] Absorption The absolute bioavailability of thalidomide administered
creases plasma TNF-cz and soluble TNF-~ type II receptor levels in patients           as the commercially available racemic mixture of the drug has not been deter-
with HIV infection, and may increase HIV replication. In a placebo-controlled         mined to date, in part because racemic thalidomide has poor aqueous solubility.
study in HIV-infected patients, thalidomide therapy (200 mg daily for 4 weeks)        The limited aqueous solubility of racemic thalidomide does not appear to be
apparently had no inhibitory effect on HIV replication and no effect on plasma        due to a lipophilic structure, since the drag has a relative distribution between
TNF-o~ levels, but did increase plasma levels of soluble IL-2 receptor, soluble       lipid and aqueous phases of about 2:1. However, the 4 carboxyl groups of the
CD8 antigen, and ILq 2. In addition, in vitro studies using purified T-cells from     racemic form of the drug appear to interact through hydrogen bonding to result
these patients indicated that exposure to thalidomide resulted in a costimulatory     in relative aqueous insolubility. In contrast, tbe pure levorotatory or dextroro-
effect resulting in increased production of IL-2 and interferom%                      tatory enantiomers of thalidomide are 3-5 times more soluble than the racemic
     There is evidence that thalidomide induces down-modulation of selected           drug and are more readily absorbed.
celt surface adhesion molecules involved in leukocyte migration, and the drug’s            Following oral administration of racemic thalidomide, the drug is slowly
immunomodulatory mechanism of action may result in part from modulation               absorbed from the GI tract, and some interindividual variation in absorption
of cellular interactions involving direct physical contact (i.e., adhesion and        has been reported. When thalido~nide is administered in increasing doses in
detachment) of leukocytes with.endothelial ceils. Limited data .indicate that         healthy individuals, the extent of absorption (as measured by the AUC) in-
thalidomide may modulate TNF-~x induction of endothelial cell adhesion mol-           creases proportionally with increasing dose; however, peak plasma concentra-
ecules; this effect may interfere with leukocyte adhesion to endotheIium, and         tions of the drug increase in a less than proportional manner and the time to
prevent the initiation of leukocytic extravasation into inflammatory foci. Also,      peak plasma concentrations is delayed, indicating that thalidomide’s poor aque-
once adhesion of leukocytes to vascular endothelium occurs, thalidomide may            ous solubility affects the rate of oral absorption.
interfere with their detachment, and impede transmigration of leukocytes into              Mean peak plasma concentrations of thalidomide generally are attained
extravascular tissue. Although thalidomide may up- or down-modulate differ-           2.5-6 hours after an oral dose. In a study in healthy men 21~3 years of age
ent adhesion receptors, and its effects on various types of leukocytes is variable,    who received a single 200-mg dose of thalidomide given as tablets (not com-
treatment with thalidomide induces a prompt reduction in the number of neu-           mercially available in the US), mean peak plasma concentrations of 1.15 mcg/
trophils and CD4+ T-cells in the lesions of patients with ENL. Leukocyte in-           mL were attained at a mean of 4.4 hours. In healthy women 21~5 years of
filtration and cytokine (especially TNF-a) responses are present in focal in-          age who received a single 200-rag dose of thalidomide given as 50- or 100-
flammatory lesions characterized by post-capillary vasculitis (e.g., ENL lesions       rag capsules (100-rag capsules not commercially available in the US), mean
and mucocutaneous aphthae), and these immunopathologic conditions are those            peak plasma concentrations of 2.3-3.2 meg/mL were attained within about 6
most clearly responsive to thalidomide. Such antivasculitic effects also may be        hours. In healthy adults who received a single 50-, 200-, or 400-rag oral dose
enhanced by thalidomide’s modulation of TNF-a synthesis or release. How-               of thalidomide as 50-mg capsules, mean peak plasma concentrations of 0.62,
ever, the exact mechanism of action for the drug’s clinical immunoinodulatory          1.76, or 2.82 mcg/mL, respectively, were attained at 2.9, 3.5, or 4.3 hours,
activity is unclear, and further study is required to elucidate the drug’s mech-       respectively, after the dose.
 anism of action.                                                                          In adults with leprosy who received a single 400-rag oral dose of thalido-
[] Effects on Angiogenesis Thalidomide inhibits angiogenesis, and it                   mide as 50-mg capsules, peak plasma concentrations of 3.44 mcg/mL were
has been suggested that the teratogenic effects of thalidomide on fetal limbs          attained 5.7 hours after the dose.
 may be related to inhibition of blood vessel growth in the developing fetal limb          In adults with HIV infection (without active opportunistic infections or
 bud. Tbalidomide’s anti-angiogenic effects have been demonstrated in several          concomitant disease that potentially could alter drug absorption) who received
 animal angiogenesis models; however, there is evidence that the drug’s anti-          a single 100- or 300-mg dose of thalidomide as capsules, mean peak plasma
 angiogenic effects may be species specific and possibly may be related to a           concentrations of the drug were 1.2 or 3.5 mcg/mL, respectively, and were
 species-specific metabolite and/or metabolic activation. Thalidomide reduced          attained at a mean of 3.4 hours after either dose. In another study in asymp-
 the area of vascularization in a rabbit corneal model of induced neovascalari-        tomatic HIV-infected adults who received single 100- or 200-rag doses of the
 zation. The drug also inhibited angiogenesis in a rat aorta model and in human        drug, peak plasma concentrations averaged 1.2 or 1.9 mcg/mL, respectively,
 aortic endothelial cells when human or rabbit microsomes were present, but            and were attained at 2.5 or 3.3 hours, respectively.
 not when rat microsomes were present.                                                     In men 55-80 years of age with prostate cancer who received a single 200-
      The mechanism of thalidomide’s anti-angiogenic effects is unkamwn. It has        or 800-mg oral dose of thalidomide as 50-rag capsules, median peak plasma
 been suggested that inhibition of cytokine synthesis (especially that of TNF-         concentrations were 1.97 or 4.42 mcg/mL, respectively, and were attained at a
                                                                                       median of 3.32 or 4.42 hours, respectively, after the dose. When these patients
 a) may contribute to thalidomide’s anti-angiogenic effect; however, there is          received multiple doses of thalidomide, mean peak plasma concentrations at
 some evidence from animal models that thalidomide’s effect on angiogenesis            steady state were 1.8 .mcg/mL in those receiving 200 mg once daily and 7.57
 is independent of the drug’s effect on TNF-~ and possibly may result from a           mcg/mL in those receiving 800 mg daily.
 direct inhibitory effect on some component of angiogenesis.                               Food may delay but does not appear to substantially affect the extent of
 [] Sedative and Hypnotic Effects Thalidomide has CNS depressant                       absorption of thalidomide. Administration of thalidomide with a high-fat meal
 effects and causes sedation. The drug has a prompt sedative effect, and does          increased the time to peak plasma concentration to approximately 6 hours, but
 not cause a hangover. The glutarimide ring contained in thalidomide appears           resulted in less than a 10% change in either the AUC or peak plasma concen-
 to be responsible for the sedative and hypnotic effects of the drug; the ring is      tration of the drug.
 structurally similar to ring moieties contained in some other sedative and hyp-       [] Distribution Information. on distribution of thalidomide in humans is
 notic drugs (e.g., g!utethimide). Thalidomide may activate a sleep center in the      not available. Although pharmacologic and adverse effects of thalidomide ap-
 forebraln, a mechanism of action unlike that of barbiturates. Thalidomide has         pear to be organ specific, such effects do not correspond well with pharma-
 little acute CNS toxicity, and does not cause incoordination or respiratory de-       cokinetic distribution data obtained in animals. While results of some animal
 pression even at large doses. (See Acute Toxicity.) While thalidomide initially       studies indicate that high concentrations of thalidomide are found in the GI
 was investigated for use as a sedative and hypnotic in the late 1950s, the drug       tract, liver, and kidneys, and lower concent{ations are found in muscle, brain,
 is no longer promoted for use as a sedative and hypnotic because of its tera-         and adipose tissue, other distribution studies in animals have failed to detect
 togenic risk, (See Uses: Overview.)                                                   substantial accumulation of the drug in any particular organ. When radiolabeled
Ph~ce~[]e~cs                                                                           thalidomide was administered to animals in one study, there was an even dis-
                                                                                       tribution of radioactivity, except for slight enhancement of radioactivity in kid-
    The pharmacokinetics of thalidomide have been studied in healthy adults,           ney,4, iive~, biliary tissue, white (but not grey) matter of the CNS, and peripheral
adults with leprosy, adults with human immunodeficiency virus (HIV) infec-             nerve trunks. In rabbits, thalidomide concentrations in CSF are about 50% of
tion, and geriatric men with prostate cancer. While there is some evidence that        concurrent plasma concentrations of the drug. Thalidomide is present in semen;
bioavailability of oral thalidomide (i.e., peak plasma concentrations, area under      in at least one study, the drug was detectable in the semen of H!V-infected
the plasma concentration-time curve [AUC]) may be greater in leprosy patients          men receiving thalidomide 100 mg daily.
than in healthy individuals, results of a single-dose study indicate that the               Thalidomide crosses the placenta in humans and in animals. Malformations
pharrnacokinetics of thalidomide in HIV-infected individuaIs are similar to            of human fetuses exposed to thalidomide during the first trimester of pregnancy
those in healthy individuals. Age-related changes in the pharmacokinetics of           exhibit striking Organ specificity. Fetal skeletal deformities involving the loss
thalidomide have not been observed in healthy individuals, leprosy patients            of part or all of one or more bones are most common, but fetal deformities
20459 years of age, or prostate cancer patients 55-80 years of age. The phar-          may occur in almost any organ of the body and defects of internal organs
macokinetics of thalidomide have not been studied to date in individuals               accompany some skeletal deformities (e.g., amelia, phocomelia). Seemingly
younger than 18 years of age. While lin~ited data indicate that the pharmaco-          isolated neurodevelopmental regions (e.g., the eyes, ears, and possibly some
kinetics of thalidomide are similar in males and females, specific comparative         brain stem neurons innervating facial muscles) are affected in cases of thalid-
studies have not been performed to determine whether there are any gender-              omide embryopathy, but other neurodevelopmental defects rarely occur, and
or race-related differences in the pharmacokinetics of the drug. The pharma-           the skin and the lymphatic organs are notabIy not affected by fetal exposure to
cokinetics of thalidomide in patients with renal or hepatic impairment have not         thalidomide. (See Teratogenic Effects under Pregnancy, Fertility, and Lacta-
been deterrnined.                                                                       tion: Pregnancy, in Cautions.)
    Based on studies in healthy adults and HIV-infected patients, the pharma-               The apparent volume of distribution of thalidomide has been reported to
cokinetics of thalidomide can best be described by a single-compartment model           be 69.9-82.7 L in H][V-infeeted adults.
                                                                                                       AHFS DRUG INFORMATION® 2008                     ~{~
    enantiomers ~f-’t’£~ii~l~ide £re 55 and 66%, respectively, Jbound to plasm;
    proteins.                                                                             Because thalidomide is a known human teratogen and can cause
CaseN2:10-cv-03165-RGK-SS                        Document
        Elimination The mean elimination half-life                 224-1
                                                         of thalidomide          Filedlife-threatening
                                                                          following     09/22/15birthPage    defects 47      of 48 during
                                                                                                                       if administered     Pagepregnancy,
                                                                                                                                                        ID           comm~
    a single 200-rag oral dose ranges from 3-6.7 hours, and the#:5887
                                                                    elimination half- availabl~   thalidomide  must  be   obtained   fi~rough    a  restricted    distrib~tic
    life appears to be similar following multiple doses of the drag. In a study in gram, the System for Thalidomide Education and Prescribing Safety (S~I
    healthy adults who received a single 50-, 200-, or 400-rag oral dose of the drug, designed to help ensure that fetal exposure to the drug does not occu
    the mean elimination half-life of. thalidomide was 5.5, 5.5, or 7.3 hours, re- Restricted Distribution Program under Dosage and Administration.
    spectively. The mean elimination half-life of thalidomide was 6.9 hours in Thalidomide
    adults with leprosy who received a single 400-mg oral dose and 4,6-6.5 hours
    in HIV-infected adults who received a single 100- to 300-rag dose,
        .While the exact metabolic fate of thalidomide in humans is not known, Capsules                 50 mg                              Thalomid% Celgene
    numerous metabolites may be formed as a result of optical enantiomerism and fUse is not ~urrendy include in the labeling approved by th~ US Food and Drug Administration
                                                                                                             d
    hydrolysis and hydroxylation of the drug. Commercially available thalidomide Selected Revisions Janum3~ 2007, © Copyright, November 1999, American Society of Health-gyst~
    is a 1:1 racemic mixture of the dextrorotatory and levorotatory enantiomers of Pharmacists, h~c.
    the drug, and chiral inversion and spontaneous hydrolysis of the enantiomers
    occurs in vivo or in vitro. The half-life for racemization of an enantiomer in
    whole blood is about 2,25 hours. In vivo, chiral inversion appears to occur
    principally in the circulation and in albumin-rich extravascular sites. Chiral BONE RESORPTION ][NtlIBITORS
    inversion and hydrolysis of thalidomide apparently occur by several different
    mechanisms.
         Thalidomide does not induce or inhibit its own metabolism; when the drug
    was administered to healthy women at a dosage of 200 mg once daily for 18
    days, similar pharmacokinetics wereobserved on the first and last day of dos- [] Alendronate sodium, a synthetic bisphosphonate analog of pyrophosphat
    age. Hepatic metabolism of thalidomide is limited, and only the parent com- is a bone resorption inhibitor.
    pound appears to be metabolized by cytochrome P-450 (CYP) isoenzymes.
         The principal metabolic pathway of thalidomide appears to be nonenzy-
    matic spontaneous hydrolysis. All 4 amide bonds in thalidomide are susceptible [] Osteoporosis Alendronate is used in the treatment and prevention o:
    to hydrolytic cleavage and, under physiologic conditions, ring opening occurs osteoporosis in postmenopausal women and for the treatment of osteoporosL,
    first in the phthalimide moiety. Spontaneous hydrolysis to form more than 10
    metabolites occurs rapidly in vitro, with a mean half-life (dependent on incu- in men. Alendronate also is used in the treatment of corticosteroid-induced-
    bation temperature and pH) of 2-5 hours for both optical isomers. There is        osteoporosis.
    evidence that thalidomide metabolites formed by spontaneous hydrolysis in              Prevention in Postmenopausal Women Alendronate is used for the
    vitro have no immu~nmodulatory activity; however, further study is required prevention of osteoporosis in postmenopausal women. Alendronate is used
    to characterize the pharmacologic activity, if any, of metabolites formed in adjunctively with other measures (e.g., diet, calcium, vitamin D, weight-bearing
    vivo.                                                                             exercise, physical therapy, avoidance of excessive cigarette smoking and/or
         Hydroxylation can Occur at 4 sites in thalidomide (i.e., 2 sites in each of alcohol consumption) to retard further bone loss and the progression of oste-
    the phtbalimide and glutarimide moieties). Metabolism and some pharmaco- oporosis in postmenopansal women. The goal of preventive therapy is pres-
    logic effects of thalidomide may be species specifid. Hydroxylated metabolites ervation of bone mass and a resultant decrease in fracture risk.
    have been identified in species sensitive to the teratogenic effects of thalido-       Osteopomsis, a systemic skeletal disease characterized by low bone mass
    mide (e.g., rabbit), and there is evidence that rat (a species not sensitive tO and microarchitectural deterioration of bone tissue with consequent increased
    teratogenic effects of the drag) microsomes ale not able to produce a metabolite bone fragility and susceptibility to fracture, is observed in a large proportion
    that is toxic to lymphocytes in other species. Intermediary forms (i.e., arctic of postmenopausal women. Adnlt women have less bone mass than men at all
    oxides or epoxides) proposed to be responsible for the teratogenic effects of ages, and degreased production of estrogen at menopause is associated with
    the drug have not been demonstrated, hydroxylated metabolites resulting from accelerated bone loss, particularly from the lumbar spine, for about 5 years,
    epoxide activation have not beef~ confirmed in human samples, and in vitro during which time skeletal mass loss averages 3% per year, While the risk of
    humari microsomal preparatior~s do not appear to catalyze .t~he formation of postmenopausal osteoporosis cannot be quantified by a single clinical finding
    hydroxylated metabolites.                                                          Qr test result, many risk factors have been identified, with the probability of
         The exact route of elimination of thalidomide in humans is unknown. Tha- developing osteoporosis increasing with multiple risk: factors. Risk factors in-
     lidomide is not appreciably excreted via the kidneys in humans. Although total clude premature ovarian failure; a family history of osteoporosis; a small, slim
    body clearance of the drug is about 170-207 mL/minute, unmetabolized tha- body frame; endocrine disorders such as thyrotoxicosis, hyperparathyroidism,
    lidomide has a renal clearance of 1A5-1.38 mL/minute and less than 0.7% of Cushing’s syndrome, hyperprolactinemia, insulin-dependent diabetes mellitus
    the drug is excreted in urine as unchanged drug. Thalidomide is thought to be (type 1, IDDM); cigarette smoking; drinking excessive amounts of alcohol; a
    h3)drolyzed to numerous metabolites; however, in individuals who received a sedentary lifestyle and/or lack of physical exercise; low body weight; moder-
    single oral dose of the drug, oialy 0.02% of the dose was ~liminated in urine ately’low body mass (e,g, at least 1 standard deviation below the the mean for
     as 4-hydroxy thalidomide 12-24 hours after administration. At 48 hours gfter healthy young adult women); and low dietary calciumJntake. White or Asian
     a single oral dose, thalidomide is not detectable in urine.                       women~ particularly those who are thin or small and have a positive family
                                                                                       history of osteoporosis, are at a higher risk for the disease than are black
                                                                                       women: Premature ovarian failure (surgical or nonsurgi6al) hastens the onset
    [] Chemistry Tl~alidomide a synthetic giutamic acid derivative, is an of osteoporosis, and estrogen deficiency in premenopausal women (e.g., sec-
    ir0munomodulatory agent. The drag is structurally similar to, but pharmaco- ondary          to anorexia nervosa- or exercise-induced amenon’hea or to hyperpro-
                                                                                       lactinemia) induces bone loss and may reduce peak bone mass.
     logically different from, glutethimide. Thalidomide contains a phth~limide ring       Alendronate has been evaluated for the l~revention of osteoporosis in post-
     and a glutarimide ring; the glutarimide ring is similar to that contained in menopausal women in 2 double-blind, placebo-controlled studies of 2 or 3
     gJutethimide and may be responsible for the sedative and hypnotic effects of years’ duration that included 2056 women (40-60 years of age). in these stud-
    thalidomide. Because the glutarimide ring has a single asymmetric carbon (chi- ies, therapy with alendronate 5 mg daily increased bone mineral density
    ral center), thalidomide may exist as either an optically active levorotatory or (BMD), as determined by dual-energy radiographic absorption (DXA) mea-
     dextrorotatory enantiomer. The enantiomers rapidly interconvcrt in vivo and       surements, in the lumbar spine, femoral neck, trochanter bone, and total body.
     in vitro; it is unknown whether the enantiomers have distinct pharmacologic While women receiving placebo lost approximately 1% of BMD per year,
    properties. Thalidomide is commercially available as a 1 : 1 racemic mixture of substantial increases in BMD were observed in women receiving alendronate.
    the 2 enantiomers with a net optical rotation of zero.                             In one of the studies that included postmenopansal women who had experi-
         Thalidomide occurs as. a white to off-white, nearly odorless, crystalline enced menopause 6,-36 months before initiation of the study, administration of
     powder. The drug has a solubility of 45-60 mcg/mL in water at 25°C. Thalid- alendronate (5 or 10 mg daily given for 3 years or, alternatively, 20 mg daily
    omide, enantiomers are 3-5 times more soluble than the racemic drug. While given for 2 years, followed by administration of placebo daily for 1 year) at 3
     t~e aq.ueous solubility of racemic thalidomide has been reported to be 50 mcg/ years was associated with a l-4% increase in lumbar spine, femoral neck, and
     mL, the aqueous solubility of the separate enantiomers has been reported to be trochanter BMD and 0.3-1% increase in total body BMD compared with base-
     250 mcg/mL.                                                                       line, while placebo recipients lost about 2 4% BMD in these sites; a lower
    [] Stability Commm’cially available thalidomide capsules should be dosage (1 mg daily) of alendronate for 3 years attenuated but did not fully
    stored at 15-30°C and protected from light.                                        prevent losses in BMD relative to those in women receiving placebo. Limited
         In vitro in whole blood, serum, or plasma, thalidomide undelNoes chiral data indicate that alendronate (5 mg daily) reduced the rate of bone loss on
    inversion and spontaneous hydrolysis. All 4 amide bonds of the drug are sus- forearm by about half relative to placebo. In a 1-year controlled study in post-
     ceptible to hydrolytic cleavage at pH exceeding 6. Inversion of the enantiomers menopausal women with osteoporosis, alendronate 70 mg once weekly pro-
     occurs at a greater rate in vitro in blood at 37°C than in vivo. The rate of duced increases in BMD similar to those observed with a dosage’of 10 mg
     inversion and hydrolysis of thalidomide is pH dependent and increases with daily.
     pH over the range of 7-7.5,                                                            The effect of alendronate on BMD versus that of estrogen or raloxifene
         3700                      AHFS DRUG INFORMATION® 2008
          ~esults of an in vitro study indicate that the dextrorotatory and levorotatory
     enantiomers of thalidomide are 55 and 66%, respectively, bound to plasma
Case woteins,
     2:10-cv-03165-RGK-SS Document 224-1 Filed life-threatening                               Because thalidomide
                                                                                          09/22/15            Pageis48  a known
                                                                                                                              of 48 humanPageteratogenID and can cause
     [] Elimination The mean elimination half-life of thalidomide               following                   birth defect~ if administered during pregnancy, comme
                                                                       #:5888             available thalidomide must be obtained through a restricted distributio
     a single 200-mg oral dose ranges from 3-6.7 hours, and the elimination half-
     life appears to be similar following multiple doses of the drag. In a study in gram, the System for Thalidomide Education and Prescribing Safety
     healthy adults who received a single 50-, 200-, or 400-rag oral dose of the drug, designed to help ensure that fetal exposure to the drug does not occm
     the mean elimination half-life of. thalidomide was 5.5, 5.5, or 7.3 hours, re- Restricted Distribution Program under Dosage and Administration.
     spectively. The mean elimination half-life of thalidomide was 6.9 hours in Thalidomide
     adults with leprosy who received a single 400-rag oral dose and 4.6-6.5 hours
     in HIV-infected adults who received a single 100- to 300-rag dose.
         . While the exact metabolic fate of thalidomide in humans is not known, Capsules                   50 mg                            Thalomid®, Celgene
     numerous metabolites may be formed as a result of optical enantiomerism and "l’Use is not ~urrently include~ in the labeling approved by th~ US Food and D~g Administration
     hydrolysis and hydroxylation of the drug. Commercially available thalidomide Selected Revisions Jamtat 2007, © Copyright, November" 3999, American Society of Health-Sysa
     is a 1:1 racemic mixture of the dextrorotatory and levorotatory enantiomers of Pharmacists,               T
     the drag, and chiral inversion and spontaneous hydrolysis of the enantiomers
     occurs in rive or in vitro. The half-life for racemization of an enantiomer in
     whole blood is about 2.25 hours. In rive, chiral inversion appears to occur
     principally in the circulation and in albumin-rich extravascular sites. Chiral ]~ONE RESORPTION INHIBITORS
     inversion and hydrolysis of thalidomide apparently occur by several different
     mechanisms.
          Thalidomide does not induce or inhibit its own metabolism; when the drug
     was administered to healthy women at a dosage of 200 mg once daily for 18
     days, similar pharmacokinetics were observed on the first and last day of dos- tl Alendronate sodium, a synthetic bisphosphonate analog of pyrophospha
     age. Hepatic metabolism of thalidomide is limited, and only the parent com- is a bone resorption inhibitor.
     pound appears to be metabolized, by cytochrome P-450 (CYP) isoenzymes.
          The principal metabolic pathway of thalidomide appears to be nonenzy-
     matic spontaneous hydrolysis. All 4 amide bonds in thalidomide are susceptible [] Osteoporosis Alandronate is used in the treatment and prevention c
     to hydrolytic cleavage and, under physiologic conditions, ring opening occurs
     first in the phthalimide moiety. Spontaneous hydrolysis to form more than 10         osteoporosis in postmenopausal women and for the treatment of osteoporosi
     metabolites occurs rapidly in vitro, with a mean half-life (dependent on incu- in men. Alendronate also is used in the treatment of corticosteroid-induced
     bation temperature and pH) of 2-5 hours for both optical isomers. There is           os~eoporosis.
     evidence that thalidomide metabolites formed by spontaneous hydrolysis in                 Prevention in Postmenopausal Women Alendronate is used for th~
     vitro have no immurtomodulatory activity; however, further study is required prevention of osteoporosis in postmenopansal women. Alendronate is used
     to characterize the pharmacologic activity, if any, of metabolites formed in adjunctively with other measures (e.g., diet, calcium, vitamin D, weight-bearing
     vivo.                                                                                exercise, physical therapy, avoidance of excessive cigarette smoking and/or
          Hydroxylation can occur at 4 sites in thalidomide (i.e., 2 sites in each of alcohol consumption) to retard further bone loss and the progression of oste-
     the phthalimide and glutarimide moieties). Metabolism and some-pharmaco- oporosis in postmenopausal women. The goal of preventive therapy is pres-
     logic effects of thalidomide may be species specifiC. Hydroxylated metabolites ervation of bone mass and a resultant decrease in fracture risk.
     have been identified in species sensitive to the teratogenic effects of thalido-          Osteoporosis, a systemic skeletal disease characterized by low bone mass
     mide (e.g., rabbit), and there is evidence that rat (a species not sensitive to and microarchitectural deterioration of bone tissue with consequent increased
     teratogenio effects of the drag) microsomes are not able to produce ametabolite bone fragility and susceptibility to fracture, is observed in a large proportion
      that is toxic to lymphocytes in other species. Intermediary forms (i.e,, arerie of postmenopausal women. Adult women have less bone mass than men at all
      oxides or epoxides) proposed to be responsible for the teratogenic effects of gges, and degreased production of estrogen at menopause is associated with
     the drug have not been demonstrated, hydroxylated nietabolites resulting from accelerated bone loss, particularly from the lumbar spine, for about 5 years,
     epoxide activation have not been confirmed in human samples, and in vitro during which time skeletal mass loss averages 3% per year. While the risk of
     human microsomal preparations do not appear to catalyze:.the formation of            postmenopausal osteoporosis cannot be quantified by a single clinical finding
     hydroxylated metabolite~.                                                             or test result, many risk factors have been identified, with the probability of
          The exact route of elimination of thalidomide in humans is unkiaown. Tha- developing ostooporosis increasing with multiple risk: factors. Risk factors in-
     lidomide is not appreciably excreted via the kidneys in humans. Although total clude premature ovarian failure; a family history of osteoporosis; a small, slim
      body clearance of the drug is about 170-207 mL/minute, nnmetabolized tha- body frame; endocrine disorders such as thyrotoxicosis, hyperparathyroidism,
      lidomide has a renal cl~arance ~f 1.15-1.38 mL/minute and less than 0.7% of Cushing’s syndrome, hypeq~rolactinemia, insulin-dependent diabetes mellitus
      the drug is excreted in urine as unchanged drag. Thalidomide is thought to be (type 1, IDDM); cigarette smoking; drinking excessive amounts of alcohol; a
     h)drolyz~d to numerous metabolites; however, in individuals who received a sedentary lifestyle and/or lack of physical exercise; low body weight; moder-
      single oral dose of the drug, only 0.02% of the dose was eliminated in urine atelylow body mass (e.g., at least 1 standard deviation below the the mean for
      as 4-hydroxy thalidomide 12-24 hours after administration. At 48 hours after healthy young adult women); and low dietary calcium.intake. White or Asiah
      a single oral dose, thalidomide is not detectable in urine.                          women, particularly those who are thin or small and have a positive family
                                                                                           history of osteoporosis, are at a higher risk for the disease than are black
     Chemistry a~                                                                          womeni Premature ovarian failure (surgical or nonsurgical) hastens the onset
     [] Chemistry Tl~alidomide, a synthetic glutamic acid derivative, is an of                osteoporosis, and estrogen deficiency in premenopausal women (e,g., sec-
                                                                                           ondary to anorexia nervosa- or exercise-induced amenorrhea or to hyperpro-
      immunomodulatory agenL The drug is structurally similar to, but pharmaco- lactinemia) induces bone loss and may reduce peak bone mass.
      logically different from, gl~tethimide. Thalidomide contains a phthalimide ring          Alendronate has been evaluated for the prevention of osteoporosis in post-
      and a glutarimide ring; the glutarimide ring is similar to that contained in menopausal women in 2 double-blind, placebo-controlled studies of 2 or 3
     g!utethimide and may be responsible for the sedative and hypnotic effects of years’ duration that included 2056 women (40-60 years of ago). In.these stud-
      thalidomide. Because the glutarimide ring has a single asymmetric carbon (chi- ies, therapy with alendronate 5 mg daily increased bone mineral density
     ral center), thalidomide may exist as either an optically active levorotatory or (BMD), as determined by dual-energy radiographic absorption (DXA) mea-
     dextrorotatory enantiomer. The enantiomers rapidly interconvert in rive and           surements, in the lumbar spine, femoral neck, trochanter bone, and total body.
      in vitro; it is umVmown whether the enantiomers have distinct pharmacologic While women receiving placebo lost approximately 1% of BMD per year,
     properties. Thalidomide is commercially available as a l:l racemic mixture of substantial increases in BMD were observed in women receiving alendronate
      the 2 enantiomers with a net optical rotation of zero.                               In one of the studies that included postmenopansal women who had experi-
          Thalidomide occurs as. a white to off-white, nearly odorless, crystalline enced menopause 6-36 months before initiation of the study, administration of
     powder. The drug has a soinbility of 45-60 mcg/mL in water at 25°C. Thalid- alendronate (5 or 10 mg daily given for 3 years or, alternatively, 20 mg daily
      omide.enantiomers are 3-5 times more soluble than the racemic drag. While given for 2 years, followed by administration of placebo daily for 1 year) at 3
      the aqueous solubility of racemic thalidomide has been reported to be 50 mcg/ years was associated with a 1-4% increase in lumbar spine, femoral neck, and
     niL, the aqueous solubility of the separate enantiomers has been reported to be trochanter BMD and 0.3-1% increase in total body BMD compared with base-
     250 mcg/mL.                                                                           line, while placebo recipients lost about 2--4% BMD in these sites; a lower
     N Stability Commemially available thalidomide capsules should be dosage (1 mg daily) of alendronate for 3 years attenuated but did not fully
      stored at 15-30°C and protected from light.                                          prevent losses in BMD relative to those in women receiving placebo. Limited
          In vitro in whole blood, serum, or plasma, thalidomide undergoes chiral data indicate that alendronate (5 mg daily) reduced the rate of bone loss on
      inversion and spontaneous hyd~:olysis. All 4 amide bonds of the drug are sus- forearm by about half relative to placebo. In a l-year controlled study in post-
      ceptible to hydrolytic cleavage at pH exceeding 6. Inversion of the enantiomers menopausal women with osteoporosis, alendronate 70 mg once weekly pro-
      occurs at a greater rate in vitro in blood at 37°C than in rive. The rate of duced increases in BMD similar to those observed with a dosage of 10 mg
      inversion and hydrolysis of thalidomide is pH dependent and increases with daily.
      pH over the range of 7-7.5.                                                              The effect of alendronate on BMD versus that of estrogen or raloxifene
                                   AHFS DRUG INFOR~/IAT1ON® 2008
